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                              DECLARATION OF BERNARD LEDEZMA


      Pursuant to 28 U.S.C. Section 1746,the undersigned states as follows:


             1.      My name is Bernard Ledezna. I am over twenty-one years of age and have

             personal knowledge ofthe matters set forth herein.


             2.      In 2013, I went to the Jay Peak Resort for vacation. While I was there, I learned

             about an EB-5 limited partnership investment offering in Jay Peak Biomedical Research

             Park L.P.("Jay Peak Biomedical"). Bill Stenger told me Jay Peak Biomedical was a new

             EB-5 project and that it would be doing biomedical research. He told me that Jay Peak

             Biomedical would use investor money to construct a facility to conduct medical research,

             manufacturing, and development. A lady who works with Mr. Stenger, Karen Bennett,

             gave me some materials regarding Jay Peak. At some point, Karen Bennett also told me

             that Jay Peak Biomedical was either in the beginning or middle phases of building its

             research facility.


             3.      In addition to speaking with Mr. Stenger, I also read about EB-5 limited

             partnership offerings on Jay Peak's website and the projects that Jay Peak had done in the

             past.


             4.      In or about late October 2013, my immigration attorney emailed my signed

             escrow agreement to Alexandra MacLean, a Jay Peak representative.           Also, in late

             October, Ms. MacLean cmailcd my attorney asking whether I was interested "in the AnC

             Bio Project or the Burke Project."
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           5.     After I made a deposit, Jay Peak sent my immigration attorney various documents

           regarding Jay Peak Biomedical, which my attorney then provided to me. One of the

           documents was a cover letter about the project, which was signed by Bill Stenger,

           President and CEO of Jay Peak Resort and General Partner, AnC Bio Vermont GP

           Services LLC. A copy ofthe cover letter is attached as Exhibit A.


           6.     The letter stated that "[o]ver the past five years Jay Peak Resort in cooperation

           with the State ofVermont has developed six highly successful EB-5 investment projects."

           The letter also discussed a new project with "technology affiliation with AnC Bio

           Korea...[which] has for 15 years been a leader in biotech research, manufacturing and

           development.    The products and service AnC Bio Korea has perfected will be the

           cornerstone of the AnC Bio Vermont project." In addition, the letter talked about how

           AnC Bio Vermont would conduct stem cell research and manufacture and distribute

           artificial organs such as a portable heart/lunch machine and portable liver dialysis

           machine and operate 50 clean room testing facilities. There was a photo of a 90,000 sq.

           foot building and a discussion that "A 60,000 sq. ft. research tower will be construction

           2013(Note the attached photo). This will bring the facility to 150,000 sq. ft."


           7.     The letter also said that "[o]nce AnC Bio Vermont opens in 2014 each investor is

           expected to earn 4-6% through the proceeds of the business operations.      In the case of

            AnC Bio Vermont, income will be derived from manufacturing, distribution and sales of

           FDA approved artificial organs; stern cell research; vaccine production and `clean room'

            rental." In late 2013 or January 2014, Jay Peak sent my attorney various materials
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           pertaining to the offering, including offering documents containing, among other things, a

           business plan for Jay Peak Biomedical. Copies of these materials are attached as Exhibit

           B.


           8.     The offering materials provide that my $500,000 investment in Jay Peak

           Biomedical would be used for the Jay Peak Biomedical project and showed how investor

           funds would be used for this project (For example, see Exhibit B,"Use of Proceeds"

           section, Bate stamped BL-0000114 and p. 9 of Business Plan in Section 2, Bate stamped

                                                                                      used for
           BL-0000161). There is no provision in the materials that my money could be

                                                                                         materials
           any other project or any other purpose. These representations in the offering

           regarding the use of investor funds was important to me in deciding to invest in Jay Peak

           Biomedical. I have not consented to any borrowing from the limited partnership by the

           general partner or any commingling Of partnership funds.


           9.     In January 2014, I wired my $500,000 investment to an escrow account at

           People's United Bank for my investment in Jay Peak Biomedical, plus an administrative

           fee.


           10.    On August 18, 2015, I received an email from Lizzy Button at Jay Peak, attaching

           a letter from Bill Stenger and a link to amended offering and subscription agreements for

           Jay Peak Biomedical. A copy of this second letter is attached as Exhibit C. The second

           letter states, in part, that in order to extend the duration of the Jay Peak Biomedical

           offering and allow additional time to raise funds for the project, the general partner has

           amended the private placement memorandum.
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               11.    The second letter also states that no material changes have been made to the

               project, its business plan, or the fob-:count analysis, and that approximately $76 million

               had already been raised through the offering. The second letter further stated it was

               enclosing an amended subscription agreement and amended offering document and asked

               that I execute and return the amended subscription agreement following my review of the

               amended offering document.


               12.    In addition, the second letter indicated that I should let Jay Peak Biomedical know

               if I decided not to re-subscribe and wanted my $500,000 investment returned to me,

               adding that "[s]uch action would terminate [my] ability to gain a green card through this

               program." I




      generally reviewed the amended offering document on the link provided, but did not print out a

      copy. I subsequently signed the amended subscription agreement.


               I declarennder penalty of perjury that the foregoing is true, correct, and made in good

      faith.




                                                            Bernard Ledezma




               Executed on this 2 day of October 2015
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                                    EXHIBIT

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                                                                 JAY "PEAK
                                                                    VERMONT
       2013
                                                                             Bill Stenger
                                                                           President & CEO



       Over the past five years Jay Peak Resort in cooperation with the State of Vermont has
       developed six highly successful EB-5 investment projects. Since 2007 we have
       welcomed over 550 investors from 60 countries. In doing so,the Jay Peak projects have
       created thousands ofjobs in the Northern Region of Vermont. Over the past24 months
       in cooperation with the State of Vermont we have created a dynamic Biotech Research
       and Development EB-5 Project associated with Jay Peak. Myselfand my partner at Jay
       Peak, Ariel Quiros, are also co-owners ofthis new biotech company.

       This project will be located near Jay Peak in the Jay Peak Biomedical Research Park,a
       40 acre campus with over 90,000 square feet ofcurrent facility. This Research Park,
       located a few minutes from Jay Peak Resort's main facility will host AnC Bio Vermont, a
       dynamic biotech research company with technology affiliation with AnC Bio Korea,

       AnC Bio Korea has for 15 years been a leader in biotech research, manufacturing and
       development. The products and service AnC Bio Korea has perfected will be the
       cornerstone ofthe AnC Bio Vermont project. There is very strong market demand for the
       products and services that will be provided by AnC Bio Vermont and it is this business
       success that will be the basis for the investor's return on investment.

       AnC Bio Vermont's Mission
       AnC Bio Vermont will conduct stem cell research for medical applications throughout
       the North and South American markets. It will also manufacture and distribute artificial
       organs not currently available in these markets such as a portable heart/lung machine and
       the portable liver dialysis machine,L liver. This technology is innovative on a
       worldwide level and will have significant market demand in this hemisphere.

       One ofthe most beneficial parts of the AnC 1310 facility will be the operations of50 clean
       rooms. "Clean Rooms"are climate controlled, germ free testing facilities that allow
       companies and universities to conduct research in F.D.A. approved facilities and to
       develop products and test research assumptions under approved controlled conditions.
       These types offacilities are in very short supply in the U.S. and Canada. High rental
       demand exists for these types offacilities.


       Current Status -- AnC Bio Vermont has its headquarters in the Jay Peak Biomedical
       Research Park located in Newport, Vermont and is part ofa 40 acre technology campus
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        with a 90,000 sq. ft. hub(Note attached photo). A 60,000 sq. ft. research tower will be
        construction 2013(Note the attached photo). This will bring the facility to 150,000 sq. ft.

       Government Support — AnC Bio Vermont has significant governmental support at the
       local, state and federal levels: AnC Bio Vermont is an approved State Regional Center
       EB-5 project. Gov. Jim Douglas,governor of Vermont from 2004 to 2010 traveled to
       South Korea in 2010 to visit AnC Bio Korea and sign a cooperation agreement on behalf
       ofthe State of Vermont and the Company. (Note attached magazine article.)

       Our current Governor,Peter Shumlin and Senator Patrick Leahy have also been staunch
       supporters of our EB-5 programs. Senator Leahy has been outspoken in his support for
       the AnC Bio Vermont EB-5 Project(Note attached photo and letters).

       Over 200 investors will be welcomed to this project. The complete offering documents
       are available now and 1-526 applications could be filed within 30 days ofsigning
       subscription documents.

       The four major questions every investor is interested in knowing answers to are:

          1. How long will the I-526 conditional green card take to get?

             JayPeak projects, ofwhich the AnC Bio Vermont Project is affiliated, take
             between 4and 6months to get USCIS approval. This approval comes through the
             USCIS California Service Center in Laguna Nigel, California.

          2. What kind ofincome can the investor expect while in the program?

             Once AnC Bio Vermont opens in 2014 each investor is expected to earn 4-6%
             through the proceeds ofthe business operations. In the case ofAnC Bio Vermont,
             income will be derivedfrom manufacturing, distribution and sales ofFDA
             approved artificial organs; stem cell research; vaccine production and "clean
             room" rental.

             Each ofthese areas ofbio-science business have strong market demand and will
             benefitfrom significant sales activity.

         3. Will enough jobs be created to assure the removal ofconditions at the I-829 level?

             Thorough economic data will be provided to USCISat the 1-526 leveljustifying the
            job creation needsfor each investor. Direct, indirect and inducedjobs will all be
            part ofthe AnC Bio Vermont economic models provided by independent
            economists. At the time ofremoval ofconditions petition the project investment
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              will havefully been made and manufacturing, sales and investor proceeds will also
              befully underway. Meeting the removal ofconditions criteria will go successfully
              as it hasfor all Jay Peakprojects. Jay Peakprojects have 100% success rates at
              the 1-526 and 1-829 stages.

           4. When and how will the investor get their investment back?

              After removal ofconditions ofour partners(approximately 4-5 years) the project
              generalpartner willpay the partners backfrom proceedsfrom the sales ofFDA
              products, services and rental ofthe over 50 "clean rooms"that make up the
              company's operations.

               Because ofthe innovative technology, AnC Bio product demand worldwide will be
              significant. Clean room rental and product sales are expected to provide sufficient
              fundsfor the repayment ofthe investors'funds. (Note: USCIS regulations
              prohibit any guarantee ofincome or return ofinvestment. Our expectations are
               based on experience and market conditions but guarantees are not legally
              permissible.)

       Included with this letter are the following items for your information and review.

         1. AnC Bio Vermont Memorandum of Understanding(MOU)with the State of
            Vermont Regional Center.

         2. AnC Bio Vermont business description and plan.

         3.   AnC Bio Vermont fact sheets.

         4. Jay Peak Biomedical Research Park site photo.

         5. AnC Bio Vermont Research Tower Photo.

        6. AnC Bio Vermont leadership and Vermont government officials photo.

        7. Korean People Magazine article.

        8. AnC Bio Vermont Press Conference video.


       This project has over 40 investors already in the process ofsubscription and we expect
       the offering to be fully subscribed by the end of this calendar year. If you or your clients

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         wish to visit Jay Peak to see firsthand the project and its site location I welcome you to do
         so.

        Ifafter reviewing the enclosures you have any questions, please feel free to contact me at
        Jay Peak Resort at the coordinates listed below.

        Sincerely,



        Bill Stenger
        President& CEO Jay Peak Resort
        General Partner, AnC Bio Vermont GP Services LLC




                   Vermont Rte. 242 • Jay, Vermont 05859-9621 • Direct Dial(802)327.2222 • Fax(802)988-4049
                                 E-Mail: bstenger(cr~jaypeakresort.com • JAYPEAKRESORT.COM




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                                                                                        Laguna NisneLCA 92677


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             October 6. 20109

             Kevin L. Dorn
             State ofVermont                                                         File No. W09000920
             Agency!ofCommerce and Community Development
             Nadonal Life Building, Drawer 20
             Montpelier, VT 05620-0501

             Application:           Request to Amend Designation as a Regional Center
             Applicant(s):          Kevin L.Dorn

             Re:                    VACCD Regional Center

             Pursuant to Section 610 ofthe Appropriadons Act of 1993.on June 26. 1997. the VACCD Regional Center, was
             approved and designated u a regional center to participate in the Immigrant investor Pilot Program. On June
             11, 2007. the designation was reaflitmed. In a written request dated August 17, 2009, VACCD Regional
             Center aought to amend its initial Regional Center designation, to expand the types of approved economic
             activities and industrial dusters as follows:

                     I. To add manufacturing. professional services, education, infoanadon and lending institutions to
                        their current list ofapproved industries.
                     2. To add the economic activities of design, development and production of new products, expansion
                        or renovation of existing fadlities; establishing and expanding post seumdary sdmoo1 including.
                        building, development and operation of the schools; design, development & publishing of
                        software, books and other information publishing activities.
                     3. To provide direct equity investments in to the industry clusters and/or to provide indirect
                        investments to the industries through Investment in an enterprise which in tarn willlend the funds
                        for specific industry related protect(s).

             Based on its review and analysis of the request to amend the previous VACCD Regional Center designation
             and prior amended proposals, business plan, and supplementary evidence. the US. Citizenship and
             Imndgration Services (USCIS) amends the designation of'the Regional Center as minuted to incorporate the
             above 2 changes. In accepting the amendment. USQS has updated its records of your Regional Center
             approval. designation, and business plus to encompass these amendments relative to the investment focus of
             the Regional Center on 5 areas ofcommerdal enterprise:




                                                                                         www.usels.gov




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                1.   The Ski and related Tourism Industry
                2.   ,Manufacturing
                3.   Professional Services
                4.   Education
                S.   Information Publishing

            As such, aliens seeking immigrate visas through the ImmigrantInvestor Pilot Program may file individual
            petitions with USCLS for these new commerdal enterprises lowed          the VACCD Regional Center regional
            center area is comprised ofthe State ofVermont.

            The geographicfocus of this area may contain some High Unemployment Targeted Employment Areas(ThAs)
            as designated by the State ofVermont,and rural TEAS as defined in 8 CPR 204.6(e). Therefore,the minimum
            capital Investment threshold for any individual immigrant investment into an approved commercial enterprise
            throughout the Regional Center shall be not less than 5500,000,if the investment target is located within a TEA
            or $1,000,000 if h is located outside ofa TEA. No debt arrangementwilt be acceptable unless it is secured by
            assetsowned by the alien tatrepreneur. A full capital investment must be made and placed at risk.


            Alien entrepreneurs who file petitions for commerdal enterprises located in the regional'center area must fulfil
            all ofthe requirements set forth in 8 CPR 104.6, except that the petition need not show that the new
            commercial enterprise directly hired ten new employees as a result ofthe alien entrepreneurs investment.
            Rather, the investor mustslow at the time ofremoval ofconditions that they performed the activities described
            in the model and on vahich the approved methodology is based.

            To demonstrate that It is associated with the your regional center, each individual alien entrepreneur petition in
            conjunction with addressing ail the requirements for that petition, shall also contain as supporting evidence
            relating to this regional center designation, as follows:

                1. A copy ofthis letter ofthe amended approval and deatgnadon.

                2. A copy of the approved job creation methodology required in 8 ~R 204.60)(4)01l), ar contained in
                   the VACCD Regional Center amended regional caster application which has been approved by USCIS,
                   which retleers that investment by an Individual alien investor of at least AMOUNT $500,000 for state
                   designated high unemployment area,1500,000for a rural area orb 1,000,000.

                3. A signed legally executed and certified Dopy of the limited partnership agreement between the new
                   commercial enterprise and the alien investor:

            The designation by the U3C[S ofthe VACCD Regional Center as a regional center does not reflect any
            determination on the merits ofindividual petitions filed by alien entrepreneurs under the Investor Pilot
            Program. All petitions for alien entrepreneurs who invest within the regional center will be adjudicated by the
            USQS an a case-by-ease basis and each petition must be fully documented. The individual petitions must be
            submitted to the California Service Center.




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            DRSIGNIII*8RESPONSIIIUTIES INItERENLIN C9Z1DU                l'OF THE REGIONAL CENTEL

            The kw,as reflected in the regulations at8CFA 204.6(m)(6). requires that an approved Regional Center in
            order to maintain the validity ofits approval and designation must continue to meet the statutory requirements
            of the immigrant Investor Pilot Program by serving the purpose of promoting eoonomic_growth,includtng
            increased export sales(where applh;abit), improved regional productivity,job creation,    andburr red domestic
            capital investment. Therefore,In order for   USCIS  to determine whether your  Regional Center Is in compliance
            with the above dted regulation, and in order to continue to operate as a USES approved and designated
            Regional Centex. your administration,oversight, and u u agetaena ofyour Regional Center shall be =hasto
            monitor all.Investment activities under the sponsorship of your Regional Center and to maintain records, data
            and information on a quarterly basis in order to report tolEKIS upon regne csc the following year toate
            information for each Federal Pisa!Years.ootnme teing with the initial year as follows:

                   1. Provide the principal authorized official and pointofcontact ofthe Regional Center responsible for
                      the normal operation. management and administration ofthe Regional Center.

                  2. Be prepared to explain how you are administering the Regional Center and how you will be actively
                     engaged in supporting a due diligence screening ofits alien investors' lawfulsource ofcapital and
                     the alieninvestor's ability to fully invest. the requisite amount ofcapital.

                  3. Be prepared to explain the following:

                          a. How the Regional Center h actively engaged hi the evaluation, oversight and follow up on
                             any proposed comme rdal activities that will be utilized by alien investors.

                          b. How the Regional Center n actively engaged in the ongoing monitoring. evaluation,
                             oversight and follow up on any investor commercial activity affiliated through the Regional
                             Center that will be utilized by alien investors in order to create direct and/or indirect jobs
                             through qualifying BB-S capital Investments into commercial enterprises within the Regional
                             Center.

                  4. & prepared to provide:

                          a. the name, date ofbirth, petition receipt number, and alien registration number (ifone has
                              been assigned by USCLS) ofeach principal alien Investor who has made an investment and has
                             :flied an 611-5/1-S26 Petition with USCIS,specifying whether:
                                    i. the petition was filed,
                                   11. was, approved,
                                  111. denied, or
                                  iv. withdrawn by the petitioner, together with the dates)ofsuch event.

                          b. The total number of vitas represented in each use for the principal alien investor identified in
                             4.a. above, pins his/her dependents (spouse and children)for whom Immigrant status is
                             sought or has been granted..




            I A Federal Fiscal Year nuns for twelve consecutive months from October 1" to September 30e.




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                        c. The country of-nationality ofeach alien investor who has made an investment.anclfiled an
                           EB-5/I-526 petition with USCIS.

                        d. The U.S. city and state ofresidence(or intended residence)ofeach alien investor who has
                           made an investment and filed an IiB-5/I-S26 petition with USCIS.

                        e. For catch alien investor listed in item 4.a., above.identify the following;

                                 L the dates)ofinvestment in the com nerdal enterprise;

                                ii. the amount(s) ofinvestment in the oottunexdal enterprise; and

                                iii. the date(s), nature, and amounts)ofany payment/retraunention/prollt/retttnn 0n
                                     investment made t0 the alien investor by the commercial enterprise and/or Regional
                                     Crater from when the Investment was initiated to the present.

                 5. Be prepared to identify/list cub ofthe urge* industry categories ofbusiness activity within the
                    geographic boundariesofyour Regional Center that have:

                         a. received alien investors' capital, and in what aggregate amounts;

                         b. received non-ES-5 domestic capital that has been combined and invested together,specifying
                            the separate aggregate amounts ofthe domestic investment capital;

                         c. ofthe total investor capital (alien and domestic)identified above in S.a and S.b, identify and
                            list the following:
                                  1. The name and address ofeach "direct")ob cresting oomtnerdai enterprise.
                                 IL The industry cuegoryfor each indirect job creating investment activity.

                 6. Be prepared to provide:

                         a. The total aggregate number ofapproved EB-S alien Investor I-526 petitions pea each Federal
                            Fiscal Year to date made through your Regional Center.

                         b. The total aggregate number ofapproved Bn-5 when investor 1-819 petitions per each Federal
                            Fiscal Year to date through your Regional Center.

                  7. The total aggregate sums ofEB-5 alien capital Invested through your Regional Center for each Federal
                     Fiscal Year to date since your approvaland designation.

                  8. The combined total aggregate of-new" direct and/or Indirect jobs treated by EB-5 investors through
                     your Regional Center for each Fedenl.Fiscal Year to date since your approval and designation.

                  9. If applicable.the total aggregate of"preserved" or saved jobs by EB-5 alien investors into troubled
                     businesses through your Regional Center for each Federal Fiscal Year to date since your approval and
                     designation.

                  10. Iffor any given Federal Fiscal Tear your Regional Center did or does not have investors to report,
                      then provide;

                         A. a detailed written explanation for the inactivity.




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             VACCD Regional Center/W09000920
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                          b. a specific plan which specifies the budget,timelines. milestones and critical steps to:

                                   I. actively promote your Regional Center program,

                                  ii: identify and recruit legitimate and viable alien investors, and

                                  Hi, a strategy to invest into job creating entespdses end/or investment activities within
                                      the Regional Center.

                   11. Regarding your website, ifany. please be prepared to provide.a bad copy which represents fully
                       what your Regional Center has posted on its weblike,as welt as providing your web address.
                       Additionally,please provide a packet containing all ofyour Regional Center's hard copy promotional
                       materials such as brochures. flyers, press arsides,advertisements, etc.

                   12. Finally. please be aware that it is incumbent on each UMW approved and designated Regional Center.
                       in order to retrain is good standing. to notify the USCIS within 15 business days at
                       USCISimmtgrantinvextorPtogram@dhs.gry of any changeofaddress or oonnrenee ofany material
                       change in:

                      • the name and contactinformation ofthe responsible official and/or Point ofContact(POC)for
                        the RC
                      • the management and administration ofthe RC,
                      • the RC structure.
                      • the RC matting address, web site address, email address, phone and fax number.
                      • the scope ofthe RC operations and focus,
                      • the RC business plan.
                      • any new,reduced or expanded delegation of authority.MOO.agreement, ccm race, etc. whim
                        another party to represent or act on Wulfofthe RC,
                      • the economic focus ofthe RC, or
                      • any material change relating to your Regional Center's basis for Its mostrecent designation
                        and/or reaffirmation by USCIS,

             if you haveany gneationsonicerning theRegime/ Center approvaland designation under the Immigrant
             investor Pilot Program,please contact the WC%by Email at USCIS.Ittnjpantinyestoj$og arnf    ,gov.

             Sincerely,




             Christina Poulos
             Director
             California Service Center




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      Exhibit A7        • to..,..Sk•.L~: '.'.                #.:'.~,                  -                                                                       New Hampshire
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        Selected Recreational & Historical Sites




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    i12b112.                                 American FactFinder-Results                                            Exhibit A8




                U.S. Census Bureau

                                                                                               I
                  DP-1                    Profile of General Population and Housing Characteristics[ 2010
                                          2010 Demographic.Profile Data


                    NOTE For more iniorrtlation on confidentially protection, nonseny4ing error,end de1ini8 s,see



                    Geography. I Newportcity. Vermont

                                                    Subject                               1 Number,Percent
                    I
                  1; SEX AND AGE                                                                    )
                                                                                              4.589   '00 0
                186' Total population
                    •    Under 5 years                                                          250 •   54
                188                                                                                ,
                         5to9years                                                              229     50
                         10 to 14 years                                                         267.    58
                         15to19years                                                            272'    59
                         20 to 24 years                                                         356     78
                         25 to 29 years                                                         323     7.0
                         30to34 years.                                                          300     65
                         35 to 39years                                                          283     62
                         40 to 44 years                                                   €     264     5.8
                         45 to 49 years                                                         321     70
                         50 to 54 years                                                         343     7.5
                         55 to 59 years                                                         289     63
                         60 to 64 years                                                         275     6.0
                         65 to 69 years                                                         198     4.3
                         7D to 74 years                                                         151     3.3
                         75 to 79 years                                                         139     30
                         80 to 84 years                                                         160     3.5
                         85 years and over                                                      169     37


                           Madian age (years)                                                  40 3     ( X)


                           16 years and over                                                  3,798     828
                           18 years and over                                                  3,681     80.2
                           21 years and over                                                  3,503     76 3
                           62 years and over                                                    977     21 3
                           65 years and over                                                    817     178


                         Male population                                                      2,340 ?   51 0
                           Under 5 years                                                        114      25
                           5 to 9 years                                                         105      23
                           10 to 14 years                                                       130      2.8
                           15 to 19 years                                                       144:     31
                           20to24years                                                          272      48
                           25 to 29 years                                                       196 .    43
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        ')fi/17/97     12:31    08'202 514 0198               ADJUDICATION

                                                                    partment oflustke
                                                              U.S.Department                           Exhibit A3
                                                              Immi cation mud Natutaliuuion 5crvice


                                                                           HQ 70/6.5-C



                                                               Washington,DC20.535


         •   [toward Dean, MD
              Governor                                           11,1 26 1991
              Office of the Governor
              State of Vermont
             .Montpelier, Vermont 05609
                                                                               the
             RE:      Application for Designation as a Regional Center for .
                      State of Vermont, Agency of Commerce and Coemuaity Develoent

             Dear Mr. Dean:

             Pursuant to Section 610 of the Appropriations Act of 1993, the
             State of Vermont, Agency of Commerce and Community Development
             (ACCD) has been designated as a regional center to participate in
             the Immigrant Investor -Pilot Program.   As of this, date, aliens
             seeking Immigrant visas through the     Imeigrant 1nvester Pilot
                                                                           and
             Program may file individual petitions with the Immigr'at.ion
                                                    new commercial enterprises
             Naturalization Service (Service) for
             located within the State of Vermont.

             Alien entrepreneurs who file petitions for commercial enterprises
             located within the State of Vermont must- fulfil' all of the
             regairements set forth in 8CF'R 204.6, except that.the petition
             need .not show that .the new commercial enterprise hired ten new
             employees as a. result of the -alien entrepreneur's investment. The
             petition may contain evidence that the investment indirectly
             created or will create full--t4me positions for not fewer than ten
             persons, using economically or statistically valid methodologies as
             described in 8 CFA' 204.6(j)(4)(iii), through revenues -generated
             from increased expbrts resulting from the Pilot Program,

             The designation by the Service of the State of Vermont as a
             regional.center does not reflect any determinations. by .the' Service
             on the merits of individual petitions filed by alien -entrepreneurs
             under the Investor Pilot Program.' All petitions 'for alien
             entrepreneurs who invest within the regional center will be
             adjudicated by the Service- on a dase-by-case batsis and • each
             petition most be fully-documented. The'individual petitions must
             •be subs teed to the'Vetment Service Center.




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             Page 2
             Howard Dean, MD
             Governor

             If you have. any questions concerning Vermont ACCr's designation
             under the Ti..igrant Investor Pilot Program, please contact
             Katherine Lorr at (202)514-5014.

            :Siu•;erely,



                hael L. "tes
               s`_. ant commissioner
             Benefits Division




                      . JUN. 27 • 97 (PSI i 19:46   COMMUNICATION   14. r64 •   PAGE 3




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                                                                                                               Exhibit A4
             JAMES H. DOUGLAS
                  comm*                                                               RECEWED                    7 2005


                                                  State of Vermont
                                            OFFICE OF THE GOVERNOR


                                                     November 16,2006

              Mr.Maurice R. Berez
              Chief Adjudications Officer
              Investor and Regional Center Unit
              Business and Trade Services
              USCIS Service Center Operations
              20 Massachusetts Avenue,N.W.(2'd Floor)
              Washington, D.C. 20529

              Re:    USCIS Acknowledgment of EB Designations

              Dear Mr.Berez

                      1 am writing to kindly roquest that USCIS acknowledge certain designations I have made
              with respect to Vermont's EB-5 Regional Center Immigrant Investor Program. Those
              designations are as follows:

                     Kevin L.Dorn,Secretary ofthe Agency ofCommerce and Community Development
                     (ACCD),as the principal representative of ACCD in its capacity as a Regional Center.

                     John W.Kessler, ACCD General Counsel, as the principal administrator.

                     Jay Peak Hotel Suites L.P,,to assist in the management,administration, and overall
                     compliance of the Alien Entrepreneur project organized by Jay Peak within ACCD's
                     Regional Center with U.S. immigration laws and regulations controlling the investment
                     process and participation in a regional center, and to report upon the activities ofthe
                     project to ACCD and respond to ACCD inquiries about the project,and assist ACCD to
                     comply with its obligations as a regional center with respect to the Jay Peak project.

                       My understanding is that the above-referenced designations respond satisfactorily to
              recent guidance you provided on the administration of Vermont's Regional Center. We are eager
              for this program to yield fruitful investments in Vermont, and appreciate your continued support
              and guidance in our efforts. While I stand ready to offer my assistance, it is clear to me that
              Vermont's Regional Center is in good hands at ACCD.

                                                      Since:ly,


                                                              I. Douglas

              1F-ID/okb
              cc:     Kevin Dorn, ACCD Secretary
                      John Kessler, ACCD General Counsel

                        109 SPATE STREET . TtiE PAVILION Mor'rmrurx,\T os6o9-oroi www.VERMONNtc'0V
                                TELEPHONE 8o2.878.3333'FAX*. 802.82.8.3339'TDD: &oz./I A.3345




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                Jay Peak Biomedical Research Park L.P.
                A LIMITED PARTNERSHIP CHARTERED IN THE STATE OF VERMONT
                An investment opportunity located in Newport Vermont—within the Vermont Regional Center;
                a US Government designated regional center. This Partnership is structured to assist investors
                in obtaining an EB-5 Investment Visa giving lawful and permanent residency into the United
                States of America.


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                anCBIOVT LLC




                                       JAY            :PEAK




                                                         Section 4

                                   The Subscription
                                        Documents


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     Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A


                                           Section 4 of the Offering Memorandum

              Jay Peak Biomedical Research Park L.P. Subscription Documents

                INSTRUCTIONS FOR COMPLETION

           In connection with your subscription for an interest in Jay Peak Biomedical Research Park L.P., enclosed
           herewith are the following documents which must be properly and fully completed, signed and retumed as
           set forth herein:

           Exhibit A: Subscription Agreement Jay Peak Biomedical Research Park LP., including Consent to
           Limited Partnership Agreement — To be completed and signed by you as indicated. Please make your
           checks payable to (i) "Jay Peak Biomedical Research Park L.P.' in the amount of $500,000 and (ii) AnC Bio
           Vt LLC(the'AnC Bio VT") in the amount of $50,000, or make wire transfer(s) in said amounts (see below),
           being a total of $550,000 and equaling the subscription amount to participate in the Offering.

           Exhibit B: Purchaser Investor Questionnaire Jay Peak Biomedical Research Park LP. - To be
           completed and signed by you as indicated.

           Exhibit C: Investor Escrow Agreement — To be signed by you if used to reserve a place in the Offering.

           Please retum the aforementioned subscription documents, and checks or confirmation of wire transfer
           (except to the extent Investor Escrow Agreement is used as to the funds subject to said Agreement), to the
           Limited Partnership c/o:

                                 PAYMENT INSTRUCTIONS FOR WIRE TRANSFER:
                                 People's United Bank
                                 2 Burlington Square
                                 Burlington, Vermont 05401
                                 ABA Number:02100000B9
                                 Credit Account #:75C009901
                                 Credit Account: Jay Peak Biomedical Research Park LP.
                                 For benefit of:                           (The Investor)




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    Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A



                                                                 Exhibit A
                              Subscription Agreement


           Dated:        1     1     (dd/mm/yyyy)


          Jay Peak Biomedical Research Park LP.
          c/o William Stenger
          4850 VT Route 242
          Jay, VT, USA 05859

                    Subscription Agreement
                    For Purchase of a Limited Partnership Interest in
                    Jay Peak Biomedical Research Park L.P.

           Gentlemen:

          The undersigned (or "I" or "me" or "my,' as applicable), subject to the terms and conditions herein, hereby
          irrevocably subscribes for one limited partnership interest(the "Interest") in Jay Peak Biomedical Research
          Park LP., a Vermont limited partnership (the "Limited Partnership" or "Partnership"). The minimum' capital
          contribution (the "Capital Contribution")is Five Hundred Thousand Dollars(US$500,000)as required under 8
          U.S.C.§ 1153(B)(5)(A)- (D); INA § 203(B)(5)(A) -(D) of the Immigration & Nationality Act(the "Act") to be
          eligible under The EB-5 Visa Program.

          In addition, though not part of the undersigned investors EB-5 investment into the Partnership, under the
          terms of the Offering Memorandum each investor must also pay an administration fee payable to MC Bio Vt
          LLC in the amount of Fifty Thousand Dollars (US$50,000) to partially cover administration and other Offering
          issuance expenses incurred by the AnC Bio VT in the development, creation and structuring of the Project
          and preparation and distribution of the Offering Memorandum (the "Administration Fees"), for a total cost of
          Five Hundred Fifty Thousand Dollars (US$550,000)("the Subscription Amount"). Upon execution by me of
          this Subscription Agreement, 1 agree to tender to the Limited Partnership the Capital Contribution, and to
          AnC Bio VT the Administration Fees, unless I request additional time to conduct my due diligence by making
          a refundable deposit of US$10,000 with People's United Bank (the "Deposit Escrow Agent') as set forth
          herein. All capitalized terms used herein and not otherwise defined shall have the same meanings as used
          in the Limited Partnership Agreement and Offering Memorandum.

          An "Interest" is defined in the Limited Partnership Agreement as the partner's right, title, and interest in the
          Partnership, including any and all assets, distributions, losses, profits and shares of the Partnership, whether
          cash or otherwise, and any other interests and economic incidents of ownership whatsoever of such partner
          in the Partnership.

         'The minimum Capital Contribution for purposes of this Limited Partnership for an investor seeking lawful permanent
          resident status under the so-called EB-5 program under the Immigration and Nationality Act, as amended,is 3500,000.
          For investors not seeking the benefits of such EB-5 program, the minimum Capital Contribution may be reduced at the
         sole discretion of the General Partner (as defined in the Limited Partnership Agreement).
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                                                    131 Church Street, Burlington, VT 05401




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     Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A



           The undersigned agrees that the Partnership may reject this Subscription Agreement in its sole and absolute
           discretion within fifteen (15)days of receipt of this Subscription Agreement, if the undersigned subscriber is
           not an accredited investor.

           I have received and read the Offering Memorandum, dated as.of November 30, 2012, including the Limited
           Partnership Agreement and Exhibits thereto (the "Memorandum"), covering the sale of the Interests (the
           "Offering") and hereby acknowledge that I am not acting on the basis of any representations and warranties
           other than those contained in the Memorandum. I hereby acknowledge that all matters relating to the
           Memorandum have been explained to me to my satisfaction and approval, and that I understand the
           speculative nature and the risks involved in the proposed investment. I agree to be bound by all of the terms
           and conditions of the Offering Memorandum,the exhibits thereto, and the Limited Partnership Agreement.

           I realize that (i) an investment into the Partnership is of a speculative nature and may result in a loss of my
           entire investment; (ii) the Interests have not been registered under the Securities Act of 1933 or the laws of
           any state; (iii) unless the purchaser is a resident and living in the United States, wherein Regulation D under
           the Act shall apply, the Interests may not be offered or sold in the United States, or to any natural person
           resident in the United States or to any entity formed in the United States or whose owners (directly or
           indirectly) are "U.S. persons" within the meaning of Regulation S issued by the Securities and Exchange
           Commission; (iv) the interest is not transferable except in compliance with the restrictions on transferability
           indicated in the Memorandum and in the Limited Partnership Agreement and to be written on all certificates
           evidencing the Interest, as imposed by applicable federal and state securities laws or otherwise and,
           accordingly, an investment in the Partnership lacks liquidity;(v) this is not a lax shelter" investment and the
           nature and tax consequences to me of an investment in the Partnership may depend upon my
           circumstances; and (vi) no federal or state agency has made any finding or determination as to the faimess
           of the Offering, or any recommendation or endorsement of the Interests.

           I agree to be bound by all of the terms and provisions of the Offering Memorandum and to perform any
           obligations therein imposed on a purchaser with respect to an Interest purchased as a result thereof, and I
           acknowledge that the Limited Partnership will be retying on the agreements and information as provided by
           me in determining my qualifications to invest in the Partnership.

          1 have accumulated a net worth, individually or jointly with my spouse, of not less than $US1,000,000, not
          including residence, home furnishings or automobiles, or have an individual income of not less than
          US$200,000 per annum or a joint income with my spouse of not less than US$300,000 per annum and have
          a reasonable expectation of reaching the same income level in the current year.

          I reaffirm the representations concerning me made in the Investor Questionnaire and the Acknowledgment of
          Receipt of Offering Memorandum, all of which are hereby incorporated herein by reference. 1 further
          represent and warrant as follows:

          (a) I have read and am familiar with the Offering Memorandum and its Exhibits;

          (b) I am:

                 (i) A resident of, and living in the U.S. at the time of sale and therefore Regulation D of the Act shall
                 apply; or


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                                                  131 Church Street. Burlington, VT 05401




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    Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A


                  (ii) Not resident in the United States at this time, nor will 1 be at the time of sale, and therefore
                  Regulation S of the Act may apply;

          (c) The Interest for which 1 hereby subscribe will be acquired solely for my account and is not being
          purchased for subdivision or fractionalization thereof or for the benefit of a United States person (unless that
          person is resident and living in the U.S) as that term is defined in Regulation S; and I have no contract,
          undertaking, agreement or arrangement with any person to sell, transfer or pledge to such person, or to
          anyone else, the Interest which I hereby subscribe to purchase or any part thereof, and I have no present
          plan to enter any such contract, undertaking, agreement or arrangement;

          (d) The Limited Partnership has made all documents pertaining to this investment available to me and, if I so
          requested,to my attorney and/or accountant;

          (e) I have relied solely upon the Offering Memorandum presented by the IJmited Partnership, the Exhibits 10
          the Offering Memorandum, and such independent investigations as made by me in making a decision to
          purchase the Interest subscribed for herein;

          (f) I am investing in my own name; and I was not solicited by any form of general solicitation or general
          advertising, including, but not limited to the following:

                  (i)   any advertisement, article, notice of other communications published in any newspaper,
                  magazine, or similar media or broadcast over television or radio in the United States; and

                  (ii)   any seminar or meeting whose attendees had been invited by any general solicitation or,
                  general advertising in the United States;

          (g) I acknowledge an understanding of the restrictions on transferability of the Interest and realize that no
          transfer may occur, excepting as permitted under Article 10 of the Limited Partnership Agreement, and in any
          event only after registration of the interests under the Securities Act of 1933 or pursuant to an exemption
          from the securities laws and regulations; and

          (h) I agree that the Interest may not be sold in the absence of registration unless such sale is exempt from
          registration as evidenced by a written opinion of counsel of the Limited Partnership, and further that I shall be
          responsible for compliance with all conditions on transfer imposed by any Commissioner of Securities of any
          state and forany expenses incurred by the Limited Partnership for legal or accounting services in connection
          with reviewing any proposed transfer or issuing opinions in connection therewith.

          I recognize that the offer and sale of the Interest to me was based upon my representations and warranties
          contained above and I hereby agree to indemnify the Limited Partnership, its General Partner, its affiliates,
          their managers, members, shareholders, officers and directors, and to hold each harmless from and against
          all liabilities, costs or expenses (including attomey's fees) arising by reason of or in connection with any
          misrepresentation or any breach of such warranties by me, or my failure to full any of my covenants or
          agreements set forth herein, or arising as a result of the sale or distribution of the Interest by me in violation
          of the Securities Exchange Act of 1934, as amended, the Securities Act of 1933, as amended, or any other
          applicable law.



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                                                   131 Church Street, Burlington, VT 06401




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    Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A


           This subscription and the representations and wan-anties contained herein shall be binding upon my heirs,
           legal representatives, successors and assigns.

          To facilitate the expeditious administration of the business operations of the Limited Partnership, 1 hereby
          designate and appoint William Stenger, or his designee, my agent and attomey-in-fact in my name, place
          and stead to do any act or thing and to make, execute, swear to and acknowledge, amend, file, record,
          deliver and publish (a) any certificate of limited partnership, or amended certificate of limited partnership
          required to be filed on behalf of the Limited Partnership under the laws of the State of Vermont, or required or
          permitted to be filed or recorded under the statutes relating to limited partnerships under the laws of any
          jurisdiction in which the Limited Partnership shall engage or seek to engage in business;(b) any fictitious or
          assumed name certificate required or permitted to be filed by or on behalf of the Limited Partnership;(c)any
          other instruments necessary to conduct the operations of the Limited Partnership or which may be required
          or permitted. by law to be filed on behalf of the Partnership; and (d) a social security number(SSN)or an
          individual tax identification number(ITIN) in connection with distributions to be made to me under the Limited
          Partnership Agreement. Provided, however, the said agent and attorney-in-fact may not take any action
          which under the Limited Partnership's Agreement of Limited Partnership requires or permits the holders of
          the Interests to vote. The existence of this power of attorney, which shall not be affected by my disability,
          shall not preclude execution of any such instrument by me individually on such matter. The foregoing power
          of attorney is coupled with an interest, shall be irrevocable and shall survive my death, bankruptcy or
          incapacity and the assignment by me of my Interest. Any person dealing with the Limited Partnership shall
          conclusively presume and rely upon the fact that any such instrument executed by such agent and attorney-
          in-fact is authorized, regular and binding without further inquiry. I shalt execute and deliver to the Limited
          Partnership within five days after receipt of a request therefore by the Limited Partnership such further
          designations, powers of attorney and other instruments as the Limited Partnership shall reasonably deem
          necessary.

          Upon the Partnership's acceptance of this Subscription Agreement and related exhibits, and receipt of the
          undersigned's full Capital Contribution, and the AnC Bio VT's receipt of the Administrative Fees, the
          Partnership shall notify the undersigned that it has accepted the subscription herein by delivering to the
          undersigned a fully signed copy of the Subscription Agreement and the undersigned shalt be admitted as a
          Limited Partner of the Partnership, with a certificate evidencing the undersigned's Interest in the Partnership
          issued in the undersigned's name to the undersigned within a reasonable period of time.

          Partnership Interests are available on a first-come, first-serve ,basis. Those Investors who need additional
          time to complete their due diligence may make a refundable deposit of US$10,000 for up to thirty (30) days.
          As set forth in the Memorandum, after reserving an interest in the Limited Partnership by making an escrow
          deposit of $10,000 with the Escrow Agent subject to the terms of an Investor Escrow Agreement, each
          Limited Partner shall have thirty (30) days to conduct his due diligence, and an additional forty-five days
          thereafter to complete his investment into the Project by paying the rest of the Subscription Amount, which
          time periods may be extended by the General Partner at its sole discretion.

          If applicable to my investment in the Partnership, with respect to my qualifications as an "alien entrepreneur"
          for purposes of the EB-5 program under the immigration and Nationality Act, as amended (the "EB-5
          Program"), I represent, acknowledge and warrant as follows:

          (a) I, the undersigned. have attained the age of 18 years and have the legal capacity and competence to
          execute all necessary documents in connection with this Offering and to take all actions required pursuant to
          those documents;

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                                                  131 Church Street, Burlington, VT 05401




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     Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A




           (b) 1 shalt hire independent counsel for immigration processing and other legal matters. The undersigned
           shall be responsible for payment of my own legal fees and costs;

           (c) I understand that Jay Peak Biomedical Research Park L.P. and the General Partner shall use their
           reasonable best efforts to assist my immigration counsel with the filing of my 1-526 petition.

           (d) I understand that Jay Peak Biomedical Research Park L.P. and the General Partner shall use their
           reasonable best efforts to assist my immigration counsel with the filing of my 1-829 petition under the EB-5
           Program, and hereby authorize and will reimburse the General Partner to engage with, delegate to, and'
           reasonably compensate qualified persons in the assemblage and preparation of documents, reports and
           required verification of requisite job creation in connection with and in support of my 1-829 Petition to remove
           conditions to obtaining permanent residency;

           (e) 1 understand that upon subscribing to this Offering and becoming a limited partner, it is at the sole
           responsibility and risk of the undersigned to file my 1-526 and 1-829 petitions and move for adjustment of
           status or consular processing to obtain a visa. There is no refund of my Subscription Amount for failure to file
           my 1-526 or 1-829 petitions;

           (f) I understand that in the event my 1-526 petition is denied at any time, my rights are limited solely to the
           return of my $500,000 Capital Contribution (but not the $50,000 Administration Fees) within ninety (90)days
           of written request therefore to the General Partner, unless said denial is based on fraud or material
           misrepresentation of the undersigned, in which event no refund shall be due. The returned $500,000 Capital
           Contribution is separate from any previously paid or currently due Partnership distribution of profits. 1
           understand there is no right to a refund of any of my Subscription Amount in the event my 1-829 petition is
           denied;

           (g) 1 understand that the regional center pilot program, created in support of the EB-5 Program and further
           described in the Memorandum (the "Pilot Program"), has lapsed in the past, only to be reauthorized
           retroactively so that no investor rights were prejudiced by a lapse in the program. The same scenario may
           occur should the current Pilot Program lapse, but this result cannot be assured. If the Pilot Program lapses,
           and my 1-526 petition is filed with USCIS but is not yet adjudicated on or before the date of lapse, my
           $500,000 Capital Contribution shall remain invested in the Partnership provided:

               1. the Pilot Program is reauthorized retroactively or is pending reauthorization within a twelve (12)
                  month period following its lapse, and my 1-526 Petition is in due course adjudicated; or
               2. legislation is enacted or pending providing substantially similar immigration benefits to foreign
                  investors like me as under the lapsed Pilot Program and the EB-5 Program within a twelve (12)
                  month period following the Pilot Program's lapse, and my petition for substantially similar benefits is
                  in due course adjudicated.

           If neither of the events described under 1 and 2 above occur, or are pending as stated, at my option I may
           either remain invested in the Partnership, or request in writing a refund of my Capital Contribution of
           $500,000. Upon receipt of a request of refund to the General Partner, the Capital Contribution will be
           refunded by the Limited Partnership within a period of ninety (90)days from receipt of such request, and my
           Interest in the Limited Partnership shall automatically be terminated and I shall no longer have any of the
           rights and benefits of ownership of an Interest or any right to participate in any manner whatsoever in the

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    Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A



           affairs of the Partnership. I acknowledge that my rights in this regard are limited solely to the return of my
           Capital Contribution of $500,000.

          (h) If I do not have a social security number(SSN)or an individual tax identification number(1TIN) at the time
          of the investment, 1 must apply for and provide one in a timely manner after the investment and prior to any
          distributions to me as described in the Limited Partnership Agreement.


                                               INTENTIONALLY LEFT BLANK




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    Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A



                                       Consent to Limited Partnership Agreement

          The undersigned hereby consents (the "Consent") to the terms and conditions of the Limited Partnership
          Agreement(the "Agreement") of Jay Peak Biomedical Research Park LP.(the "Partnership") in connection
          with the undersigned's subscription for a limited partnership interest in the Partnership (an "Interesr),
          comprised of the Capital Contribution of US$500,000 payable to the Partnership, plus the Administration
          Fees of US$50,000 payable to AnC Bio Vt LLC in consideration of and to partially reimburse it for incurring all
          costs to develop, create and structure the Project and to prepare and distribute the Offering Memorandum,
          for a total cost of US$550,000, and agrees that this Consent shall constitute the equivalent of signing the
          Agreement.

          The undersigned also confirms and attests that I have received and reviewed, and understand and am fully
          satisfied with, all of the information and documentation I consider necessary or appropriate in deciding
          whether to purchase an Interest in the Partnership, including but not limited to the Offering Memorandum
          dated as of November 30, 2012, alt exhibits thereto (including the Agreement) and all financial information
          disclosed therein or under the Agreement; have had the opportunity to ask questions and receive answers
          from the General Partner (as defined in the Agreement) and the Partnership regarding the terms and
          conditions of the purchase of an Interest in the Partnership, and regarding the business, properties,
          prospects, risk factors and financial condition of the Partnership and AnC Rio VT; and have had the
          opportunity to review the books and records of the Partnership and to obtain additional information (to the
          extent the Partnership possessed such information or could acquire it without unreasonable effort or
          expense)•necessary to verify the accuracy of any information furnished to me or to which I have had access.

          The undersigned acknowledges the receipt of a true and correct copy of the Offering Memorandum
          including the Umited Partnership Agreement and agrees to be bound by its terms. My Capital
          Contribution shall be used to further the business purposes of the Partnership as set forth in the
          Limited Partnership Agreement.

          I have the right to withdraw from this subscription within 72 hours after executing this
          Subscription Agreement.

          Individual Investor

          Name

          Signature                                                Date

          Address


          Email Address:


          Country of Residence
          Place of Birth



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    Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A




                  ACCEPTANCE:

          On this          day of             . 201_, Jay Peak Biomedical Research Park L.P. (the `Limited
          Partnership') hereby accepts the subscription of                         for one Interest, on the
          terms set forth herein.

                  Jay Peak Biomedical Research Park L.P.
                  BY: AnC Bio Vermont GP Services, LLC,the General Partner


           BY:
                         William Stenger, Member
                         And duly authorized agent


                              ACCEPTANCE OF AGENT UNDER POWER OF ATTORNEY

                 William Stenger acknowledges that the foregoing Subscription Agreement contains a power of
          attorney from the specific Investor, and he accepts his appointment as the Investor's true and lawful agent
          and attorney-in-fact. William Stenger understands his duties under the Subscription Agreement and Vermont
          law regarding powers of attomey as defined in 14 V.S.A. Section 3503(e).



          William Stenger


                                                     Witness Affirmation

                 The undersigned witness to the signature of William Stenger affirms that he appeared to be of sound
          mind and free from duress at the time the power of attomey contained in the foregoing instrument was
          signed, and that he affirmed that he was aware of the nature of the foregoing document and the power of
          attomey contained therein and signed it freely and voluntarily.



                                              Witness




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    Purchaser Investor Questionnaire Jay Peak Biomedical Research Park L.P. - Exhibit B


                                                                           Exhibit B

                                      PURCHASER INVESTOR QUESTIONNAIRE
           THE FOLLOWING INVESTOR QUESTIONNAIRE IS ESSENTIAL TO ENSURE THAT THIS OFFERING IS
           CONDUCTED IN FULL COMPLIANCE WITH REGULATION D OR REGULATION S OF THE SECURITIES
           ACT OF 1933, AS AMENDED. THE QUESTIONNAIRE WILL REMAIN ON FILE IN CONFIDENCE IN THE
           OFFICES OF JAY PEAK BIOMEDICAL RESEARCH PARK L.P. (THE "LIMITED PARTNERSHIP") FOR A
           PERIOD OF 4 YEARS.

           YOUR COOPERATION IN THE FULL COMPLETION OF THE INVESTOR QUESTIONNAIRE IS GREATLY
           APPRECIATED.

                                                 JAY PEAK BIOMEDICAL RESEARCH PARK L.P.




           Name and Address of Prospective Investor

           Gentlemen:

          I understand that the limited partnership interest (the "Interest") offered for sale to me by Jay Peak
          Biomedical Research Park LP.(the "Limited Partnership") will not be registered under the Securities Act of
          1933, as amended (the "Act") or any applicable state securities laws(the "State Acts"). 1 also understand that
          in order to ensure that the offering and sale of the Interests(the "Offering") are exemptfrom registration under
          the Act and the State Acts, the Limited Partnership is required to have reasonable grounds to believe, and
          must actually believe, after making reasonable inquiry and prior to making any sale:

                 - that purchasers. not resident in the United States at the time of the offer and purchase are purchasing
                 for their own account and not for the benefit of a United States person, as that term is defined in
                 Regulation S: or
                 - that the purchaser is resident and is living in the United States, in which event Regulation D under
                 the Act shall apply.
          In order to Induce the Limited Partnership to permit me to purchase an Interest, I hereby warrant and
          represent to the Limited Partnership as follows:

          NOTE. The inronnaten provided herdn will be relied upon In connection with the determination as to whether you meet the standards
          Imposed by Regulation D or Regulation S promulgated under the Act, since the Interest' offered hereby have not been and will not be
          registered under the Act and are being sold in reliance upon the exemption provided by Regulation S or Regulation D as applicable to the
          investor. All information supplied wet be treated In confidence, except that this Questionnaire may be presented to such parties as deemed
          appropriate or necessary to establish that the sale of an Interest to you wal not result In violation of the exemption from registration under
          the Act which Is being relied upon In connection with the sale of the Interest

          INSTRUCTIONS: Please answer each question fully and attach additional information, if necessary. If the answerto any question is "None'or Not
          Applicable" please so state. Please sign and date the Questionnaire on the final page.



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         1.
                                        Name:
                                  Date of Birth:                                             (mm/dd/yyyy)

                              Employer Name:

                            Business Address:

                 Business Telephone Number:
                           Residence Address:


         2.
         (a)Education:




              Other specialized Education or Instruction:




         (b)All Professional Memberships or Licenses:




        3. Occupation
              Present occupation (with date of commencement):




              Occupations during last five years(with dates):




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         4. My net worth (excluding home, home furnishings and automobiles) is at least $U$                     My
            proposed investment will ❑ will not ❑ exceed ten percent of my net worth.


         5. My income ❑ has ❑ has not exceeded $US200,000 in each of the two most recent years, and 1
             LI have ❑ do not have a reasonable expectation of reaching the same income level in the current
             year.


             My joint income with my spouse ❑ has ❑ has not exceeded $U5300,000 in each of the two most
             recent years, and 1 ❑ have        ❑ do not have a reasonable expectation of reaching the same income
             Level in the current year.


         6. I do not have any other investments or contingent liabilities which I reasonably anticipate could cause the
            need for sudden cash requirements in excess ofcash readily available to me.


                                           ❑ Yes                ❑ No

         7. I have checked my investment objectives where applicable:

                                           ❑ Income             ❑ Appreciation           1=1 Other


        8. I can bear the risk of the proposed investment, including the loss of my entire investment, a lack of liquidity
           in the investment or an inability to sell the investment for an indefinite period of time.


                                           ❑ Yes                ❑ No

        9. I teamed about this investment in the following manner(check each applicable Tine)_


                                          [~ Personal contact or acquaintance
                                          ❑ Investment adviser or counselor
                                          riPrior investment or Association with the Limited Partnership
                                          ❑ Broker-dealer

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                                        0 Affiliation with business or management
                                        0 Immigration Research
                                        0 Other(please state):

         10. I have received a copy of the Offering Memorandum, dated as of November 30,2012, and all Exhibits
            thereto (the "Memorandum')setting forth information relating to the Limited Partnership and the terms
             and conditions of a purchase of an Interest, as well as any other information I deemed necessary or
            appropriate to evaluate the merits and risks of an investment in the Interest. 1 further acknowledge that
             I have had the opportunity to ask questions of, and to receive answers from, representatives of the
             Limited Partnership concerning the terms and conditions of the Offering and the information contained
             in the Memorandum.


                                         C7 Yes                 L] No

            Name and position of person talked to (if applicable):


            I acknowledge that the individual(s) to whom t have spoken did only clarify the information contained in the
            Memorandum and that I am continuing to rely solely upon the information, representations and disclosures
            contained in the Memorandum

         11. If I am an EB-5 Investor, with respect to my qualifications as an "alien entrepreneur"for purposes of the
             Regulations to the Immigration and Nationality Act, as amended, t represent and warrant that:


         (all have attained the age of 18 years and have the Legal capacity and competence to execute all necessary
            documents in connection with this Offering;

         (b)t have complied and will continue to comply with all the requirements, terms and conditions prescribed by
            U.S Citizen and Immigration Services and the U.S. Department of State in connection with my forthcoming
            petition as an EB-5 fifth employment-based visa preference "alien entrepreneur and subsequent
            applications for lawful permanent residence;

         (c)I have accumulated a net worth of not less than $US1,000,000, not incuding residence, home furnishings
            or automobiles; or an individual income in excess of $200,000 each of the two most recent years; or a joint
            income with my spouse in excess of $300,000 in each of the two most recent years and reasonably expect
            to reach the same income level in the current year;

         (d)I am in good health and know of no health impairment which would likely result in exclusion under the
            Immigration and Nationality Act, as amended; and



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         (e)i have never been convicted of any criminal offense or engaged in any acts which constitute crimes of
            which I have not been convicted and 1 do not know of any facts which would result in my failure to meet the
            requirements of an "alien entrepreneur" or to be admitted to the United States as a lawful permanent
            resident

         121 was not solicited by any general form of advertisementfor this investment.


         13.1 am aware that there are limitations on my ability to sell the Interest and that the:certificate evidencing the
            Interest will carry a restrictive legend.


         14. t am purchasing the interestfor personal investment and without a view to redistribution.


         15. I represent and warrant to the Limited Partnership and its general partner that the information contained in
            this Investor Questionnaire is true, complete and correct.


         16. I agree to notify the Limited Partnership promptly of any change in the foregoing information which may
             occur prior to transfer of the Interest to me.




            Dated:                                 Investor Signature:




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                                    Investor Escrow Agreement

                 THIS INVESTOR ESCROW AGREEMENT(the "Agreement") is made by and between the
          undersigned (the investor")and

                                                  People's United Bank
                                                   2 Burlington Square
                                                  Burlington, VT 05401,

          a savings bank chartered under the laws of the United States of America (the "Escrow Agent"), as
          of the date the Escrow Agent signs the Agreement.

                                                         Recitals

                  A. Offering. Jay Peak Biomedical Research Park L.P., a Vermont limited partnership (the
          'Limited Partnership'), is in the process of offering to sell limited partnership interests to investors
          (collectively, the "Investors" and individually, an "Investor"), pursuant to an Offering Memorandum of
          contemporaneous date hereof(the "Offering Memorandum") and a Limited Partnership Agreement
          to be attached thereto as an exhibit (the "LP Agreement"), as a means to securing funds to
          financially assist in the construction of a new manufacturing and research facility in Newport,
          Orleans County, Vermont USA that will manufacture portable dialysis machines, cell therapy
          machines, vaccines and other bio-medical supplies, as well as conduct cutting-edge research and
          development, and to do all other acts which may be necessary, incidental or conducive to the
          foregoing (the "Offering"). The general partner of the Limited Partnership is AnC Bio Vermont GP
          Services, LLC (the "General Partner"). The business of the .Limited Partnership and the use of
          Investor monies (the "Project") will be fully explained in the LP Agreement and Offering
          Memorandum. The required minimum amount of investment funds into the Offering per Investor is
          US$500,000 (the 'Investment"), plus an additional US$50,000 in administrative fees (the
          "Administrative Fees) to be paid to AnC Bio Vt LLC (the °Company") to partially reimburse it for
          costs it has incurred in developing, creating and structuring the Project and preparing and
          disseminating the Offering.Memorandum.

                 B. Purpose of Agreement. The Escrow Agent has been retained by the Company to hold on
          deposit monies received from Investors in an account for the benefit of the Investors, the Company
          and the Limited Partnership, deposited to reserve a place in the Offering while Investors conduct
          due diligence.

                                                  Terms and Provisions
                 In consideration of the respective covenants and agreements hereinafter set forth, and other
          good and valuable consideration now paid by each party to the other (the sufficiency and receipt of
          which is hereby acknowledged), the parties hereto agree as follows:

                 1. Acknowledgment of Escrow Agent and Ratification of its Duties. As of the date of this
          Agreement, the Escrow Agent acknowledges receipt from the Investor of US$10,000 to reserve a
          place in the Offering (the "Minimum Deposit"). Any monies deposited by the Investor with the
          Escrow Agent in excess of the Minimum Deposit and allocated towards the Investor's Investment or




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                                                                                  date of this Agreement,
         Administrative Fees, whether simultaneously hereof or subsequent to the Escrow Agent shall be
                                                     all funds deposited with the
         will also be subject to this Agreement, and
                                                                     agrees with the Investor to hold the
         defined herein as the "Escrow Funds'. The Escrow Agent
         Escrow Funds in an account (the "Escrow Account") and    disburse the Escrow Funds as set forth
         herein.

                2. Acknowledgements of Investor.
                                                                               tendered to reserve a place in
                (a) The Investor acknowledges that the Minimum Deposit is
                                   Escrow Funds shall be subject to this Agreement.
         the Offering and that all
                                                                           qualified investor seeking to invest.
                (b) The Investor represents that he or she is a bona fide,
                                                                     and  the  Limited Partnership are relying
         into the Offering, and that the Escrow Agent, the Company                and into the Offering upon
                                               the Escrow   Funds  into Escrow
         on this representation in accepting                                          Limited Partnership and
                                                                            that the
         release of the Escrow Funds. The Investor also acknowledges
         Company are each a third party beneficiary of this Agreement.

                                                                                      (30) days after payment of
                 3. Refund of Escrow Funds to Investor. At any time up to thirty
                                         thirty (30)  days after the Investor's receipt of the Offering, whichever
         the Minimum Deposit, or up to                                                      Partner with a copy of
                                                                           by the  General
         is the last to occur, unless such period is extended in writing              Investor upon written notice
                                          Agent  (the  "Due  Diligence  Period"), the
         such extension sent to Escrow                                                          with a copy to the
                                                                             Diligence  Period,
         received by Escrow Agent prior to the expiration of such Due
                                                                    Escrow  Funds.
         General Partner, shall be entitled to a full refund of the

                4. Release of Escrow Funds to Limited Partnership.
                                                                                   refunded pursuant to the notice
                 (a) After the expiration of the Due Diligence Period, unless              and will automatically be
                                                                 strictly non-refundable
         set forth in section 3 above,the Minimum Deposit is                                 Investor shall have an
         released by the Escrow Agent to the       Limited Partnership.    Thereafter,  the
                                                                               Investment,    if not already done, by
         additional forty-five (45) days to complete payment of his or her                                Fees to the
                                                  Escrow   Account,   and   paying  the  Administrative
         depositing the balance owed into the
         Company.
                                                                                       deposits the balance of the
                 (b) Notwithstanding the above, at such time that the Investor
                                                                                          Company and the Escrow
         Investment into the Escrow Account, pays the Administrative Fees to the
                                                        documents     executed   by  Investor   and accepted by the
         Agent receives a copy of the subscription                                            immediately   release all
                                    "Subscription Documents"),    the  Escrow  Agent   shall
         Limited Partnership (the                                                       pursuant    to  the  executed
         Escrow Funds paid by the Investor to the
                                                             Limited     Partnership,
                                                             of   the  Escrow   Funds     are   properly  allocated to
         Subscription Documents. To the extent any
                                     Escrow  Agent shall instead  release  such  portion  to the  Company.
         Administrative Fees, the
                                                                                   The Investor confirms that
                 5. Effect of Release of Escrow Funds to the Limited Partnership.       pursuant to the terms
                                                             Partnership and  Company
          upon release of the Escrow Funds to the Limited
                                    Escrow  Funds shall be committed   by the Investor to the Offering and be
          of section 4 above, the                                                    subject, however, to the
          available for the Project immediately and irrevocably upon   such release;
                                                          including the LP Agreement.
          refund provisions of the Offering Memorandum,




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                 6. Duties and Responsibilities of Escrow Agent.
                                                                                 capacity, shall have no
                (a) As Escrow Agent hereunder, Escrow Agent, acting in such
         duties or responsibilities except for those expressly set forth herein.

                                                                                         indemnify and hold
               (b) The Limited Partnership and the Investor shall jointly and severally       limitation,
                                                                           including, without
         harmless the Escrow Agent against any loss, damage or liability,
                                                               the Escrow  Agent  in connection  with this
         reasonable attomey's fees which may be incurred by                               negligence  or
         Agreement, except any such  loss, damage or liability incurred by reason  of the
         misconduct of the Escrow Agent.
                                                                                          reason of an error in
                 (c) The.Escrow Agent, acting as such,shall not be liable to anyone by
         judgment, a mistake of law or fact, or for any  act done or step taken or omitted, in good faith, and
         this provision shall survive the termination of this Agreement.

                                                                                 accordance with this
               (d) At the time the Escrow Funds are released by Escrow Agentin
                                                              obligation under this Agreement.
         Agreement, Escrow Agent shall be discharged from any

                 7. Rights of Escrow Agent Upon Dispute.
                                                                                                  and the Investor or
                (a) In the event of any disagreement between the Escrow Agent                            being made in
                                                     resulting   in  adverse    claims  or  demands
         between them and any other person,                                                                   shall be in
                                                                                              in       faith,
         connection with the Escrow Funds, or in the event that the Escrow Agent, goodoption, refuse to
                                                    hereunder,    the  Escrow     Agent  may,   at its
         doubt as In what action it should take
                                                                                  other action hereunder, so long as
         comply with any claims or demands on it or refuse to take any
                                                                                event, the Escrow Agent shall not be
         such disagreement continues or doubt exists, and in any such
         or become Liable in any way or to any person for       its failure  or refusal to act, and the Escrow Agent
         shall be entitled to continue so to refrain from   acting  until (i) the rights of the Escrow Agent and the
                                                                            court  of competent   jurisdiction, or (ii) all
         Investor shall have been fully and finally adjudicated by a
                                        adjusted   and  alt  doubt   resolved    by agreement     between    the Escrow
         differences shall have been
                                                                                         thereof  in writing.
         Agent and the Investor, and the Escrow Agentshall have been notified
                                                                                                connection with this
                (b) In the event Escrow Agent becomes involved in litigation in
          Agreement, the Investor and Limited Partnership agree       to jointly and   severally  indemnify and hold
                                             all losses, costs,  damages,     expenses,    liabilities, judgments and
          the Escrow Agent harmless from                                                                except that this
                                                                                             thereof,
          reasonable attomey's fees suffered or incurred by Escrow Agent as a result
                                                                  In which   relief is sought   for the  negligence or
          indemnity obligation shall not apply to any litigation
          misconduct of the Escrow   Agent.

                                                                                         counsel in the event of any
                  (c) The Escrow Agent may consult with independent legal
                                                                                                  its duties hereunder
          dispute or questions as to the construction of any of the provisions hereof or
                                                             protected in acting  in accordance   with the opinion and
          and it shall incur no liability and shall be fully                                    proceedings,  including
          instructions of counsel. The     Escrow   Agent  shall have  the  right to file legal
                                                                                          all costs thereof constituting
          interpleader, to determine the proper dispositions of assets hereunder,
          an expense of administration of this Agreement.




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                 8. Notices. All notices, instructions and other communications required or permitted to be
          given hereunder or necessary or convenient in connection herewith shall be in writing and shall be
          deemed to have been duly given if delivered personalty, by facsimile or mailed, postage prepaid,
          registered or certified mail, as follows:

                (a)     If to the Investor:




                (b)    If to Escrow Agent:

                               People's United Bank
                               2 Burlington Square
                               Burlington, VT 05401 Attn: institutional Trust

                        With a copy of each to:

                               Jay Peak Biomedical Research Park L.P.
                               c/o William Stenger
                               4850 VT Route 242
                               Jay, VT 05859

          Any notice delivered or telexed as aforesaid shall be deemed to have been received by the party or
          parties to whom it is sent on the date of its being so delivered or telexed. Any notice mailed as
          aforesaid shall be deemed to have been received by the party or parties hereto to whom it is so
          mailed five business days after the date of its being so mailed.

                 9. Generally. (a) This Agreement shall be governed by and construed and in accordance
          with the laws of the State of Vermont, United States of America.

                 (b) The section headings are for reference purposes and shall not affect the meaning or
          interpretation of this Agreement.

                 (c) This Agreement shall be binding upon, and inure to the benefit of and be enforceable by
          the parties hereto and their respective successors and assigns.

                 (d) The terms and provisions of this Agreement may only be amended, modified, waived,
          superseded or canceled by written instrument executed by both of the parties hereto or, in the case
          of a waiver, by the party or parties waiving compliance. Notwithstanding the foregoing, no term
          which affects the Investor's rights or responsibilities may be amended, modified, superseded or
          canceled without the prior express written consent of the Investor.




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   Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A




                                                                Exhibit A
                             Subscription Agreement


          Dated:        /    /      (dd/mm/yyyy)


          Jay Peak Biomedical Research Park L.P.
          c/o William Stenger
          4850 VT Route 242
          Jay, VT, USA 05859

                   Subscription Agreement
                   For Purchase of a Limited Partnership Interest in
                   Jay Peak Biomedical Research Park L.P.

          Gentlemen:

                                                                                                           herein, hereby
          The undersigned (or T or "me" or "my," as applicable), subject to the terms and conditions
                                                                           "Interest") in Jay Peak  Biomedical  Research
          irrevocably subscribes for one limited partnership interest (the
          Park L.P., a Vermont limited    partnership  (the "Limited Partnership" or "Partnership"). The minimum'  capital
          contribution (the "Capital Contribution") is Five Hundred Thousand Dollars(US$500,000) as required under 8
                                                                                                              "Act") to be
          U.S.C.§ 1153 ($)(5)(A) - (D); INA § 203 (B)(5)(A) - (D) of the Immigration & Nationality Act (the
          eligible under The EB-5  Visa  Program.

                                                                                                                 under the
          In addition, though not part of the undersigned investor's EB-5 investment into the Partnership,
          terms  of the Offering Memorandum    each  investor must also pay  an  administration fee payable  to AnC  Bio Vt
          LLC in the amount of Fifty Thousand Dollars    (US$50,000)  to partially cover administration and  other Offering
                                                                                                                         of
          issuance expenses incurred by the Development Company in the development, creation and structuring
          the Project and preparation and distribution of the Offering Memorandum       (the "Administration  Fees"), for a
                                                      Dollars(US$550,000)   ("the  Subscription Amount').  Upon  execution
          total cost of Five Hundred Fifty Thousand
                                                                                                      Capital Contribution,
          by me of this Subscription Agreement, I agree to tender to the Limited Partnership the
          and to the Development Company the Administration Fees, unless I          request additional time to conduct my
          due diligence by making a refundable    deposit of US$10,000   with People's  United  Bank (the "Deposit Escrow
          Agent") as set forth herein. All capitalized terms used herein and not otherwise defined shall have the same
          meanings as used in the Limited Partnership Agreement and Offering Memorandum.

                                                                                                             interest in the
          An "Interest" is defined in the Limited Partnership Agreement as the partner's right, title, and
          Partnership, including any and all assets, distributions, losses, profits and shares of the Partnership, whether



                                                                                                                     permanent
         'The minimum Capital Contribution for purposes of this Limited Partnership for an investor seeking lawful
         resident status under the so-called EB-5 program under the    Immigration and  Nationality.Act, as amended, is $500,000.
                           seeking  the benefits of such EB-5  program, the minimum   Capital Contribution  may be reduced at the
         For investors not
         sole discretion of the General Partner (as defined in the Limited Partnership Agreement).


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   Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A


          cash or otherwise, and any other interests and economic incidents of ownership whatsoever of such partner
          in the Partnership.

          The undersigned agrees that the Partnership may reject this Subscription Agreement in its sole and absolute
          discretion within fifteen (15)days of receipt of this Subscription Agreement, if the undersigned subscriber is
          not an accredited investor.

          1 have received and read the Offering Memorandum, dated as of November 30, 2012, including the Limited
          Partnership Agreement and Exhibits thereto (the "Memorandum"), covering the sale of the Interests (the
          "Offering") and hereby acknowledge that I am not acting on the basis of any representations and warranties
          other than those contained in the Memorandum. 1 hereby acknowledge that all matters relating to the
          Memorandum have been explained to me to my satisfaction and approval, and that I understand the
          speculative nature and the risks involved in the proposed investment. I agree to be bound by all of the terms
          and conditions of the Offering Memorandum,the exhibits thereto, and the Limited Partnership Agreement.

          I realize that (i) an investment into the Partnership is of a speculative nature and may result in a toss of my
          entire investment; (ii) the Interests have not been registered under the Securities Act of 1933 or the laws of
          any state; (iii) unless the purchaser Is a resident and living in the United States, wherein Regulation 0 under
          the Act shall apply, the Interests may not be offered or sold in the United States, or to any natural person
          resident in the United States or to any entity formed in the United States or whose owners (directly or
          indirectly) are "U.S. persons" within the meaning of Regulation S issued by the Securities and Exchange
          Commission; (iv) the Interest is not transferable except in compliance with the restrictions on transferability
          indicated in the Memorandum and in the Limited Partnership Agreement and to be written on all certificates
          evidencing the Interest, as imposed by applicable federal and state securities laws or otherwise and,
          accordingly, an investment in the Partnership lacks liquidity;(v) this is not a 'tax shelter investment and the
          nature and tax consequences to me of an investment in the Partnership may depend upon my
          circumstances; and (vi) no federal or state agency has made any finding or determination as to the fairness
          of the Offering, or any recommendation or endorsement of the interests.

          I agree to be bound by all of the terms and provisions of the Offering Memorandum and to perform any
          obligations therein imposed on a purchaser with respect to an Interest purchased as a result thereof, and I
          acknowledge that the Limited Partnership will be relying on the agreements and information as provided by
          me in determining my qualifications to invest in the Partnership.

         I have accumulated a net worth, individually or jointly with my spouse, of not less than $US1,000,000, not
         including residence, home furnishings or automobiles, or have an individual income of not less than
         US$200,000 per annum or a joint income with my spouse of not Tess than US$300,000 per annum and have
         a reasonable expectation of reaching the same income level in the current year.

         I reaffirm the representations concerning me made in the Investor Questionnaire and the Acknowledgment of
         Receipt of Offering Memorandum, all of which are hereby incorporated herein by reference. I further
         represent and warrant as follows:

         (a) I have read and am familiar with the Offering Memorandum and its Exhibits;

         (b) I am:



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                 (i) A resident of, and living in the U.S. at the time of sale and therefore Regulation D of the Act shall
                 apply; or
                 (ii) Not resident in the United States at this time, nor will I be at the time of sale, and therefore
                 Regulation S of the Act may apply;

         (c) The Interest for which I hereby subscribe will be acquired solely for my account and is not being
         purchased for subdivision or fractionalization thereof or for the benefit of a United States person (unless that
         person is resident and living in the U.S) as that term is defined in Regulation S; and I have no contract,
         undertaking, agreement or arrangement with any person to sell, transfer or pledge to such person, or to
         anyone else, the Interest which I hereby subscribe to purchase or any part thereof, and I have no present
         plan to enter any such contract, undertaking, agreement or arrangement;

         (d) The Limited Partnership has made all documents pertaining to this investment available to me and, if 1 so
         requested, to my attomey and/or accountant;

         (e) I have relied solely upon the Offering Memorandum presented by the Limited Partnership, the Exhibits to
         the Offering Memorandum, and such independent investigations as made by me in making a decision to
         purchase the Interest subscribed for herein;

         (f) I am investing in my own name; and I was not solicited by any form of general solicitation or general
         advertising, including, but not limited to the following:

                (i)   any advertisement, article, notice of other communications published in any newspaper,
                magazine, or similar media or broadcast over television or radio in the United States; and

                (11)   any seminar or meeting whose attendees had been invited by any general solicitation or
                general advertising in the United States;

        (g) I acknowledge an understanding of the restrictions on transferability of the Interest and realize that no
        transfer may occur, excepting as permitted under Article 10 of the Limited Partnership Agreement, and in any
        event only after registration of the Interests under the Securities Act of 1933 or pursuant to an exemption
        from the securities laws and regulations; and

        (h) l agree that the Interest may not be sold in the absence of registration unless such sale is exempt from
        registration as evidenced by a written opinion of counsel of the Limited Partnership, and further that I shall be
        responsible for compliance with all conditions on transfer imposed by any Commissioner of Securities of any
        state and for any expenses incurred by the Limited Partnership for legal or accounting services in connection
        with reviewing any proposed transfer or issuing opinions in connection therewith.

        I recognize that the offer and sale of the Interest to me was based upon my representations and warranties
        contained above and I hereby agree to indemnify the Limited Partnership, its General Partner, its affiliates,
        their managers, members, shareholders, officers and directors, and to hold each harmless from and against
        all liabilities, costs or expenses (including attomey's fees) arising by reason of or in connection with any
        misrepresentation or any breach of such warranties by me, or my failure to fulfill any of my covenants or
        agreements set forth herein, or arising as a result of the sale or distribution of the Interest by me in violation



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   Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A


          of the Securities Exchange Act of 1934, as amended, the Securities Act of 1933, as amended, or any other
          applicable law.

          This subscription and the representations and warranties contained herein shall be binding upon my heirs,
          legal representatives, successors and assigns.

         To facilitate the expeditious administration of the business operations of the Limited Partnership, I hereby
         designate and appoint William Stenger, or his designee, my agent and attorney-in-fact in my name, place
         and stead to do any act or thing and to make, execute, swear to and acknowledge, amend, file, record,
         deliver and publish (a) any certificate of limited partnership, or amended certificate of limited partnership
         required to be filed on behalf of the Limited Partnership under the laws of the State of Vermont, or required or
         permitted to be filed or recorded under the statutes relating to limited partnerships under the laws of any
         jurisdiction in which the Limited Partnership shall engage or seek to engage in business;(b) any fictitious or
         assumed name certificate required or permitted to be filed by or on behatf of the Limited Partnership;(c) any
         other instruments necessary to conduct the operations of the Limited Partnership or which may be required
         or permitted by law to be filed on behalf of the Partnership; and (d) a social security number (SSN) or an
         individual tax identification number (ITIN) in connection with distributions to be made to me under the Limited
         Partnership Agreement. Provided, however, the said agent and attorney-in-fact may not take any action
         which under the Limited Partnership's Agreement of Limited Partnership requires or permits the holders of
         the Interests to vote. The existence of this power of attorney, which shall not be affected by my disability,
         shall not preclude execution of any such instrument by me individually on such matter. The foregoing power
         of attorney is coupled with an interest, shall be irrevocable and shall survive my death, bankruptcy or
         incapacity and the assignment by me of my Interest. Any person dealing with the Limited Partnership shall
         conclusively presume and rely upon the fact that any such instrument executed by such agent and attorney-
         in-fact is authorized, regular and binding without further inquiry. I shall execute and deliver to the Limited
         Partnership within five days after receipt of a request therefore by the Limited Partnership such further
         designations, powers of attorney and other instruments as the Limited Partnership shall reasonably deem
         necessary.

         Upon the Partnership's   acceptance of this Subscription Agreement and related exhibits, and receipt of the
         undersigned's full Capital Contribution, and the Development Company's receipt of the Administrative Fees,
         the Partnership shall notify the undersigned that it has accepted the subscription herein by delivering to the
         undersigned a fully signed copy of the Subscription Agreement and the undersigned shall be admitted as a
         Limited Partner of the Partnership, with a certificate evidencing the undersigned's Interest in the Partnership
         issued in the undersigned's name to the undersigned within a reasonable period of time.

         Partnership Interests are available on a first-come, first-serve basis. Those Investors who need additional
         time to complete their due diligence may make a refundable deposit of US$10,000 for up to thirty (30) days.
         As set forth in the Memorandum, after reserving an interest in the Limited Partnership by making an escrow
         deposit of $10,000 with the Escrow Agent subject to the terms of an Investor Escrow Agreement, each
         Limited Partner shall have thirty (30) days to conduct his due diligence, and an additional forty-five days
         thereafter to complete his investment into the Project by paying the rest of the Subscription Amount, which
         time periods may be extended by the General Partner at its sole discretion.

         If applicable to my investment in the Partnership, with respect to my qualifications as an "alien entrepreneur"
         for purposes of the EB-5 program under the Immigration and Nationality Act, as amended (the "E13-5
         Program"), I represent, acknowledge and warrant as follows:


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         (a) I, the undersigned, have attained the age of 18 years and have the legal capacity and competence to
         execute all necessary documents in connection with this Offering and to take all actions required pursuant to
         those documents;

         (b) I shall hire independent counsel for immigration processing and other legal matters. The undersigned
         shall be responsible for payment of my own legal fees and costs;

         (c) 1 understand that Jay Peak Biomedical Research Park L.P. and the General Partner shall use their
         reasonable best efforts to assist my immigration counsel with the filing of my 1-526 petition.

         (d)t understand that Jay Peak Biomedical Research Park L.P. and the General Partner shall use their
         reasonable best efforts to assist my immigration counsel with the filing of my 1-829 petition under the EB-5
         Program, and hereby authorize and will reimburse the General Partner to engage with, delegate to, and
         reasonably compensate qualified persons In the assemblage and preparation of documents, reports and
         required verification of requisite job creation in connection with and in support of my 1-829 Petition to remove
         conditions to obtaining permanent residency;

         (e)I understand that upon subscribing to this Offering and becoming a limited partner, it is at the sole
         responsibility and risk of the undersigned to file my 1-526 and 1-829 petitions and move for adjustment of
         status or consular processing to obtain a visa. There is no refund of my Subscription Amount for failure to
         file my 1-526 or 1-829 petitions;

         (f) I understand that in the event my 1-526 petition is denied at any time, my rights are limited solely to the
         return of my $500,000 Capital Contribution (but not the $50,000 Administration Fees) within ninety (90)days
         of written request therefore to the General Partner, unless said denial is based on fraud or material
         misrepresentation of the undersigned, in which event no refund shall be due. The returned $500,000 Capital
         Contribution is separate from any previously paid or currently due Partnership distribution of profits. 1
         understand there is no right to a refund of any of my Subscription Amount in the event my 1-829 petition is
         denied;

        (g) I understand that the regional center pilot program, created in support of the EB-5 Program and further
        described in the Memorandum (the "Pilot Program"), has lapsed in the past, only to be reauthorized
        retroactively so that no investor rights were prejudiced by a lapse in the program. The same scenario may
        occur should the current Pilot Program lapse, but this result cannot be assured. If the Pilot Program lapses,
        and my 1-526 petition is filed with USCIS but is not yet adjudicated on or before the date of lapse, my
        $500,000 Capital Contribution shall remain invested in the Partnership provided:

             1. the Pilot Program is reauthorized retroactively or is pending reauthorization within a twelve (12)
                month period following its lapse, and my 1-526 Petition is in due course adjudicated; or
             2. legislation is enacted or pending providing substantially similar immigration benefits to foreign
                investors like me as under the lapsed Pilot Program and the EB-5 Program within a twelve (12)
                month period following the Pilot Program's lapse, and my petition for substantially similar benefits is
                in due course adjudicated.

        If neither of the events described under 1 and 2 above occur, or are pending as stated, at my option I may
        either remain invested in the Partnership, or request in writing a refund of my Capital Contribution of
        $500,000. Upon receipt of a request of refund to the General Partner, the Capital Contribution will be

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   Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A


         refunded by the Limited Partnership within a period of ninety(90)days from receipt of such request, and my
         Interest in the Limited Partnership shall automatically be terminated and I shall no longer have any of the
         rights and benefits of ownership of an interest or any right to participate in any manner whatsoever in the
         affairs of the Partnership. I acknowledge that my rights in this regard are limited solely to the return of my
         Capital Contribution of $500,000.

         (h)I11 do not have a social security number(SSN)or an individual tax identification number (ITIN) at the time
         of the investment, I must apply for and provide one in a timely manner after the investment and prior to any
         distributions to me as described in the Limited Partnership Agreement.


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   Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A




                                      Consent to Limited Partnership Agreement

         The undersigned hereby consents (the "Consent') to the terms and conditions of the Limited Partnership
         Agreement(the "Agreement") of Jay Peak Biomedical Research Park L.P.(the Partnership")in connection
         with the undersigned's subscription for a limited partnership interest in the Partnership (an "Interest"),
         comprised of the Capital Contribution of US$500,000 payable to the Partnership, plus the Administration
         Fees of US$50,000 payable to AnC Bio Vt LLC in consideration of and to partially reimburse it for incurring
         all costs to develop, create and structure the Project and to prepare and distribute the Offering
         Memorandum, for a total cost of US$550,000, and agrees that this Consent shall constitute the equivalent of
         signing the Agreement.

        The undersigned also confirms and attests that 1 have received and reviewed, and understand and am fully
        satisfied with, all of the information and documentation I consider necessary or appropriate in deciding
        whether to purchase an Interest in the Partnership, including but not limited to the Offering Memorandum
        dated as of November 30, 2012, all exhibits thereto (including the Agreement) and all financial information
        disclosed therein or under the Agreement; have had the opportunity to ask questions and receive answers
        from the General Partner (as defined in the Agreement) and the Partnership regarding the terms and
        conditions of the purchase of an Interest in the Partnership, and regarding the business, properties,
        prospects, risk factors and financial condition of the Partnership and Development Company; and have had
        the opportunity to review the books and records of the Partnership and to obtain additional information (to the
        extent the Partnership possessed such information or could acquire it without unreasonable effort or
        expense) necessary to verify the accuracy of any information furnished to me or to which I have had access.

        The undersigned acknowledges the receipt of a true and correct copy of the Offering Memorandum
        including the Limited Partnership Agreement and agrees to be bound by its terms. My Capital
        Contribution shall be used to further the business purposes of the Partnership as set forth in the
        Limited Partnership Agreement.

        I have the right to withdraw from this subscription within 72 hours after executing this
        Subscription Agreement.

        Individual Investor

        Name                            Bernard Ledezma

        Signature                                           -     Date        12/19/2013

        Address                       11808 Waterstone Loop Drive
                                      Winter Garden, Florida 34786

        Country of Residence          United States

       Place of Birth                 Venezuela

       Email Address                mary@maryvisa.com                              Telephone(407) 545-4747


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   Subscription Agreement Jay Peak Biomedical Research Park L.P. - Exhibit A




                 ACCEPTANCE:

         On this          day of              , 201_, Jay Peak Biomedical Research Park L.P. (the "Limited
         Partnership") hereby accepts the subscription of                          for one Interest, on the
         terms set forth herein.

                 Jay Peak Biomedical Research Park L.P.
                 BY: AnC Bio Vermont GP Services, LLC, the General Partner


         BY:
                        William Stenger, Member
                        And duty authorized agent


                             ACCEPTANCE OF AGENT UNDER POWER OF ATTORNEY

                William Stenger acknowledges that the foregoing Subscription Agreement contains a power of
         attorney from the specific Investor, and he accepts his appointment as the Investor's true and lawful agent
         and attorney-in-fact. William Stenger understands his duties under the Subscription Agreement and Vermont
         law regarding powers of attorney as defined in 14 V.S.A. Section 3503(e).




         William Stenger


                                                    Witness Affirmation

               The undersigned witness to the signature of William Stenger affirms that he appeared to be of sound
        rnind and free from duress at the time the power of attorney contained in the foregoing instrument was
        signed, and that he affirmed that he was aware of the nature of the foregoing document and the power of
        attorney contained therein and signed it freely and voluntarily.




                                             Witness




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                                                        Section 3

                  The Limited Partnership
                               Agreement


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                                      LIMITED PARTNERSHIP AGREEMENT OF
                                    JAY PEAK BIOMEDICAL RESEARCH PARK L.P.
                                         A VERMONT LIMITED PARTNERSHIP

                 The parties to this Agreement of Limited Partnership of JAY PEAK BIOMEDICAL RESEARCH
           PARK LP. (the "Partnership' or'Limited Partnership") are:

                    ANC 8K) VERMONT GP SERVICES, LLC, a Vermont limited liability company with its principal
           place of business at 4850 VT Route 242, Jay, VT 05859, in its respective capacities as the General Partner
           and the Initial Limited Partner. As additional persons invest in the Partnership, and take such steps as are
           required hereunder and under the subscription agreements contained in the Confidential Memorandum (as
           defined in section 2.06(d)) to become Limited Partners, such additional Limited Partners shall become
           parties to this Agreement and shall be legally bound by the terms and conditions herein.

                                                                ReeneIs

                     WHEREAS, the parties desire to form a limited partnership to (i) purchase land and on said parcel,
           (ii) to construct, fit up, furnish, develop and partially lease out a 87,500 square foot facility, and (iii) to enter
           into a joint venture agreement(the "JV Agreement") with an entity (the "Joint Venturer') owned by AnC Bio
           VT LLC and that will have a business relationship with AnC Bio Korea Inc. (the 'Existing Asian AnC Entitle)
           to create and own a joint venture business (the "Joint Venture Entity") that will (a) operate the new facility,
           including the research, development, production and distribution of artificial organs, cellular based therapy
           medicine, stem cell therapy and bioengineering products (collectively the `AnC Ole Products') under
           distribution and certain intellectual property license or transfer agreements with the Existing Asian AnC
           Entity, and (b) will operate and staff clean rooms for third parties conducting research into related and other
           scientific fields(collectively the "Project"); and

                    WHEREAS, the parties expect to raise substantial funds from, among other investors, persons who
           are not United States' citizens or lawful permanent residents of the United States and who desire to become
           limited partners in the Partnership, and this Partnership may enable such investors to become eligible for
           admission to the United States of America as Lawful permanent residents with their spouses and unmarried,
           minor children; and

                   WHEREAS,this Agreement sets forth the terms and provisions of the Partnership;

                  NOW THEREFORE, in consideration of the foregoing, of the mutual promises of the parties hereto,
           and of other good and valuable consideration, the receipt and sufficiency of which are hereby
           acknowledged, the parties hereto, intending legally to be bound, hereby agree as follows:


                                        ARTICLE 1- Definitions and Rules of Construction

           Section 1.01. Definitions.

           The following additional defined terms used in this Agreement shall have the meanings specified below.

                  "Accountants" — Mullah Furman, or such other firm of independent certified public accountants
           selected by the General Partner that is reasonably acceptable to the Limited Partner.

                  "Act" - the Vermont Revised Uniform Limited Partnership Act (11 V.S.A. ch. 23) and any
           corresponding provision or provisions of succeeding law, as it or they may be amended from time to time.




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                     "Adjusted Capital Account Deficit' - with respect to any Partner, the deficit balance, if any, in
             the Partner's Capital Account as of the end of the relevant Fiscal Year, after giving effect to the
             following adjustments:

                     (i)     credit to such Capital Account any amounts that such Partner is obligated to restore
             pursuant to any provision of this Agreement, is otherwise treated as being obligated to restore under
             Treasury Regulation Section 1,704-1 (b)(2)(ii)(c), or is deemed to be obligated to restore pursuant to
             the penultimate sentences of Treasury Regulation Sections 1.704-2(g)and 1.704-2(i)(5); and

                      (ii)     debit to such Capital Account the items described in Treasury Regulation Sections
             1.704-1(b)(2)(ii)(d)(4),(5), and (6).

             The foregoing definition of Adjusted Capital Account Deficit is intended to comply with the provisions
             of Treasury Regulation Section 1.704-1 (b)(2)(ii)(d) and shall be interpreted consistently therewith.

                     "Adjusted Capital Contribution" - with respect to each Partner, the aggregate capital
             contributed to the Partnership by such Partner reduced, from time to time, (i) by any return of a
             Capital Contribution made pursuant to the Agreement, and (ii) by the aggregate distributions of Net
             Proceeds from a Capital Transaction made to such Partner pursuant to the Agreement.

                     "Admission Date"- the date on which a Limited Partner is admitted to the Partnership, as set
            forth in Section 3.02(b).

                    "Affiliate" - as to the General Partner, any Person who directly or indirectly through one or
             more intermediaries, controls, is controlled by or is under common control of the General Partner.

                    "Agreement" - this Agreement of Limited Partnership, including the Recitals and all of the
            exhibits attached hereto and made a part hereof, as amended and in effect from time to time.

                     "AnC Bio VT" — an existing limited liability company organized in the State of Vermont, USA,
            that will itself or through others inject $8,000,000 of infrastructure into the Project, will own the Joint
            Venturer as a wholly owned subsidiary and will facilitate the negotiation of certain business
            agreements with the Existing AnC Asian Entity to foster the Joint Venture Entity's development and
            production of AnC Bio Products at the Clean Room Facility.

                    "Available Cash Flow' - funds provided from operation of the Partnership, without deductions
            for payments made to service Secured Debt and for depreciation, but after deducting funds used to
            pay all expenses and other debts of the Partnership, including administrative operational expenses,
            debt payments other than Secured Debt, capital improvements and less the amount set aside by the
            General Partner, in the exercise of its sole discretion, for reserves.

                    'Buildings" — the improvements to be constructed on the Property using Partnership funds,
            including the Clean Room Facility.

                   "Capital Account" - the capital account maintained by the Partnership for each Partner,
            determined in accordance with Section 7.01.

                      "Capital Contribution" - the total amount of cash or any cash equivalents or property (net of
            liabilities and commitments secured by such contributed property that the Partnership may have
            assumed) contributed or agreed to be contributed to the Partnership by each Partner, including all
            adjustments thereto, as provided in this Agreement.

                    "Capital Transaction" - the sale or other disposition of all or substantially all of the Partnership
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             Property in a single transaction or a series of related transactions.

                    "Certificate" - the certificate of limited partnership for the Partnership, as it may be amended
             from time to time, that is prepared and filed in accordance with the Act.

                     "Clean Room f=acility" - the building to be constructed by the Partnership and Development
             Entity using Partnership funds and non-Partnership funds.

                    "Code" - the Internal Revenue Code of 1986, as amended from time to time, or any
             corresponding provision or provisions of succeeding law.

                    "Consent of the General Partner" - the written consent or approval of the General Partner,
             which shall be obtained prior to the taking of any action for which it is required hereunder; if there is
             more than one General Partner, "Consent of the General Partner" shall require the affirmative
             consent of General Partners holding at least a majority of the aggregate Interests of the General
             Partners.

                      "Consent of the Limited Partner" - the written consent or approval of the Limited Partner,
             which shall be obtained prior to the taking of any action for which it is required hereunder; if there is
             more than one Limited Partner, "Consent of the Limited Partner" shall require the affirmative consent
             of sixty-six and two-thirds percent(66.67%)of the Limited Partners authorized to vote.

                     "Environmental Hazard" - any hazardous or toxic substance, waste or material, or any other
             substance, pollutant, or condition that poses a risk to human health or the environment, including, but
             not limited to: (a) any "hazardous substance" as that term is defined under the Comprehensive
             Environmental Response, Compensation and Liability Act of 1980, 42 U.S.C. Section 9601,et seq. as
             amended, (b) petroleum in any form, lead-based paint, asbestos, urea formaldehyde insulation,
             methane gas, polychlorinated biphenyls ("PCB's"), radon, or lead in drinking water, except for
             ordinary and necessary quantities of office supplies, cleaning materials and pest and insect control
             supplies stored in a safe and lawful manner and petroleum products contained in motor vehicles or
             otherwise property stored; (c) any underground storage tanks not properly registered with the
             appropriate govemment agencies; or (d) accumulations of debris, mining spoil or spent batteries,
             except for ordinary trash and garbage stored in receptacles for regular removal.

                       "Event of Bankruptcy" - with respect to any Person,

                      (1) the entry of a decree or order for relief by a court having jurisdiction in respect of such
             Person in an involuntary case under the federal bankruptcy laws, as now constituted or hereafter
             amended,or any other applicable federal or state bankruptcy, insolvency or similar law, or appointing
             a receiver, liquidator, assignee, custodian, trustee, sequestrator (or other similar official) For such
             Person or for any substantial part of its property, or ordering the winding-up or liquidation of its affairs,
             and the continuance of any such decree or order unstayed and in effect for a period of sixty (60)
             consecutive days;

                       (2) the commencement by such Person of a voluntary case under the federal bankruptcy
             laws, as now constituted or hereafter amended, or any other applicable federal or state bankruptcy,
             insolvency or similar law, or the consent by such Person to the appointment of or taking possession
             by a receiver, liquidator, assignee, trustee, custodian, sequestrator (or other similar official) for such
             person or for any substantial part of its property, or the making by such Person of any assignment for
             the benefit of creditors, or the taking of action by such Person in furtherance of any of the foregoing;

                      (3) the commencement against such Person of an involuntary case under the federal
             bankruptcy laws, as now constituted or hereafter amended, or any other applicable federal or state
             bankruptcy insolvency or similar laws which has not been vacated, discharged or bonded within sixty
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            (60) consecutive days;

                      (4) the admission by such Person of its inability to pay its debts as they become due; or

                       (5) such Person becoming "insolvent" by the taking of any action or the making of any
             transfer or otherwise, as insolvency is or may be defined pursuant to federal bankruptcy laws, the
             Uniform Fraudulent Transfer Act, any state or federal act or law, or the ruling of any court.

                      "Event of Default" - as set forth in Section 9.02(b).

                      "Final Determination" - with respect to any issue, the earliest to occur of (a) a decision,
            judgment, decree, or other order being issued by any court of competent jurisdiction, which decision,
            judgment, decree, or other order has become final (i.e., all allowable appeals filed by the parties to
            the action have been exhausted or the time for such appeals has expired);(b)the IRS having entered
            into a binding agreement with the Partnership or having reached a final administrative or judicial
            determination which, whether by law or agreement, is not subject to appeal; or (c) the expiration of
            the applicable statute of limitations.

                      "Fiscal Year" - the calendar year or such other year that the Partnership is required by the
             Code to use as its taxable year.

                      'Gain' - the income and gain of the Partnership for federal income tax purposes arising
            from a sale or other disposition of all or any portion of the Partnership Property.

                      "General Partner" — AnC BIO Vermont GP Services, LLC and any additional or substitute
            general partners of the Partnership named in any duly adopted amendment to this Agreement; if
            there is more than one general partner, "General Partner" shall refer collectively to all such general
            partners and their successors.

                       'GP Limited Interests" — as to the General Partner or its Affiliate, its right, bite and interest
            as a Limited Partner in the Partnership in consideration if it must advance funds to complete the
            Project. The GP Limited Interests shall be in a separate Class B of ownership from the other Limited
            Partners, under which class the General Partner or its Affiliate shall not share in any Partnership
            income nor have any voting rights otherwise permitted Limited Partners, but shall share in any gain or
            loss, or in distributions in the event of a Capital Transaction, on a pro rata basis, pari passu, based on
            its Percentage Interest.

                      "Initial Limited Partner" — AnC BIO Vermont GP Services, LLC.

                      "Interest" - as to any Partner, the Partner's right, title, and interest in the Partnership,
            including any and alt assets, distributions, losses, profits and shares of the Partnership, whether cash
            or otherwise, and any other interests and economic incidents of ownership whatsoever of such
            Partner in the Partnership.

                      "IRS" - the Internal Revenue Service of the United States of America.

                      "JV Agreement" — the joint venture agreement to be entered into by and between the
            Limited Partnership and a wholly owned subsidiary of AnC Bio VT, for the purpose of creating and
            owning the Joint Venture Entity that will run the business operations in the Clean Room Facility.

                      "Land" - an approximately 7 acre parcel of land to be sold to the Limited Partnership
            pursuant to a Puchase and Sale Agreement to be entered into (the "Purchase Agreement", a draft of
            which is attached as an Exhibit to the Confidential Memorandum), on which the Buildings will be
            constructed,
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                        "Limited Partner' — AnC BIO Vermont GP Services, LLC, as the Initial Limited Partner, and
            any additional or substitute limited partner or partners of the Partnership as provided herein, in each
            such person's capacity as a limited partner. If there is more than one limited partner,"Limited Partner"
            or "Limited Partners" shall refer collectively to all such limited partners. In no event, however, shall
            there be more than two hundred eight (208) Limited Partners at any one time who are also Qualified
            Investors (as defined in Section 2.06(a)), unless the General Partner in its sole discretion determines
            that the Project can support additional Qualified Investors, in which case the General Partner may
            amend this Agreement to allow for additional Limited Partners who are Qualified Investors. If the
            General Partner or its Affiliate must advance funds to complete the Project, this Agreement will be
            modified by the General Partner if necessary and understood to reflect that the General Partner or its
            Affiliate will be given a Limited Partnership Interest in a separate Class B and also become a Limited
            Partner(see "GP Limited Interests")_

                       "Limited Partnership Interest" - "Interesr or "Limited Partnership Interest' or Partner
            interesr means the ownership interest of a Partner in the Partnership at any particular time including
            the right of such Partner to any and all benefits to which such Partner may be entitled as provided in
            the Agreement and under the Act, together with the obligations of such Partner to comply with all the
            terms and provisions of the Agreement and Act.

                       "Loss' - the loss of the Partnership for federal income tax purposes arising from a sale or
            other disposition of all or any portion of the Partnership Property. If the value at which an asset is
            carried on the books of the Partnership pursuant to the capital account maintenance rules of Treasury
            Regulation Section 1.704-1(b) differs from its adjusted tax basis and loss is recognized from a
            disposition of such asset, the loss shall be computed by reference to the asset's book basis rather
            than its adjusted tax basis.

                     "Net Cash Flow" - the amount, determined for any Fiscal Year or portion thereof, equal to
            the excess, if any, of Cash Flow over the sum of the amounts payable from Cash Flow in such year
            described in Section 8.01.

                      "Net Loss' — the net loss of the Partnership for federal income tax purposes for each Fiscal
            Year.

                     "Net Profit" - the taxable income of the Partnership for federal income tax purposes for
            each Fiscal Year.

                      "Notice" - a writing containing the information required by this Agreement and sent by
            registered or certified mail, postage prepaid, return receipt requested, or sent by commercial delivery
            service, by hand delivery, or by telecopy, paid for by the sender, to a Partner at the last address or
            addresses designated for such purpose by such Partner in Section 16.01 or as provided therein, the
            date of receipt of such registered mail or certified mail or the date of actual receipt of such writing by
            commercial delivery service, hand delivery or telecopy, being deemed the date of the Notice.

                       "Partner' or "Partners" - the General Partner and the Limited Partner, either individually or
            collectively, and their successors.

                      "Partnership" — JAY PEAK BIOMEDICAL RESEARCH PARK L.P., a limited partnership
            formed in the State of Vermont under and pursuant to the Act, and govemed by this Agreement. The
            Partnership is also sometimes referred to herein as the Limited Partnership.

                        "Partnership Property" - the Partnership's interest (1) as owner of the Land and Buildings,
            (ii) as a party to the JV Agreement and (iii) as a party to all distribution rights agreements entered into
            with the Existing Asian AnC Entity or AnC Bio VT.
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                       "Person" - an individual or entity, such as, but not limited to, a corporation, general
             partnership, joint venture, limited partnership, limited liability company, trust, cooperative, or
             association and the heirs, executors, administrators, legal representatives, successors, and assigns
             of the Person where the context so requires.


                       'Property' — a 7 acre parcel of real property owned by GSI of Dade County. Inc_ and
             located in Newport, Vermont, which parcel is to be sold to the Partnership, located within the State of
             Vermont Regional Center.

                       "Related Documents" — the Confidential Memorandum and exhibits thereto, as defined in
             Section 2.06(f).

                       "State" - The State of Vermont.

                      'Term" - The period of time the Partnership shall continue in existence as stated in Section
             2.07.
                      'Treasury Regulations" - the temporary and final regulations promulgated under the Code,
             as such regulations may be amended from time to time (including corresponding provisions of
             succeeding regulations).

            Section 1.02. Rules of Construction.
            (a) Unless the context clearly indicates to the contrary, the following rules apply to the construction of
            this Agreement:

                      (1)   words importing the singular number include the plural number and words importing
                      the   plural number include the single number;

                      (2) words of the masculine gender include correlative words of the feminine and neuter
                      genders, and vice-versa;

                      (3) the headings or captions used in this Agreement are for convenience of reference
                      and do not constitute a part of this Agreement, nor affect its meaning, construction, or
                      effect;

                      (4) any reference in this Agreement to a particular "Article,'"Section" or other subdivision.
                      shall be to such Article, Section, or subdivision of this Agreement unless the context shall
                      otherwise require;

                     (5) Words such as "herein', "hereinbefore," "hereinafter," "hereof" and "hereunder" refer
                     to this Agreement as a whole and not merely to a subdivision in which such words appear
                     unless the context otherwise requires; each reference in this Agreement to an agreement
                     or contract shall include all amendments, modifications, and supplements to such
                     agreement or contract unless the context shall otherwise require; and

                     (6) when any reference is made in this Agreement or any of the schedules or exhibits
                     attached hereto to the Agreement, it shall mean this Agreement, together with all other
                     schedules and exhibits attached hereto, as though one document.

            (b) In the event there is more than one Limited Partner or more than one General Partner, the
            following additional rules of construction shall apply unless otherwise provided:

                     (1)    allocations tc the General Partner and Limited Partner of Gain, Net Profits, Net
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                       Losses and Loss under Article VII, and distributions of Net Cash Flow and Capital
                       Proceeds under Article VIII shall be further allocated and/or distributed between or among
                       the General Partners and/or Limited Partners in proportion to each General or Limited
                       Partner's respective Interest, to be set forth on Exhibit A, as amended. Unless otherwise
                       provided herein, no General Partner shall have a superior right to receive distributions than
                       any other General Partner and no Limited Partner shall have a superior right to receive
                       distributions than any other Limited Partner;

                       (2) with respect to any matter on which the approval or ratification of the General Partner
                       or the Limited Partner is required or may be given, such approval or ratification shall not be
                       deemed to have been given unless given by Consent of the General Partner or the
                       Consent of the Limited Partner, as the case may be; and

                       (3) with respect to any matter on which the approval or ratification of the General Partner
                       or the Limited Partner is required or may be given, each General Partner or Limited
                       Partner, as the case may be, shall be entitled to vote.

             Section 1.03. Imputation of Knowledge and Notice.
             Notice or knowledge received by the Partnership is effective for a particular transaction from the time
             when it is brought to the attention of the individual conducting that transaction or event, and in any
             event from the time when it would have been brought to its or her attention if the Partnership had
             exercised due diligence. The Partnership exercises due diligence if it maintains reasonable routines
             for communicating significant information to the person conducting the transaction or event and there
             is reasonable compliance with the routines. Due diligence does not require an individual acting for the
             Partnership to communicate information unless such communication is part of its or her regular duties
             or unless he or she has reason to know of the transaction or event and that the transaction or
             event would be materially affected by the information.

             Section 1.04. Successor Statutes and Agencies.
             Any reference contained in this Agreement to specific statutory or regulatory provisions, including
             without limitation the Act and the Code, or to specific governmental agencies or entities shall include
             any successor statute or regulation, or agency or entity, as the case may be.


                                         ARTICLE 11- Partnership Business Purpose

            Section 2.01. Formation of Partnership.
            The General Partner and the Initial Limited Partner hereby form the Partnership.

            Section 2.02. Partnership Name.
            The name of the Partnership is" JAY PEAK BIOMEDICAL RESEARCH PARK LP.".

            Section 2.03. Principal Place of Business.
            The principal office of the Partnership and the office to be maintained pursuant to the Act shall be
            located at the offices of ANC 810 VERMONT GP SERVICES, LLC, a Vermont limited liability
            company with its principal place of business currently at 4850 VT Route 242, Jay, VT 05859.

            Section 2.04. Registered Agent.
            The name and address of the registered agent and registered office of the Partnership for service of
            process is Mark H. Scribner, 131 Church Street, Suite 300, Burlington, Vermont 05401.

            Section 2.05. Title to Partnership Property.
            Legal title to Partnership Property shall be in the name of the Partnership, and no Partner,
            individually, shall have any ownership of or leasehold interest in such Partnership Property, except in
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             its capacity as a Partner.

            Section 2.06. Purposes of the Partnership..
            The purposes, nature, and general character of the business of the Partnership shall consist of

            (a) acquiring, owning, constructing, developing, and holding for economic gain the Partnership
            Property, including without limitation the Land and Clean Room Facility, and, if appropriate and
            desirable in the opinion of the General Partner in its sole reasonable discretion but only in compliance
            with the IN Act, selling or allocating or otherwise disposing of the Partnership Property or any
            substantial part thereof in settlement of the Limited Partnership Interests;

            (b) carrying on any and all activities, to enter into, perform and carry out contracts of any kind
            necessary to, incidental to or related to the foregoing or the Project in accordance with this
            Agreement, including without limitation entering into and performing under the Purchase Agreement
            and the JV Agreement;

            (c) mortgaging, selling, transferring, exchanging, subjecting to condominium ownership or otherwise
            conveying or encumbering all or part of the Partnership Property in furtherance of any and all of the
            objectives of the Partnership business, but only in compliance with the IN Act;

            (d) assisting in enabling no more than two hundred twenty (220) qualified foreign investors at any
            one time (each a "Qualified Investor") to make qualifying "at risk" investments in a commercial
            enterprise (each a "Qualifying Investment"), which, though not restricted to such investments, is
            intended to also meet the requirements under 8 U.S.C.§ 1153(b)(5)(A) -(D); INA § 203(b)(5)(A) -(0)
            of the Immigration & Nationality Act (the "IN Act") and qualify under this program (the "EB-5
            Program") as an "Alien Entrepreneur", as more fully described in the JAY PEAK BIOMEDICAL
            RESEARCH PARK L.P. Private Offering Memorandum,a copy of which has'been distributed to each
            Limited Partner in connection with The offering of Limited Partnership Interests hereunder (the
            "Offering") and each Limited Partner acknowledges receiving (the "Confidential Memorandum"); and

            (e) as to those Qualified Investors who are not United States' citizens or lawful permanent residents
            of the United States (each an "EB-5 Investor" and collectively, the "EB-5 Investors", using its
            reasonable best efforts to assist independent legal counsel acting for EB-5 Investors with the filing of
            each of the EB-5 Investors' petitions with USCIS, and of verifying required direct and indirect
            employment until removal of each of the EB-5 Investors' conditions to obtaining permanent residency.

            Section 2.07. Partnership Term and Dissolution.
            The Partnership shall continue in full force and effect until December 31, 2061 unless sooner
            terminated in accordance with Article XII. Upon termination of the Partnership, the General Partner
            shall take all actions necessary to terminate the Partnership in accordance with requirements of this
            Agreement and the Act.

            Section 2.08. Filing of Certificate.
            If not already done, the General Partner shall cause the Certificate to be filed with the State in
            accordance with the Act immediately after the execution of this Agreement by the Partners.


                                 ARTICLE III - Partnership interests and Sources of Funds

            Section 3.01. Identity of Partners and Interests.
            The names and business addresses of the General Partner and the Limited Partners are as identified
            on Exhibit A, as such Exhibit may be amended from time to time in accordance with this Agreement,
            and each such Partner has the Interest indicated next to its name on Exhibit A. The failure of the
            General Partner to periodically amend Exhibit A and list each new Limited Partner, however, shall not
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             act to limit or detract in any way from each Limited Partner being considered a Limited Partner once
             its Capital Contribution is made.

             Section 3.02. Capital Contributions.

            (a) General Partner. Subject to the provisions of this Section, the General Partner shall be obligated
            to (and does hereby covenant and agree to) contribute to the capital of the Partnership the cash or
             property set forth after the General Partner's name on Exhibit A. The General Partner shall be
            obligated or permitted to make additional Capital Contributions to the Partnership only in accordance
            with this Agreement. The General Partner at its sole option may make additional voluntary Capital
            Contributions to the Partnership at any time. A portion of the General Partner's Capital Contribution
            may arise from loan proceeds borrowed to fund construction costs in excess of the Partnership's
            equity capital, using the Project as security for the loan (the 'Secured Debt'). To the extent Secured
            Debt proceeds cause the Partnership's capital to increase, each Partner's interest in the Partnership
            shall be recalculated as a percentage of the sum of the Secured Debt proceeds plus existing General
            and Limited Partner equity Capital Contributions. The Limited Partners hereby acknowledge, consent
            and approve of the General Partner granting one or more security interests encumbering alt or
            portions of the Partnership Property, including the Partnership's interest in the Land and Clean Room
            Facility The General Partner shall be responsible for repaying the Secured Debt according to its
            terms from the General.Partner's allocation of Available Cash Flow and net proceeds from a Capital
            Transaction, from the sums distributed to the General Partner upon dissolution of the Partnership,
            and/or from the General Partner's own funds. In addition, the General Partner intends to use Capital
            Contributions invested into the Partnership by newly admitted Limited Partners to pay down the
            principal balance of the Secured Debt, if any. The Limited Partners shall have no obligation or liability
            for retiring the Secured Debt and at no time shad any Limited Partner who is also a Qualified Investor
            have its Capital Contribution reduced or repaid in cash with Partnership funds until such time as all 1-
            829 petitions filed under the EB-5 Program for the Qualified Investors have been adjudicated by
            USCIS, with any appeals having been decided.

                    (b) Limited Partner. Subject to the provisions of this Section, each Limited Partner shall be
            obligated to (and does hereby covenant and agree to) contribute to the capital of the Partnership, by
            wire transfer or other form of available funds, the aggregate amount set forth herein. The subscription
            amount of each Limited Partner shall equal $550,000 in cash (the "Subscription Amount"), of which
            $500,000 shall be applied as a Capital Contribution to the Project as investor funds (also referred to
            as the 'Investment") and $50,000 will be paid outright to AnC Bio VT to be applied in its sole
            discretion to cover administration and other expenses it has incurred in the development of the
            Project, the preparation and distribution of the Confidential Memorandum, including but not limited to
            accounting and legal fees, and miscellaneous expenses(collectively, the "Administration Fees").

                     As further set forth in the Confidential Memorandum, if an investor chooses to reserve an
            interest in the Limited Partnership by making an escrow deposit of at least $10,000 into an escrow
            account (the "Escrow Account") to be opened with Peoples United Bank in Burlington, Vermont (the
            "Escrow Agent"), subject to the terms of an Investor Escrow Agreement which the Investor will need
            to execute, the Limited Partner making the deposit shall have thirty (30) days to conduct his due
            diligence, and an additional forty-five (45) days thereafter to complete his investment into the Project
            by paying the rest of the Subscription Amount into the Escrow Account, which time periods may be
            extended by the General Partner at its sole discretion.

                    The Limited Partner shall not be obligated to make any additional Capital Contributions to the
            Partnership. All required Capital Contributions shall be subject to any applicable adjustments if
            otherwise permitted by this Agreement. Investment as a Limited Partner is available as a means of
            financing the installation of necessary infrastructure at the Project, and the planning, acquisition of
            control or ownership of necessary land and equipment, and construction and start-up of the Clean

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                                                                           limited, to investors who seek lawful
            Room Facility. This investment may be beneficial, but is not
            permanent residence   pursuant to the EB-5 Program  under the  IN Act, as more fully described in the
            Confidential Memorandum. There are other     requirements  of the  EB-5 Program and other relevant
            immigration laws  which  the investor  must observe  or risk denial  of lawful permanent residence
            pursuant to the EB-5 Program.
                                                                                                 Interest by completing
                    Investors shall begin the process to purchase a Limited Partnership
                               procedure   mandated   by  the  Partnership,   including  (i) completing     the required
            the subscription                                                                    rnaking  payment   of the
                                                            consent  to this  Agreement,   (ii)
            subscription agreements, including signing a
                              the  Investment, over and above   any funds   paid  to reserve  an  interest in the Limited
            balance owed of
                                                                                        the Administration Fees into a
            Partnership under the Investor Escrow Agreement, and (iii) depositing
                        Administration   Fees account.  Upon   acceptance    by the  General Partner (the "Admission
            designated
                                                                                        the Partnership(at which time
            Date'), closing shall occur and the investor will be issued an Interest in
                                        again  be deemed    to confirm  its acceptance    of all of the provisions and
            each Limited Partner wilt
                                                            Investment  will be  final and  irrevocable, subject to the
            terms in this Agreement) and the investors
            terms hereof.
                                                                                                of a Limited Partner's 1-526
                      In the event the General Partner receives official notice of denial
                                                   fraud   or  material   misrepresentation    of  the investor, the Limited
             Petition, other than based on the                                                       within ninety (90) days
                                                          arrange    to  pay back   the Investment
             Partnership or the General Partner shall
                        request  by  the limited Partner  and   the  Interest  of such  Limited  Partner shall automatically
             of written
                                                                                       such Limited Partner to take such
             be terminated upon such repayment without the necessity for
                                                                             Partner   must  provide a copy of the notice of
             steps as are required under Section 10.01. The Limited                                 and the limited Partner
                                  General   Partner to facilitate the   return  of his Investment
             such denial to the                                                                       by the Limited Partner
                                                              with  copies  of all notices  received
             also agrees to provide the General Partner
                              with  his  1-526 and  any   other    petition  filed  on  his  behalf in connection with his
             in connection                                                                              solely to the return of
             Investment into the Project. The Limited Partner's rights in this case are limited
                                                                            returned,  the  Limited  Partner   shall no longer
             the $500,000 Investment and once the investment is                                             participate in any
                                             benefits of  ownership     of an   Interest or  any  right  to
             have any of the rights and
             manner whatsoever in the affairs of the Partnership.
                                                                                  Confidential Memorandum and becoming
                       Upon subscribing to the Offering as set forth in the
             a Limited Partner, it is at the sole responsibility and        risk  of each EB-5 Investor to file their 1-526
             petition, which each   EB-5   Investor agrees  to file within   ninety   (90) days of subscribing. There is no
             refund of the Investment or the     Administration  Fees    for  failure   to file, for whatever reason, an EB-5
                                                                                                          In addition to the time
             Investor's 1-526 petition, adjustment of status application or 1-829 petition.
                                                   Investor on  the  filing of  his 1-526    petition, the  EB-5 Investor agrees
             requirement imposed on the EB-5
                                                               reasonable      period    of time   of when    he is eligible to file
             to file all applications and petitions within a                                Confidential    Memorandum, it may
             such application   or petition. In addition, as and   as  set  forth  in  the
                                                                                                they are entitled to in the event
             be beneficial for EB-5 Investors to file their 1-829 petitions as soon as                 Project are preserved or
             less than all of the jobs projected to be preserved and created by the
                                                allocated with  preference      first  to those    EB-5   Investors whose 1-829
             created, as such jobs will be                                                                  permanent admission
             petitions are approved, then to those EB-5 Investors        who    have    obtained    lawful
             to the United States.
                                                                                        EB-5 Program and further
                     If the regional center pilot program, created in support of the
                                             Memorandum     (the "Pilot Program"), lapses, for each E8-5 investor
             described in the Confidential
                                                                 adjudicated  on or before the date of lapse, their
             whose 1-526 petition is filed with USCIS but not
             $500,000 Investment   shall remain invested in the Partnership provided:

                                                                                            reauthorization within a
                       1.    the Pilot Program is reauthorized retroactively or is pending
                                                     lapse, and the EB-5 Investor's  1-526 petition is in due course
             twelve (12) month period following its
             adjudicated: or
                                                                                                             benefits
                       2.    legislation is enacted or pending providing substantially similar immigration
                                   under   the lapsed Pilot Program and the  EB-5  Program    within a  twelve month
             to EB-5 Investors as
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                                                                                                         course
            period following the Pilot Program's lapse, and the EB-5 Investor's 1-526 petition is in due
            adjudicated.

                  If neither of the events described under 1 and 2 above occur, or are pending as stated, the EB-5
                                                                                                                  his
            Investor at his option may either remain invested in the Project or request in writing a refund of
            Investment of $500,000. Upon receipt of a request of refund to the General Partner, the Investment
                                                                                                               ninety
            will be refunded to the requesting EB-5 Investor by the Limited Partnership within a period of
                                         such  request, and the EB-5 investor's Interest as a  Limited  Partner shall
            (90) days from receipt of
            automatically be terminated as set forth above with respect to the termination of a Limited Partner's
            Interest. The EB-5 Investor's rights upon termination of his Interest are limited solely to the return of
            their Investment of $500,000.

                  Notwithstanding anything herein to the contrary, in the event that the General' Partner or its
            Affiliate invests funds or makes financial commitments to complete the Project, the General Partner or
            Affiliate will be issued the remaining unsold Interests in the Partnership for no additional consideration
                                                                                                                  unsold
            and thereafter hold its Interest(s) subject to the terms of this Agreement. if there are no
            Interests in the    Partnership, the Partnership  will create   a   new  class of Limited  Partner  Interests
            allocable only to the General Partner or its Affiliate after it funds the completion of the Project, and
            such GP Limited Interests will be issued in consideration of the General Partner or its Affiliate
                                                                                                                       its
            investing funds to complete the Project, in a number sufficient to reimburse the General Partner or
            Affiliate, and  thereafter the General Partner or its Affiliate will hold its GP Limited Interests subject  to
            the terms of this Agreement.

            Section 3.03 Interest on Capital Contributions
            No interest shall be paid to a Partner on Capital Contributions. Interest will be credited by the
            Partnership to a Partner on the sum of any deemed distributions charged to such Partner's Capital
            Account from obligations owed to the Partnership by a General Partner arising under section 5.03(b)
            concerning federal income tax withholding. The interest charged will be computed on a calendar year
            compounded basis at a rate equal to two percent above the rate of interest from time to time
            announced by Peoples United Bank to be its "prime rate' or "base rate, such interest to be collected
                                                                                                                of
            by reduction of any distributions payable to the Partnership immediately following the calculation
            the years interest by the General Partner. To the extent that there are no distributions against the
            interest that can be applied, then the interest will be charged to the Partner's Capital Account. This
            section 3.03(a) will survive the termination ofa Partner's status as a Partner.

             Section 3.04 Service of Secured Debt
             Payments to service the Secured Debt shall be made by the General Partner out of its share of
             Available Cash Flow, net proceeds from a Capital Transaction and sums distributed upon dissolution
             of the Partnership. For the security of the Limited Partners, the Partnership will service the Secured
                                                                                                                    share
             Debt directly out of the General Partner's share of these items including the General Partner's
             of distributions to the Partners  as set forth in section 8.01.  if amounts  required for the service  of the
             Secured Debt are in excess of the General Partner's share of these items, then the General Partner
             will timely pay such amounts from its own funds. In the event that the General Partner fails to repay
                                                                                                             option, pay
             the Secured Debt according to its terms, any or all of the Limited Partners may, at their             Limited
             the unpaid amount and the amount paid shall be converted to equity for the benefit of the
             Partners who made such      payment,  with  the effect that the Interest of the General Partner  will be pro-
             rate diluted and the Interest of the Limited Partners who paid pro-rata increased. The dilution will not
             affect the Interest of any other Limited Partner who did not make such payments.

             Section 3.05. Right to Require Repayment of Capital.
                                                                                                         of its Capital
             No Partner shall have the right to withdraw from the Partnership all or any part
             Contribution. No Partner shall have any right to demand and receive property of the Partnership in
             return for its Capital Contribution or in respect of its Interest, except as provided in this Agreement.
             No Limited Partner shall have priority over any other Limited Partner as to any retum of Capital
             Contributions or as to any distributions made by the Partnership pursuant to Article VIII.
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            Section 3.06. Deficit Restoration.
            If, upon liquidation of

            (a) the General Partner's Interest (whether or not in connection with the liquidation of the
            Partnership), the General Partner has a negative balance in its Capital Account (as determined after
            taking into account Capital Account adjustments pursuant to Section 7.01 as well as adjustments tor
            the Partnership Fiscal Year during which the liquidation of the General Partner's Interest occurs, other
            than those for contributions made pursuant to this Section), then the General Partner shall be
            required to contribute to the capital of the Partnership, immediately prior to the liquidation of its
            General Partner's Interest, the amount necessary to restore its Capital Account to zero. Such
            contributions shall be receipts of the Partnership available for payment of operating expenses and
            debts of the Partnership or distribution to the Partners, in accordance with the terms of this
            Agreement; and

            (b)the Limited Partner's Interest(whether or not in connection with the liquidation of the Partnership),
            the Limited Partner has a negative balance in its Capital Account, the Limited Partner shall have no
            obligation to make any contribution to the capital of the Partnership and the negative balance of the
            Limited Partner's Capital Account shall not be considered a debt owed by the Limited Partner to the
            Partnership or any other Person for any reason whatsoever.

             Section 3.07. No Third-Party Beneficiary.
                       None of the provisions of this Agreement shall be construed as existing for the benefit of
             any creditor of the Partnership or for the benefit of any creditor of the Partners, and no provision shall
             be enforceable by a party not a Partner.


                                                ARTICLEiV - Right to Mortgage

             Section 4.01. Right to Mortgage.

            (a) In the General Partner's sole reasonable discretion and to facilitate the purposes of the
            Partnership, the General Partner may, in the name and on behalf of the Partnership, borrow money
            (including but not limited to Secured Debt) and issue evidences of indebtedness and secure the same
            by granting mortgages and security interests pledging all or any portion of the Partnership Property,
            and to pay, prepay, extend, amend or otherwise modify the terms of any such borrowing and to sign
            any documents required on behalf of the Partnership in connection with said transaction(s), without
            the consent and signatures of the Limited Partners. The Limited Partners hereby acknowledge,
            consent and approve of same transaction(s).

            (b) Except to the extent required by any lender and agreed to by the General Partner, no General
            Partner shall have any personal liability to such lender(s) or to the Partnership for the payment of all
            or any part of borrowed money or Secured Debt of the Partnership, except for customary exclusions
            for fraud, misappropriation of funds or waste.


                            ARTICLE V - Rights. Powers and Obligations of the General Partner

             Section 5.01. Authority of General Partner.

            (a) Subject to the terms of this Agreement, the General Partner shall be further responsible for the
            overall management and control of the business assets and affairs of the Partnership, and the
            General Partner shall have the right, power,and authority, acting for and on behalf of and in the name
            of the Partnership, to:(i) execute and deliver on behalf of the Partnership any contract, agreement, or
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             other :instrument or document required or otherwise appropriate to acquire, construct, lease, operate,
             encumber, mortgage or refinance the Partnership Property (or any part thereof), including without
             limitation the Purchase Agreement and the JV Agreement; (ii) convey Partnership Property by deed,
             mortgage, certificate, bill of sale, agreement, or otherwise, as appropriate; (iii) bring, compromise,
             settle, and defend actions at law or in equity; (iv) delegate its authority, power, and right to manage
             the Partnership Property provided, however, that any such delegation shall not relieve the General
             Partner of its obligations and responsibilities to ensure the proper management of the Partnership
             Property unless it finds a suitable replacement General Partner as governed by Section 9.01; and (v)
             use Partnership funds in performance of its rights, duties and powers, and reimburse itself for its
             incurred costs to exercise its rights and perform its duties; (vi) set up various accounts, reserves and
             other financial facilities to further the business objectives of the Project; and (vii) subject the Land and
             Buildings to condominium ownership in its sole reasonable discretion.

             (b)The General Partner shall

             (i)     cause the Partnership to do all things necessary to maintain its status as a limited partnership
             in good standing and to enable the Partnership to engage in its business;

             (ii)    not act in any manner that will cause the Partnership to fail to qualify as a limited partnership
             under the Act, or the Limited Partner to be Gable for Partnership obligations;

             (iii)   cause the Partnership to take all commercially reasonable actions under the laws of the State
             and any other applicable jurisdiction that are necessary to protect the limited liability of the Limited
             Partner under the Act,

            (iv)     during and after the period in which it is a Partner, provide the Partnership with such
            information and sign such documents as are reasonably necessary for the Partnership to make
            timely, accurate and complete submissions of federal and state income tax returns;

            (v)     fumish to counsel for the Limited Partner promptly as and when requested in connection with
            the rendering of any legal opinion concerning federal income tax relating to the Limited Partner's
            investment in the Partnership all documents reasonably requested by counsel for the Limited Partner;

            (vi)     promptly inform the Limited Partner of any litigation, action, investigation, event, or
            proceeding that is pending which, if adversely resolved, would have a material adverse effect on the
            Partnership or the Partnership Property; have a material adverse effect on the ability of the General
            Partner to perform its obligations under this Agreement; or have a material adverse effect on the
            financial condition of the General Partner;

            (vii)   promptly inform the Limited Partner if it receives notice of any violation with respect to the
            Partnership Property of any law, rule, regulation, order, or decree of any governmental authority
            having jurisdiction, which would have a material adverse effect on the Partnership Property or the
            use, occupancy, or operation thereof;

            (viii)   negotiate and enter into the JV Agreement with the Joint Venturer to create and own the Joint
            Venture Entity to operate the Clean Room Facility, in compliance with alt applicable federal, state and
            local governmental regulations, ordinances, laws and rules, and this Agreement;

            (ix)     cause the Partnership to maintain necessary insurance against risks that are of a character
            usually insured by Persons engaged in a similar business and in form and amount and covering such
            risks as is usually carried by such Persons;

            (x)     take all actions necessary to ensure that the Partnership Property contains no, and is not
            affected by the presence of, any Environmental Hazard, and to ensure that the Partnership Property
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            is not in violation of any federal, or local statute, law, regulation, rule, or ordinance. It shall promptly
            deliver to the Limited Partner a copy of any notice received from any source whatsoever of the
            existence of any Environmental Hazard on the Partnership Property or of a violation of any federal,
            state, or local statute law, regulation, rule or ordinance, including any Environmental Law with respect
            to the Partnership Property. If any Environmental Hazard is found to exist or be present, it shall
            commence promptly the taking of action to assure it will be either removed from the Partnership
            Property and disposed of or encapsulated and/or otherwise corrected, contained and made safe and
            inaccessible, all in strict accordance with federal, state and local statutes, laws, regulations, rules and
            ordinances;

            (xi)    investigate and report to the Limited Partner any bona fide proposal or offer of any Person,
            including any Partner, to acquire the Partnership Property or any part thereof;

            (xii)  set up one or more reserve fund accounts with Partnership funds and disburse funds from
            such accounts in an amount sufficient, so far as it is able, to meet the obligations of the Partnership;

            (xiii)   identify additional Limited Partners and provide information on the Project and the
            Partnership to them, but in no case will the General Partner give advice on investment into the
            Project;

            (xiv) perform services in connection with the development of the Clean Room Facility. Further
            services of the General Partner shall include, but not be limited to, act on behalf of the Partnership
            with federal, state and local authorities with respect to the Project; monitor compliance with zoning,
            land use and other requirements; and prepare or cause to be prepared such third party studies as it
            deems necessary in connection with the acquisition, sale and leasing of the Partnership Property and
            construction of the Clean Room Facility and other necessary improvements on the Partnership
            Property;

            (xv)    deal with and, if appropriate, use Partnership funds to purchase or otherwise redeem a
            Limited Partner Interest that is the subject of an insolvency or bankruptcy proceeding;

            (xvi) directly or through its designee or in concert with a third party, including without Limitation
            AnC Bio VT,oversee construction of the Clean Room Facility and any other improvements;

            (xvii) to landscape the property adjoining the Clean Room Facility and contribute Partnership funds
            to the costs thereof;

            (xviii) Expenses: The Partnership shall promptly pay all costs and expenses of the Project which
            may Include, but is not limited to:

                       1)      Printing and all other expenses incurred in connection with insurance, distribution,
            transfer, registration and recording documents evidencing ownership of an interest in the Partnership
            in connection and with the business of the Partnership.
                       2) Fees and expenses paid to contractors, bankers for financing facilities, brokers and
            services, leasing agents, consultants, on site managers, real estate brokers, insurance brokers and
            other agents, including Affiliates of the Partnership, or any General Partner or its officers,
                       3) Expenses in connection with the acquisition, preparation, improvement, development,
            disposition, replacement, alteration, repair, remodeling, refurbishment, leasing, renting, costs of
            insurance, financing and refinancing of Partnership Property.
                       4)     All costs of personnel directly employed by the Partnership or performing services for
            the Partnership.
                       5) All costs of borrowed money (except the Secured Debt) including repayment of
            advances to the Partnership made by a Partner, which shall be paid monthly, Interest only at a rate
            equal to two percent above the rate of interest from time to time announced by Peoples United Bank
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                                                                  in one lump sum five years after the date of the initial
            to be its "prime rate" or "base rate", and repaid
            advance.
                                                                                   fees including expenses of organizing,
                       6) Legal, audit, accounting, brokerage and other         Partnership.
                                                              terminating   the
            revising, amending, converting, modifying or                                              Partnership to, the
                        7)    Expenses in connection with distributions made by the                            with, Limited
                                                         clerical  work  necessary   in maintaining  relations
            communications and book keeping and
            Partners.
                                                                            and mailing reports required to be furnished
                        8) Expenses in connection with preparing
                                                                        purposes     which the General Partner deems
            to Partners for required tax reporting or other                       including  any examination or audits by
            appropriate, cost incurred in connection with any litigation,                   of  informational material and
                                                      preparation     and  dissemination
            regulatory agencies, and costs of                                 disposition of  Partnership Property;
            documentation relating potential sale, refinancing or other
                                                                  the Partnership, either directly or by an Affiliate, such
            (xix) loan, or otherwise contribute equity to
             funds as are necessary to     complete   the   Project  in the event the funds of the Partnership, after all
                                                       Qualified   Investors  have been sold, are insufficient to complete
             Limited Partner Interests available for
                                                                          Partner or an Affiliate be a personal liability or
             the Project, but in no event will a loan by the GeneralPartner or Affiliate shall have no recourse to
             obligation of any Limited Partner, and       the  General
             recoup such a loan against any Limited Partner; and
                                                                                Interests to all Limited Partners, including
            (xx)      issue certificates representing Limited Partnership
                                               if applicable,  and   take such   other steps if required to evidence or set
             Class A and Class f3 Interests
                                                         Partnership.
             up different classes of ownership in the
                                                                  Partner, and for any services already performed as set
             In consideration for agreeing to act as General
                                                                     received its Interest, and will not be compensated in
             forth in this Agreement, the General Partner has
                                                              foregoing,    the General Partner may not receive any
             any additional way. Without limiting the
             compensation for any        advice   or  representations      made    to any Limited Partner, the General
                                                                         Limited   Partners for the purpose of inducing
              Partner expressly disavows giving any advice to                       otherwise,and each Limited Partner
                                                       Limited    Partnership    or
             them to invest into the Project and
                                                                    acknowledges      that no advice or representations
              by executing the consent to the Agreement                                   its behalf tor the purpose of
                                                       Partner     or  any   person   on
              have been made by the General                                                or otherwise.
                                                                             Partnership
              inducing there to invest into the Project and Limited
                                                                 Limited Partner is required as set forth in Section
             (c) Except for matters for which Consent of the
             5.02(b), all decisions made for and on     behalf of  the Partnership by the General Partner shall be
                                                                   otherwise set forth In this Agreement, the General
             binding upon the Partnership. Except as expressly
                                                           on  behalf  of the Partnership), in extension and not in
             Partner (acting for and in the name and
                                                                            other provisions of this Agreement, shall,
             limitation of the rights and powers given it by law or by the
                                                              right, power  and authority, in the management of the
             in its sole discretion, have the full and entire                and things necessary, proper, ordinary,
              Partnership's day-to-day business, to do any and alt acts
                                                                  and  to conduct the business of the Partnership.
              customary or advisable to effectuate the purposes
                                                                      General Partner.
             Section 5.02. Limitations on the Authority of the
                                                                   Agreement, the General Partner shall have no
             (a) Notwithstanding any other provision of this
                                                                          taw or regulations; to do any act required to
             authority to perform any act in violation of any applicable
                                                                     the Limited   Partner under the Act or under this
              be approved, consented to, voted on, or ratified by                    has been obtained; to cause the
                                       approval,   vote,  consent,  or ratification
             Agreement unless such                                                     Section 2.06; or do any act that
                                                                        set forth   in
              Partnership to engage in any business other than as
                                                    the  business of the Partnership    as contemplated herein.
              would make it Impossible to carry out
                                                                 Partner is required before the General Partner may.
             (b) In addition, the prior Consent of the Limited


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            (i)     sell, mortgage or convey all or any substantial portion of the Partnership Property, other than
            (a)the entering into the JV Agreement to operate the Clean Room Facility or subjecting the Land and
            Clean Room Facility to condominium ownership or(b)as otherwise set forth in Section 3.02(e) or
            Section 4.01(a);

            (ii)    acquire any real property in addition to the Partnership Property (other than land, easements,
            rights of way or similar rights required by govemmental rule or regulations, or necessary or
            convenient for the development of the Partnership Property, including without limitation the leasing of
            the Clean Room Facility);

            (iii)    voluntarily file a bankruptcy petition on behalt of the Partnership;

            (iv)     dissolve or wind up the Partnership except as set forth in Article 12;

            (v)      confess any judgment;

            (vi)     modify or amend this Agreement except as expressly provided in this Agreement;

            (vii)    admit any Person as a Partner, except as otherwise provided in this Agreement;

            (viii)   borrow from the Partnership or commingle Partnership funds with the funds of any Person; or

            (ix)     receive any rebates or give-ups or participate in any reciprocal business relationships in
                     circumvention of this Agreement.

            (c) In addition, the General Partner may be replaced by the Limited Partner pursuant to Section 9.02.

            Section 5.03. Tax Matters Partner.

            (a)       AnC BIO Vermont GP Services, LLC, in its capacity as General Partner, is hereby designated
            as the tax matters partner and shall maintain the books and records of the Partnership, and shall be
            responsible, on a timely basis, for (1) preparing all required tax returns and related information, (ii)
            making all tax elections, if appropriate, and (iii) preparing all financial information, all in accordance
            with this Agreement. It shall keep the Partners informed of all administrative and judicial proceedings,
            shall furnish to each Partner (within five days after receipt) a copy of each notice or other
            communication received by it from the IRS, and shall not respond to any notice or other
            communication from the IRS which questions or challenges any item which has been or may be
            reported on a Partnership tax return until after notice of the proposed response is given to the Limited
            Partner. It shall have no authority, without the Consent of the Limited Partner, to (i) enter Into a
            settlement agreement with the IRS which purports to bind Partners other than the General Partner, (ii)
            file a petition as contemplated in Section 6226(a) or 6228 of the Code, (iii) intervene in any action as
            contemplated in Section 6226(b) of the Code,(iv) file any request contemplated in Section 6227(b) of
            the Code,(v) enter into an agreement extending the period of limitations as contemplated in Section
            6229(b)(1)(B) of the Code, (vi) to file any tax related litigation in a court other than the United States
            Tax Court, or (vii) submit any report to the IRS.

            (b)      Federal Income Tax Withholding: In the event any of the Partners are subject to federal
            income tax withholding, the General Partner is authorized to withhold any sums required by the
            Internal Revenue Code even if such withholding conflicts with any of the terms and conditions of this
            Agreement or otherwise affects distributions, allocations or payments to the Partners. In the event
            that the General Partner learns of withholding obligations subsequent to the distribution to which the
            withholding obligations relate, the General Partner will issue an invoice to the Partner. If the invoice is
            not paid within sixty (60) days, the General Partner will charge the amount against the Partner's
            Capital Account. This section will survive the termination of a Partner's status as a Partner.
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             Section 5.04. Outside Activities.
             The General Partner shall devote to the management of the business of the Partnership so much of
             its time as it deems reasonably necessary in order to comply with this Agreement. The General
             Partner and its Affiliates, and their officers, directors, agents, employees, representatives, attorneys,
             accountants and other persons operating on its behalf, may engage in and possess any interest in
             other business ventures (including limited partnerships) of every kind, nature, and description
             whatsoever, independently or with others, whether existing at the date hereofor hereafter coming into
             existence, including, without limitation, acting as general partner or limited partner of other
             partnerships that own, directly or through interests in other partnerships, projects similar to, or in
             competition with, the Clean Room Facility. Neither the Partnership nor the Partners shall have any
             rights by virtue of this Agreement in or to such other business ventures or to the income or profits
             derived therefrom and nothing shall be construed to render them partners in any such business
             ventures.

            Section 5.05. Liability to Partnership and Limited Partner.
            The General Partner, and its Affiliates, and their officers, directors, agents, employees,
            representatives, attorneys, accountants and other persons operating on its behalf shall not be liable,
            responsible, or accountable in damages or otherwise (including attorneys fees and expenses) to the
            Limited Partner or to the Partnership for any acts performed in good faith and within the scope of
            authority of the General Partner, or its Affiliates if any of the General Partner's duties have been
            contractually delegated to them, pursuant to this Agreement.

            Section 5.06. Indemnification of General Partner.
            (a) To the maximum extent permitted by law, the Partnership shall indemnify, defend, and hold
            harmless each General Partner and its Affiliates, and their officers, directors, agents, employees,
            representatives, attorneys, accountants, consultants and other persons operating on its behalf from
            and against any loss, liability, damage, cost, or expense (including reasonable attorney's fees)arising
            out of or alleged to arise out of any demands, claims, suits, actions, or proceedings against the
            General Partner, by reason of any act or omission performed by it (including its employees and
            agents) while acting in good faith on behalf of the Partnership and within the scope of the authority of
            the General Partner pursuant to this Agreement, and any amount expended in any settlement of any
            such claim of liability, loss, or damage; provided, however, that (1) the General Partner must have in
            good faith believed that such action was in the best interests of the Partnership, and such course of
            action or inaction must not have constituted breach of its fiduciary duty; and (ii) any such
            indemnification shall be recoverable from the assets of the Partnership, not from the assets of the
            Limited Partner, and no Partner shall be personally liable therefore. This indemnity shall be operative
            only in the context of third-party suits, and not in connection with demands, claims, suits, actions or
            proceedings initiated by any Partner or any Affiliate thereof against another Partner. In no event,
            however, shall a Limited Partner bung suit against the General Partner, or recover damages from the
            General Partner, in an amount that exceeds the amount invested by the Limited Partner in the
            Partnership.

            (b) Notwithstanding anything contained in this Section, the General Partner shall not be indemnified
            or saved harriess from any liability, loss, damage, cost, or expense incurred by it in connection with:
            (i) any civil or criminal fines or penalties imposed by law; (ii) any claim or settlement involving the
            allegation that federal or state securities laws were violated by the General Partner or the
            Partnership, except as to a claim asserted by the Limited Partner; or (iii) any claim involving breach of
            a fiduciary duty, unless (A)the General Partner is successful in defending such action on the merits,
            or(B) such claims have been dismissed in favor of the General Partner with prejudice on the merits
            by a court of competent jurisdiction, or(C) a court of competent jurisdiction approves a settlement
            and determines that the General Partner is entitled to costs.

            (c) The General Partner, when entitled to indemnification pursuant to this Section, shall be entitled to
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                                                                                            costs of defending any
            receive, upon application therefore, reasonable advances to cover the
            proceedings against it but only if (i) the action relates to the performance of the duties or services by
                                                                                                               who is
            the General Partner on behalf of the Partnership;(ii) the action is commenced by a third party
                                                                                                            repay the
            not a Partner or Affiliate thereof; and (it) the General Partner covenants in advance to
                                                                                                     determined that
            advance of funds to the Partnership in accordance with this Section in the event it is
                                                                                                  General Partner to
            the General Partner is not entitled to indemnification hereunder. All rights of the
                                                                                                           retirement,
            indemnification shall survive the dissolution of the Partnership and the death,
            incompetency, insolvency, bankruptcy, or withdrawal of the General Partner.

             Section 5.07. Dealing with Affiliates: Fees.
                                                                                                    into agreements or
             The General Partner may, in the name and on behalf of the Partnership, enter
                                           services  for the. Partnership with an  Affiliate or designee of the General
             contracts for performance of
             Partner, including without limitation services necessary to oversee construction of the Clean Room
                                                                                                    Partnership to pay
             Facility and other improvements, and the General Partner may obligate the
                                                                                                                   shall
             compensation for and on account of any such services; provided, however, such compensation
                                Partnership  not in excess  of  those disclosed in  the Confidential Memorandum,     but
             be at costs to the
                                                                                                                funds to
             such limitation on costs shall not prevent the General Partner, if necessary, from advancing
             complete the Project and being reimbursed with the grant of GP Limited Interests.

                                  ARTICLE VI - Riohts and Obligations of the Limited Partner

             Section 6.01. Management of the Partnership.
             To the full extent permitted by the Act and without being deemed a general partner, each Limited
                                                                                                           suggestions
             Partner shall participate in the management of the business of the Partnership by making
                                            General   Partner  on  issues   of policy important to the  Partnership, by
             or recommendations to the
                                                                                                     otherwise set forth
             participating in one or more of the activities set forth in 11 V.S.A., §3423(b), and as
                                                                                                              authority,
             in Section 5.02(b) and Section 9.02. The Limited Partner shall not have the power or
                                                                                                                 of the
             however, to bind the Partnership or to sign any agreement or document in the name
             Partnership.

             Section 6.02. Limitation on Liability of the Limited Partner.
                                                                                                                       shall be
             Notwithstanding any other provision of this Agreement, the liability of the Limited Partner
                        its Capital  Contributions  at any  given lime as and  when     payable   under  the provisions  of this
             limited to
                                                                       other liability  to contribute money    to or in respect
             Agreement. The Limited Partner shall not have any
                                                                                                           Limited Partner be
             of the liabilities, obligations, debts or contracts of the Partnership, nor shall the
             personally liable for any liabilities, obligations, debts or contracts    of the  Partnership.  A Limited Partner
                       liable to  the Partnership  only  to make   payment  of its  Capital   Contribution  as  and when due
             shall be
                                                                    paid, no Limited     Partner  shall, except   as otherwise
             and, after its Capital Contribution shall be fully
             required by the Act, be required to make any further Capital Contributions or lend any funds to the
             Partnership.

             Section 6.03. Outside Activities.
                                                                                                                    the
             Nothing herein contained in this Agreement shall be construed to constitute the Limited Partner
                                                or to limit in any manner  the Limited Partner in the carrying on of its
             agent of any other Partner hereof
                                                                                                  any interest in other
             own businesses or activities. The Limited Partner may engage in and possess
             business ventures (including limited partnerships) of every kind, nature and description,
             independently or with others, whether existing as of the date hereof or hereafter coming into
                                                                                                                  other
             existence, including, without limitation, acting as general partner or limited partner of
             partnerships which own, directly or through interests in other partnerships and projects similar to, or in
             competition with, the Project Neither the Partnership nor any of the Partners shall have any rights by
                                                                                                                derived
             virtue of this Agreement in or to any such other business ventures or to the income or profits
                                                            render  them partners in any such business   ventures.
             therefrom and nothing shall be construed to


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            Section 6.04. Inspection of the Project.
            The Limited Partner and/or its agent or designee shall have the right to inspect the Project upon
            reasonable notice to the General Partner and the General Partner shall provide all reasonable
            assistance to the Limited Partner in such effort.

            Section 6.05. Representations.
            The Limited Partners who are Qualified Investors each represent, warrant, and covenant to the
            Partnership and the General Partner, in addition to all other representations as are contained in this
            Agreement, as follows:

            (a) He is an "accredited investor" within the meaning of the definition in Rule 501(a), promulgated
            under the Securities Act of 1933(the "Securities Act");

            (b) He is responsible for obtaining his own advice regarding the Investment, including without
            limitation income tax advice, can bear the economic risk of his Investment, and has such knowledge
            and experience in financial and business matters that he is capable of evaluating the merits and risks
            of the Investment in an Interest in the Partnership;

            (c) He is acquiring his Interest in the Partnership for investment for his own account, and not as a
            nominee or agent, and not with a view to the resale or distribution of any part thereof, and that he has
            no present intention to sell, grant any participation in, or otherwise distribute the same;

            (d) None of the Interests in the Partnership have been registered under the Securities Act or any
            applicable state securities laws on the basis that the sale provided for in this Agreement and the
            issuance of the Interests hereunder are exempt from registration under the Securities Act and any
            applicable state securities laws;

            (e) He has received and reviewed, and understands and Is fully satisfied with, all of the information
            and documentation he considers necessary or appropriate when deciding whether to purchase an
            Interest in the Partnership, including but not limited to the Confidential Memorandum, all exhibits
            thereto and all financial information disclosed therein or under this Agreement; has had the
            opportunity to ask questions and receive answers from the General Partner and the Partnership
            regarding the terms and conditions of the purchase of an Interest in the Partnership and the business,
            properties, prospects, and financial condition of the Partnership; and has had the opportunity to
            review the books and records of the Partnership and to obtain additional information (to the extent the
            Partnership possessed such information or could acquire it without unreasonable effort or expense)
            necessary to verify the accuracy of any information furnished to it or to which it had access;

            (f) Its Interest in the Partnership may not be sold, transferred, or otherwise disposed of without
            registration under the Securities Act and any applicable state securities laws or an exemption
            therefrom and compliance with this Agreement, and in the absence of an effective registration
            statement covering its Interest in the Partnership or an available exemption from registration under
            the Securities Act and any applicable state securities laws, its Interest must be held indefinitely;

            (g) Any certificate or other document evidencing a partnership interest in the Partnership shall be
            endorsed with a legend substantially in the form set forth below:

            THE INTEREST IN THE PARTNERSHIP REPRESENTED HEREBY HAS NOT BEEN
            REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, NOR UNDER THE
            VERMONT UNIFORM SECURITIES ACT (2002) OR SECURITIES LAWS OF ANY OTHER
            JURISDICTION AND MAY NOT BE SOLD, TRANSFERRED, ASSIGNED, PLEDGED, OR
            HYPOTHECATED UNLESS AND UNTIL REGISTERED UNDER SUCH ACTS, OR UNLESS THE
            PARTNERSHIP HAS RECEIVED AN OPINION OF COUNSEL OR OTHER EVIDENCE
            SATISFACTORY TO THE PARTNERSHIP AND ITS COUNSEL THAT SUCH REGISTRATION IS
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             NOT REQUIRED;

            (h) No representation, warranty or statement by it in this Agreement or in any document, certificate or
            schedule furnished or to be furnished to the General Partner pursuant hereto contains or will contain
            any untrue statement of a material fact or omits or will omit to state a material fact necessary to make
            the statements or facts contained therein not misleading; and

            (1) That nothing set forth In this Agreement constitutes a guaranty of repayment of said
            Limited Partner's Capital Contribution or can be considered a redemption agreement,and
            such Capital Contribution Is totally at risk.


                                      ARTICLE VII - Allocations of Profits and Losses

            Section 7.01. Maintenance of Capital Accounts.
            The Partnership shalt maintain a Capital Account for each Partner. Each Capital Account shall be
            maintained in accordance with Treasury Regulation Section 1.704-1 (b)(2)(iv). To each Partners
            Capital Account there shall be credited such Partner's Capital Contributions, and its distributive share
            of Net Profits and Gains and any item in the nature of income or gain allocated to such Partner
            pursuant to Section 7.02. From each Partner's Capital Account there shall be debited the amount of
            cash and the fair market value (as of the date of distribution) of any Partnership property (net of
            liabilities securing the distributed property that such Partner assumes or subject to which such
            Partner takes the distributed property) distributed to such Partner pursuant to any provision of this
            Agreement and the Partner's distributive share of Net Losses and Loss and any items in the nature of
            expenses or deductions that are allocated to the Partner pursuant to Section 7.02 and to the amounts
            charged under section 5.03(b) to such Partner. This Section is subject to the caveat that the General
            Partner or its Affiliate, if it is allocated GP Limited Interests, will not be allocated any income towards
            such GP Limited Interests.




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            Section 7.02. Profits and Losses.

            After giving effect to the special allocations set forth in Section 7.03, the Net Profits, Net Losses, Gain
            and Loss of the Partnership shall be allocated pursuant to each Limited Partner's Interest or, in the
            event of Secured Debt being assumed by the Partnership, in the same manner as their proportionate
            share of Available Cash Flow and net proceeds from a Capital Transaction, provided, however, that
            no Net Profits, Net Losses, Gain and Loss of the Partnership for any Fiscal Year shall be allocated to
            a Limited Partner to the extent such allocation would cause or increase an Adjusted Capital Account
            Deficit with respect to that Partner, and those Net Losses, Losses or Partnership deductions shall
            instead be allocated to the General Partner. Any intangible expenses including, but not limited to,
            depreciation or amortization are to be allocated in accordance with each Partner's Interest.

            Section 7.03. Special Allocations and Limitations.

            (a)      Notwithstanding the provisions of Section 7.02, Partners shall be specially allocated items of
            Partnership Net Profits, Net Losses, Gain and Loss to comply with the Code and with alt applicable
            Treasury Regulations regarding special allocations for partners of a partnership (the "Regulatory
            Allocations"). Such provisions include, but are not limited to, minimum gain chargeback requirements,
            changes in recourse and nonrecourse debts and liabilities, and elimination of Adjusted Capital
            Account Deficits. The Regulatory Allocations shall be taken into account in allocating other profits,
            losses and other items of income, gain, loss and deduction to the Partners so that, to the extent
            possible, the net amount of such allocations of profits and losses and other items shall be equal to the
            amount that would have been allocated to each Partner had the Regulatory Allocation not occurred.
            The Tax Matters Partner shall have the absolute discretion to apply the Regulatory Allocations in a
            manner consistent with this Agreement, and to make any and all determinations of special allocations
            thereunder.

            (b) The respective interest of the Partners In the Net Profits, Net Losses, Gain, and Loss or items
            thereof shall remain as set forth above unless changed by amendment to this Agreement.


                                              ARTICLE VIII Cash Distributions

            Section 8.01. Distributions of Available Cash Flow.

            Available Cash Flow shall be distributed by the General Partner to and among the Partners and for
            the purposes below, within thirty(30)days afterthe close of each calendar month, as follows:

            (a)first, to the repayment or part thereof of any remaining unpaid loans made by the General Partner
            or its Affiliates or third party interests to the Partnership;

            (b) second, to the payment of any debts owed to the Limited Partners; and

            (c) the balance to the Partners according to their Interests.

            Notwithstanding the foregoing, it will be up to the General Partner in its sole discretion and if in the
            best interest of the Partnership to make any distributions. Distributions can only be made monthly, or
            such extended period of time, as the General Partner, in its sole discretion, may deem appropriate
            from the accumulated balance of Available Cash Flow.

            Section 8.02. Distributions of Proceeds from Capital Transaction.

            Proceeds from a Capital Transaction (defined as the net proceeds, after all costs, expenses and
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            payments to Affiliates and any third party interests, upon liquidation of the Partnership resulting from
            the sale of the Partnership Property as set forth in Article XII), shall be distributed to and among the
            Partners in the following amounts and order of priority:

            (a) first, to .the payment of all matured debts and liabilities of the Partnership other than debts,
            liabilities and fees owed to Partners or their Affiliates;

            (b) second, to the repayment of any remaining unpaid loans from the General Partner or its Affiliates
            to the Partnership;

            (c) third, to the payment of any debts owed to the Limited Partner and their Affiliates;

            (d)fourth, to the Partners to the extent of their Adjusted Capital Account Deficits; and

            (e) last, .to the Partners (including the General Partner or its Affiliate as to GP Limited Interests if
            applicable) according to their Percentage Interests in the Partnership.

            Section 803 Deficit Capital Accounts at Liquidation

            The Limited Partners shall have no liability to the Partnership, to the General Partners or to the
            creditors of the Partnership on account of any deficit balance in their capital accounts upon liquidation
            of the Partnership, provided however that any Partner for whom any changes have been made to his
            capital account by reason of the obligations under section 3.03 and section 5.03(b) will immediately
            reimburse the Partnership upon written demand of the General Partner. This section 8.03 will survive
            the termination of the Partners' status as a Partner. A Partner must also pay any attorneys' or
            accountants' fees actually and reasonably incurred by the Partnership or a General Partner in
            collecting amounts under this provision from the Partner.

            Section 8.04 Limitation of Liability

            No Limited Partner shall have any personal liability whatsoever, whether to the Partnership, to any
            Partners or to the creditors of the Partnership, for the debts or obligations of the Partnership or any of
            Its losses beyond his Capital Contribution, to be set forth opposite his name in exhibit A attached
            hereto; provided, however, that any Partner for whom any charges have been made to his Capital
            Account by reason of the obligations described in section 8.02, section 3.03 and or section 5.03(b), is
            required to reimburse the Partnership for the amount of any negative balance in his Capital Account,
            but such reimbursement shall not exceed the sum of such Partners obligations under section 8.03
            and section 8.04. This section 8.04 will survive the termination of a Partner's status as a Partner. A
            Partner must also pay any attomeys' or accountants' fees actually and reasonably incurred by the
            Partnership or a General Partner in collecting amounts under this provision from the Partner.

            Section 8.05 Death or incapacity of Limited Partner

            The death, legal incapacity, dissolution, termination, merger, consolidation or bankruptcy (each a
            °Triggering Event") of one or more Limited Partners shall not cause dissolution of the Partnership, but
            the rights of such Limited Partner(s) to share in the profits and losses of the Partnership, to receive
            distributions from the Partnership and to assign an Interest in the Partnership shall, on the happening
            of such a Triggering Event, devolve upon such Limited Partner's executor, administrator, guardian,
            conservator or other legal representative or successor as the case may be. subject to the terms and
            conditions of this Agreement, and the Partnership shall continue as a Limited Partnership. However,
            in any such Triggering Event such legal representative or successor or any assignee of such legal
            representative or successor shall be admitted to the Partnership as a Limited Partner only in
            accordance with and pursuant to all of the terms and conditions of this Agreement.

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            Section 8.06 Recourse of Limited Partners

            Each Limited Partner shall look solely to the Project for all distributions with respect to the
            Partnership, his Capital Contribution thereto and profits and losses thereof, and shall have no
            recourse therefore upon dissolution of the Partnership or otherwise against the General Partner or
            any other Limited Partner, except to the extent of any required General Partner contributions to the
            Partnership required by Article III.

            Section 8.07 No Right to Property

            No Limited Partner shall have a right to demand or receive any distribution from the Partnership in
            any form other than cash, upon dissolution of the Partnership or otherwise, except as otherwise set
            forth in this Agreement.


                 ARTICLE IX - Admission ofSuccessor and Additional General Partners; Removal and
                                          Withdrawal of General Partner

            Section 9.01_ Voluntary Withdrawal of General Partner/Admission of Successor or Additional
            General Partners.

            (a)The General Partner shall not have any right to retire or withdraw voluntarily from the Partnership
            or to sell, transfer, or assign all or any portion of its Interest, without the Consent of the Limited
            Partner, which consent shalt not be unreasonably withheld, delayed or conditioned. In the event that
            the Consent of the Limited Partner has been obtained by the General Partner, the General Partner
            shall designate one or more persons to be its successor. In no event shall the Interests of the other
            Partners be affected thereby. The designated successor General Partner shall be admitted as such to.
            the Partnership upon approval of the Limited Partner and upon satisfying the conditions of this
            Agreement. Any voluntary withdrawal by the General Partner from the Partnership or any sale,
            transfer, or assignment by the General Partner of its Interest shall be effective only upon the
            admission of the successor General Partner in accordance with this Agreement, at which time the
            predecessor General Partner shalt no longer have any obligations or liability under this Agreement.

            (b) A successor General Partner shall, by its execution of an amendment to this Agreement and as a
            condition precedent to being admitted as a successor General Partner and to receiving any Interest in
            the Partnership or the Partnership Property, agree to be bound by this Agreement to the same extent
            and on the same terms as the predecessor General Partner.

            (c) Upon the execution of the amendment to this Agreement by the successor General Partner and
            the admission of a successor General Partner, an amendment to the Certificate shall be executed by
            the successor General Partner and filed in accordance with the Act.

            Section 9.02. Removal of General Partner/Admission of Additional General Partner Under
            Certain Circumstances.

           (a) Upon the occurrence of an Event of Default, as defined herein, the Limited Partner shall have the
           right to cause a Person to be admitted to the Partnership as an additional General Partner and to
           remove a defaulting General Partner or both. The Limited Partner shall have the right in the name of
           the General Partner to take all actions and do all things necessary or appropriate to implement and
           carry out the provisions of this Section, provided that the replacement or addition of a General Partner
           must be an Affiliate of the Initial General Partner, unless prohibited by state or federal law.

           (b) The following shall each be an Event of Default:

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                        (1) the General Partner has, in connection with the Partnership or the Project, performed
             an act or failed to perform any act constituting fraud, intentional misconduct, material breach of
             fiduciary duty, misappropriation or commingling of funds, or dishonesty;

                      (2) the General Partner has breathed any material written representation, covenant or
             warranty under this Agreement that substantially impairs the performance or purpose of the
             Partnership; or

                        (3)   an Event of Bankruptcy shall have occurred with respect to the General Partner;

             (c) If the Limited Partner elects to

                       (1) admit a Person as an additional General Partner upon the occurrence of an Event of
             Default, such admission shall occur automatically and without further action by the General Partner
             upon the giving of notice thereof by the Limited Partner to the General Partner, and each of the
             Partners hereby agrees and consents in advance to the foregoing admission. Upon the occurrence of
             such admission, any delegation of authority given to the defaulting General Partner (whether
             expressly set forth in thls Agreement or otherwise) shall be canceled and of no further force and
             effect, and instead the defaulting General Partner shall be deemed to have delegated, automatically
             and without the requirement of a writing or any other action other than as set forth above, all its
             powers and authority (including, without limitation, all right to deposit to, withdraw from and otherwise
             control all Partnership bank accounts) to the Person so designated by the Limited Partner in its
             capacity as an additional General Partner. Notwithstanding its admission to the Partnership, the
             additional General Partner may withdraw as a General Partner without the consent of any other
             Partner,

                       (2) remove the General Partner, then the Limited Partner shall have the right, without the
             consent of any of the General Partner, to designate a successor General Partner and elect to
             continue the business of the Partnership; such removal shall occur automatically and without further
             action by any Partner upon the giving of notice thereof by the Limited Partner to the General Partner.
             Upon such removal,(A) the removed General Partner shall have the obligation to sell its Partnership
             interest as General Partner to the successor General Partner or its designee for $10.00US; and (B)
             such removed General Partner shall thereafter cease to have any interest in the capital, profits,
             losses, distributions, and all other economic incidents of ownership of the Partnership.

             (d) The Limited Partner shall not have the right to exercise any remedies pursuant to this Article as a
             result of any Event of Default if the failure or violation is curable and if the General Partner shall cure
             such failure or violation within 30 days after notice.

             Section 9.03. Event of Bankruptcy of a General Partner.

             (a) The General Partner shall cease to be the General Partner upon an Event of Bankruptcy with
             respect to the General Partner, or, with the Consent of the Limited Partner, upon the occurrence of
             the General Partner's insolvency. Upon such an Event of Bankruptcy, or, with the Consent of the
             Limited Partner, such insolvency, the remaining or successor General Partner shall cause the
             Partnership to redeem the General Partner's Interest as General Partner for $10.00US and the
             General Partner shall thereafter cease to have any interest in the capital, profits, losses, distributions,
             and all other economic incidents of ownership of the Partnership.

             (b) If, at the time of an Event of Bankruptcy with respect to the General Partner, the General Partner
             is the sole General Partner, the Limited Partner shall have the right, in its sole discretion, to designate
             a successor General Partner and the Limited Partner may, within the maximum number of days
             permitted by the Act after the General Partner's ceasing to be a General Partner of the Partnership,
             elect to continue the business of the Partnership.
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             Section 9.04. Continuation of the Business of the Partnership.

            (a) If, at the time of an Event of Default, the General Partner was not the sole General Partner, the
            remaining General Partner or General Partners may elect to continue the business of the Partnership
            and shall immediately: (i) give Notice to the Limited Partner of such Event of Default and (ii)
            subject to the Consent of the Limited Partner, make any amendments to this Agreement and execute
            and, if required by the Act, file for recording any amendments or other documents or instruments
            necessary to reflect the termination of the Interest of the General Partner as and in order to comply
            with the requirements of the Act.

            (b) A Person shall be admitted as a successor or additional General Partner with the Consent of the
            Limited Partner if an amendment to the Certificate evidencing the admission of such Person as a
            General Partner shall have been filed with the Secretary of State of the State. Each General Partner
            hereby agrees to execute promptly any such amendment to the Certificate, if required, in the event of
            its withdrawal or removal pursuant to the provisions of this Article. The Limited Partner shall have the
            right in the name of the General Partner to execute any such amendment in the event of the General.
            Partner's withdrawal or removal. The election by the Limited Partner to remove any General Partner
            or admit any additional General Partner under Section 9.02 shall not limit or restrict the availability
            and use of any other remedy that the Limited Partner or any other Partner might have with respect to
            any General Partner in connection with its undertakings and responsibilities under this Agreement.

                                   ARTICLE X- Assignability of Interests of Limited Partner

            Section 10.01. Substitution and Assignment of a Limited Partner's Interest.

            (a) Other than as set forth herein, no Limited Partner shall have the right to assign, set, transfer,
            convey, encumber or pledge its Interest. In no event shall any Interest of a Limited Partner, or any
             portion thereof, be sold, transferred or assigned to a minor or incompetent, and any such attempted
            sale, transfer or assignment shall be void and ineffectual and shall not bind the Partnership or the
            General Partner. This investment may be beneficial to investors who seek lawful permanent
            residence pursuant to the EB-5 Program under the IN Act, as more fully described in the Confidential
            Memorandum. Failure of a Limited Partner desiring lawful .permanent residence to remain invested
            fully in the Limited Partnership may result in the denial of lawful permanent residence for such Limited
            Partner as an outcome of this investment. There are other requirements of the EB-5 Program which
            the interested investor must observe or risk denial of lawful permanent residence pursuant to the EB-
            5 Program, as further set forth in the Confidential Memorandum. Notwithstanding the foregoing, in the
            event a Limited Partner wants to sell his Interest back to the Partnership, the Partnership through the
            General Partner may at its sole option agree to purchase, or arrange for a purchase by an
            independent third party, such interest for the amount of the Limited Partner's Capital Contribution less
            a ten percent (10%) buy back fee, provided that the Limited Partner execute an assignment of his
            Interest to the Partnership, a general release for the benefit of the Limited Partnership, the General
            Partner and any other parties the General Partner reasonably requests, and arty other documents
            reasonably requested by the General Partner, and provided further that, in the opinion of counsel to
            the Partnership, none of the matters set forth in (b) below would impair the ability of the Partnership to
            effect such a buy back.

            (b) No assignment of the Interest of a Limited Partner shall be made if, in the opinion of counsel to the
            Partnership, such assignment (i) may not be effected without registration under the Securities Act,(ii)
            would result in the violation of any applicable state securities laws, (iii) would result in a termination of
            the Partnership under Section 708 of the Code (unless consented to by the General Partner), (iv)
            would result in the treatment of the Partnership as an association taxable as a corporation or as a
            "publicly-traded limited partnership" for tax purposes (unless consented to by the General Partner), or

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             (v) would jeopardize the ability of any other Limited Partner to qualify under the EB-5 Program to
             become a lawful permanent resident of the United States. The Partnership shall not be required to
             recognize any such assignment until the instrument conveying such interest has been delivered to the
             General Partner for recordation on the books of the Partnership and the General Partner has
             consented to the assignment under the parameters set forth herein. Unless an assignee becomes a
             substitute Limited Partner in accordance with the provisions of subsection (c), he shall not be entitled
             to any of the rights granted to a Limited Partner hereunder,other than the right to receive all or part of
             the share of the Net Profits, Net Losses, cash distributions or returns of capital to which its assignor
             would otherwise be entitled.

            (c) An assignee of the Interest of a Limited Partner, or any portion thereof, shall become a substitute
            Limited Partner entitled to all the rights of a Limited Partner if, and only if:

                    (i)      the assignor (or, if the assignor is a defaulting Limited Partner, the General Partner
             pursuant to the power of attorney granted in Section 16.09)gives the assignee such right;

                     (ii)   the assignee pays to the Partnership all costs and expenses howsoever incurred in
             connection with such substitution. including, specifically, without limitation, costs incurred In the
             review and processing of the assignment and in amending the Partnership's then current Certificate
             and/or Agreement of Limited Partnership, if required; and

                      (iii)   the assignee executes and delivers such instruments, in form and substance
             satisfactory to the General Partner, as the General. Partner in its sole discretion may deem necessary
             or desirable to effect such substitution and to confirm the agreement of the assignee to be bound by
             all the terms and provisions of this Agreement.

            (d) The Partnership and the General Partner shall be entitled to treat the record owner of any
            Partnership Interest as the absolute owner thereof In all respects. and shall incur no liability for
            distribution of cash or other property made in good faith to such owner until such time as a written
            assignment of such Interest has been received and accepted by the General Partner and recorded on
            the books of the Partnership. The General Partner may refuse to accept an assignment until the end
            of the next successive quarterly accounting period.

             Section 10.02. Withdrawal of initial Limited Partner.
             Notwithstanding the provisions of Article X, the Interest of the Initial Limited Partner shall be
             terminated and of no further force or effect upon the first admission of a Limited Partner other than
             the Initial Limited Partner. The termination of the interest of the Initial Limited Partner shall be
             automatic and require no action on its part or on the part of any other Person, and the General
             Partner shall cause to be prepared appropriate amendments to Exhibit A of this Agreement and to the
             Certificate.

             Section 10.03. Termination of Partnership

             Notwithstanding anything herein to the contrary, once alit-829 petitions filed under the EB-5 Program
             for all Qualified Investors who have invested into the Partnership have been adjudicated, with any
             appeals having been decided, the General Partner in its sole discretion shall decide if, when and how
             to disburse all funds on hand to the Partners on a pro rata basis as set forth herein, and whether,
             when and how to pursue an exit strategy to terminate the Partnership. Possible exit strategies for the
             Partnership are set forth in the Confidential Memorandum. The termination of the Partnership will be
             managed and conducted exclusively by the General Partner or its designee on terms to be
             determined by General Partner in its sole discretion in accordance with the provisions of this Limited
             Partnership Agreement, including without limitation Article XII, and applicable taw.

             Each Limited Partner acknowledges and agrees by their receipt of thls Agreement and
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            investment into the Partnership that the possible exit strategies discussed herein and In the
            Confidential Memorandum do not constitute a redemption or guaranty of a return of their
            Investment or a guaranty that their Interest will be redeemed for a set price at any certain time.


                                       ARTICLE XI - Management Compensation, Etc.

            Section 11.Ot. Management Compensation, Etc.
            Other than receiving its Interest as a General Partner herein, being reimbursed for all of its expenses
            and costs incurred related directly or indirectly to the development of the Project (including but not
            limited to permitting fees, professional fees and third party consultant fees), and receiving
            reimbursement for expenses and other costs incurred directly or indirectly by the General Partner to
            fulfill its duties hereunder, the General Partner shall not be entitled to compensation for its services
            rendered pursuant to this Agreement.

                                          ARTICLE XII - Dissolution of Partnership

            Section 12.41. Dissolution.
            The Partnership shall be dissolved, and the business of the Partnership shall be terminated in
            accordance with the Act, upon the occurrence of any of the following events:

            (a) the dissolution, liquidation, withdrawal, retirement, removal, death, insanity, disability and/or Event
            of Bankruptcy of a General Partner, under such circumstances where no other remaining General
            Partner desires to continue the Partnership; provided, however, that the Partnership shall not be
            dissolved as aforesaid if the Limited Partner shalt, within the maximum number of days permitted by
            the Act, elect to continue the Partnership and the Partnership business, and shall designate a
            successor General Partner;

            (b) an election to dissolve the Partnership made in writing by all of the Partners in accordance with
            the Act;

            (c) the sale or other disposition of all or substantially all of the Partnership Property, whether under
            Section 10.03 or otherwise;

            (d) the expiration of the Term; or

            (e) The occurrence of any other event causing the dissolution of a limited partnership under the laws
            of the State.

            Section 12.02 Distribution of Partnership Assets.
            Upon the dissolution of the Partnership, the Partnership business shall be wound up and its assets
            liquidated, and the net proceeds of such Liquidation shall be distributed to the Partners as set forth in
            Section 8.02.

            Section 12.03. Termination of the Partnership.
            Subject to the conditions precedent set forth at Section 12.01 above, the Partnership shall terminate
            when all Partnership Property shall have been disposed of (except for any liquid assets not so
            disposed ot), and the net proceeds therefrom, as well as any other liquid assets of the Partnership,
            have been distributed to the Partners as provided in Sections 12.02 and 8.02 and in accordance
            with the Act.

                                          ARTICLE XIII - Accounting and Reports



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             Section 13.01. Bank Accounts.
             The General Partner shall deposit the funds of the Partnership in the name of the Partnership in
             such separate bank account or accounts, and with such bank or banks or other financial institutions
             as shall be determined by and in the sole reasonable discretion of the General Partner. The General
             Partner shall arrange for the appropriate operation of such account or accounts.

            Section 13.02. Books of Account.
            The General Partner shall at the expense of the Partnership keep at the principal office of the
            Partnership true, correct, and complete books of account, maintained in accordance with generally
            accepted accounting principles, consistently applied, in which shall be entered fully and accurately
            each and every transaction of the Partnership. For federal income tax and financial reporting
            purposes, the Partnership shall use the accrual method of accounting and the fiscal year shall end
            December 31. Each Partner shall have access thereto to inspect and copy such books of account at
            all reasonable times upon reasonable advance written notice to the General Partner. The Partnership
            shall retain all books and records for the longest of the periods required by applicable laws and
            regulations.

             Section 13.03. Reports.
             The General Partner shall at Partnership expense cause to be prepared and delivered to the Limited
             Partner and, when required, shall cause the Partnership to file with relevant governmental agencies,
             each of the following:

            (a) by March 15 of each calendar year, unless an extension has been requested, the Partnership's
            federal income tax return including Schedule K-1's to form 1065 and all other information from the
            Partnership necessary for the preparation of the Limited Partner's federal income tax retum;

            (b) within forty-five (45) days after being produced by Partnership accountants in each subsequent
            calendar year, for the prior fiscal year a financial statement and report prepared for the Partnership in
            accordance with generally accepted accounting principles recognized in the United States; and

            (c) in addition, General Partner at its sole discretion may distribute interim financial reports.

            Section 13.04. Tax Electrons and Adjustments.
            The General Partner is authorized to cause the Partnership to make,forego or revoke such elections
            or adjustments for Federal Income tax purposes as they deem necessary or advisable in their sole
            discretion, provided such elections or adjustments are consistent with federal income tax rules and
            principles, including but not limited to, in the event of a transfer of all or part of the Limited Partnership
            Interest of any Partner, an election pursuant to section 754 of the Code to adjust the basis of the
            assets of the Partnership or any similar provision enacted in lieu thereof. The Partners will, upon
            request, supply any information necessary to properly give effect to any election or adjustment.


                                          ARTICLE XIV - Meetings of the Partnership

            Section 14.01. Meetings of the Partnership.
            Meetings of the Partnership may be called for any matters upon which the Partners may vote as set
            forth in this Agreement. The calling of a meeting shall be made:

            (a) by the General Partner, which shall give Notice to the Partners setting forth (i) a statement of the
            purposes of the meeting, and (ii) the date of the meeting (which shall be a date no fewer than 15 days
            and no more than 30 days after the date of the Notice); or

            (b) by the Limited Partner (which for the limited purpose of this subsection shall require at least sixty-
            six percent (66.67%) of the Limited Partners agreeing to such call for a meeting), which shall give
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             Notice to the Partners setting forth a statement of the purposes of the meeting. No more than 15
             days after receipt of such Notice, the General Partner shall provide Notice of the meeting to the other
             Partners in accordance with subsection (a).


                                                   ARTICLE XV - Amendments

             Section 15.01. Generally.
             In addition to amendments otherwise authorized in this Agreement, this Agreement may be amended
             in any respect from time to time by the General Partner without written approval or consent ofLimited
             Partners including but not limited to the following;

            (a) by the General Partner, without the Consent of the Limited Partner,to

                     (1)     add to its duties or obligations or to surrender any right or power given to it by this
             Agreement;

                      (2) cure any ambiguity, correct or supplement any provision of this Agreement which
             may be inconsistent with any other provision of this Agreement or make any other provisions with
             respect to matters or questions arising under this Agreement which are not inconsistent with the
             provisions of this Agreement;

                      (3) reflect on Exhibit A the removal, addition or substitution of the General Partner or the
            Limited Partner;

                      (4)    correct or modify any provision to comply with the Act or satisfy USCIS; or

                      (5) any other amendment in the General Partner's sole discretion, so long as the
            amendment does not allow the Limited Partner to take part in the control of the Partnership's
            business in a manner that would reduce or eliminate the limited liability of the Limited Partner, or
            otherwise modify the limited liability of the Limited Partner, or increase the liability or obligations of the
            Limited Partner, or as to change the Capital Contributions required, or rights and interests in profits,
            losses and distributions of any Partner or dilute the Interest of the Limited Partner below what this
            Agreement contemplates.

            Section 15.02.. Signatures.
            The General Partner shall sign any amendment to this Agreement adopted in accordance with the
            terms of this Agreement.


                                          ARTICLE XVI - Miscellaneous Provisions

            Section 16.01. Notices. etc.
            All notices, requests, consents, and other communications hereunder shall be in writing and shall be
            deemed to have been duly given if (i) delivered or mailed by first-class registered or certified mail,
            postage prepaid, to the respective parties hereto at their respective addresses set forth in Exhibit A or
            in each case at such other address as such party may have furnished to the Partnership in writing, (11)
            delivered in hand to a party, (iii) on the business day next following delivery to a nationally recognized
            ovemight courier, or (iv) when transmitted by facsimile with electronic confirmation of transmission
            receipt.

            Section 16.02. Survival of Representations,
            Ali representations, warranties, and indemnifications contained herein shall survive the dissolution
            and final liquidation of the Partnership.
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            Section 16.03. Entire Agreement.                                                     supersedes
                                                             between and among the partiess
            This Agreement contains the entire understanding                respecting      subject atter f
                                                             and among them
            any prior understandings and agreements between
            this Agreement.

            Section 16.04. Applicable Law.
                                                               questions with respect to the construction, enforcement,
            It is the intention of the parties hereto that all
                                                                  rights and liabilities of the parties hereto shall be
            and interpretation of this Agreement and the
                                                           the  State without regard to principles of conflicts of laws.
            determined in accordance with the laws of

            Section 16.05. Severabillty.
                                                              accordance with, and only to the extent permitted by,
            This Agreement is intended to be performed in
                                           ordinances, rules, and  regulations. If any provision of this Agreement or
            all applicable statutes, laws,
                                                        circumstance shall, for any reason and to any extent, be
            the application thereof to any Person or
            invalid or unenforceable, the   remainder  of this Agreement and the application of such provision to
                                                              affected thereby, but rather shall be enforced to the
            other Persons or circumstances shall not be
            greatest extent permitted by law.

            Section 16.06. Binding Effect.
                                                                Partner.
            (a) Each Partner, including any additional General
                                 Partner,  additional Limited  Partner   and substitute Limited Partner, shall be
            successor General
                                                           to be bound   by, all the provisions of this Agreement.
            deemed to have adopted, and to have agreed
                                                                   binding upon, and inures to the benefit of, the
            (b) When entered into by a Partner, this Agreement is
                                                                executors and administrators, personal and legal
            parties hereto and their respective spouses, heirs,
            representatives, successors and assigns.

             Section 16.07. Counterparts.
                                                                   executed in several counterparts, each of which
             This Agreement and any amendments hereto may be
                                                       end  all of which together shall constitute one agreement
             shall be deemed to be an original copy,
                                                                         parties shall not have signed the same
             binding on alt parties hereto, notwithstanding that all the
             counterpart.

             Section 16.08. No Implied Waiver.
                                                                   and no delay in exercising, any right under this
             No failure on the part of any Partner to exercise,
             Agreement shall operate as a   waiver thereof; nor shall any single or partial exercise of any right under
                                                                       thereof or the exercise of any other right. No
             this Agreement preclude any other or further exercise
                                       Agreement    shall be deemed    waived and no breach excused unless such
             term or provision of this                                     claimed to have so waived or excused.
                                                                 the party
             waiver or excuse shall be in writing and signed by

             Section 16.09. Power of Attomey.
                                                                     substituted Limited Partner, by the execution of this
             Each Limited Partner, including any additional or            irrevocably constitute and appoint the General
             Agreement or any counterpart thereof, does         hereby
                                                                           substitution, acting alone or jointly, its true and
             Partner's designee William Stenger, with full power of
                                                                   and   authority  in its name, place and stead, to make,
             lawful agent and attorney-in-fact, with full power                    documents     and instruments as may be
                                      swear  to, deliver, file and   record  such
             execute, acknowledge,                                                            including, but not limited to: (1)
                                                                           this Agreement,
             necessary or appropriate to carry out the provisions of                                Limited Partnership, as
                                           Agreement   and     the  Partnership's    Certificate of
             such amendments to this
                                                                                the provisions of this Agreement, including
             amended from time to time, as are necessary to effectuate
                                                 Partnership     a substituted   Limited Partner or a substituted General
             without limitation to admit to the
                                                                         necessary    to cancel the Partnership's Certificate
             Partner, (ii) such documents and instruments as are                                  reflecting the terms of this
                                                         Certificate    of Limited  Partnership
             of Limited Partnership, (iii) an amended                                  advisable  by the General Partner to
                                                                            deemed
              Agreement, (iv) all certificates and other instruments
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             permit the Partnership to become or to continue as a limited partnership or partnership wherein the
             Limited Partner has limited liability in the jurisdiction where the Partnership may be doing business,
             (v) all fictitious or assumed name certificates required or permitted to be filed on behalf of the
             Partnership and (vi) all other instruments which may be required or permitted by law to be filed on
             behalf of the Partnership. The foregoing power of attorney is coupled with an interest, shall be
             irrevocable and shall survive the death, bankruptcy or incapacity of any Limited Partner and the
             assignment by any Limited Partner of its limited partnership interest.

             Section 16.10. Partition.
             The Partners hereby agree that no Partner, nor any successor-in-interest to any Partner, shall have
             the right while this Agreement remains in effect to have the property of the Partnership partitioned, or
             to file a complaint or institute any proceeding at law or in equity to have the property of the
             Partnership partitioned, and each Partner, on behalf of himself, his successors, representatives,
             heirs, and assigns, hereby waives any such right. It is the intention of the Partners that during the
             term of this Agreement, the rights of the Partners and their successors-in-interest, as among
             themselves, shall be governed by the terms of this Agreement, and that the right of any Partner or
             successor-in-interest to assign, transfer, sell or otherwise dispose of its interest in the Partnership's
             Property shall be subject to the limitations and restrictions of this Agreement.

            Section 16.11. Confidentiality.
            A prospective investor into the Partnership, by accepting receipt of this Agreement, agrees not to
            duplicate or to furnish copies of this Agreement or to divulge information garnered from this
            Agreement or its exhibits to persons other than such investors investment and tax advisors,
            accountants and legal counsel, and such advisors, accountants and legal counsel together with the
            prospective investors and any other persons to which this Agreement or the Related Documents
            come into their possession are prohibited from duplicating or using this Agreement, the Related
            Documents and all exhibits thereto in any manner other than to determine whether the investor wants
            to invest into the Partnership. Prospective investors are not to construe the contents of this
            Agreement as legal, investment, immigration or tax advice, or any other advice related to the efficacy
            of the investment to them. The General Partner has not engaged any legal or other advisors to
            represent prospective investors. Each prospective investor should consult their own advisors as to
            legal, tax and related matters concerning the efficacy of this investment and the appropriateness of
            this investment to them and any other matters concerning this investment. The expense of such
            consultations shall be paid separately by the investor.

             Section 16.12. Approval of Agreement
            All Qualified Investors who invest in the Partnership and become a Limited Partner, by their receipt of
            this Agreement and investment into the Partnership hereby approve this Agreement, all Related
            Documents and all exhibits thereto, and approve without limitation the use of their investment
            proceeds, the investment itself, and all management and exit strategies, all as disclosed herein.

            Section 16.13. No Guarantees or Redemption Rights.
            Each Limited Partner acknowledges and agrees by their receipt of this Agreement and investment
            into the Partnership that no promises or guarantees of performance, investment results or returns,
            rights to redeem their Interests or removal of conditions under the EB-5 Program have been made to
            them by anyone, including but not limited to by the General Partner or any of its Affiliates, and their
            agents, representatives, officers, salesmen, managers, employees, attorneys, consultants and third
            party contractors, and they are not relying on anything from the General Partner or any of its
            Affiliates, and their agents, representatives, officers, salesmen, managers, employees, attorneys,
            consultants and third party contractors except this Agreement and the Related Documents in making
            their decision to invest.

            Section 16.14. Arbitration Clause.
            Any and all disputes arising under or relating to the interpretation or application of this
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            Agreement shall be subject to arbitration in Vermont under the then existing rules of the
            American Arbitration Association and pursuant to the Vermont Arbitration Act, codified at 12
            V.S.A. section 5651,et seq.(the "VAA"), and if any conflict exists between said rules and VAA,
            the VAA shall control. Judgment upon the award rendered may be entered in any court of
            competent jurisdiction. The cost of such arbitration shall be borne equally by the parties.
            Nothing contained in this Section shall limit the right of the General Partner, either on behalf
            of the Partnership or on its own behalf, and Umited Partner from seeking or obtaining the
            assistance of the courts in enforcing their constitutional or civil rights.

                    ACKNOWLEDGMENT OF ARBITRATION.

                    The parties to this Agreement understand that this Agreement contains an agreement
            to arbitrate. After signing this Agreement, or the Investment subscription documents as set
            forth In Section 3.02(b) herein, each Partner understands that It will not be able to bring a
            lawsuit concerning any dispute that may arise which is covered by the arbitration agreement,
            unless it involves a question of constitutional or civil rights. Instead, each Partner agrees to
            submit any such dispute to an Impartial arbitrator.

            GENERAL PARTNER:                                    INITIAL LIMITED PARTNER:
            ANC 610 VERMONT GP SERVICES, LLC                    ANC 510 VERMONT GP SERVICES, LLC

            BY:                                                 BY:
            William Stenger, Managing Member                    William Stenger, Managing Member
            and Duly Authorized Agent                           and Duly Authorized Agent

            Section 16.15. Reimbursement of Expenses and Costs.
            Notwithstanding anything herein to the contrary, the General Partner and its Affiliates will be
            reimbursed by the Partnership for all expenses and costs incurred by the General Partner or its
            Affiliates in exercising the duties and powers delegated to and granted the General Partner herein.

            Section 16.16. Translation of Agreement,Etc.
            Each prospective Partner, by their receipt of this Agreement, acknowledges that it is their
            responsibility to obtain and pay for the translation of this Agreement, Related Documents and exhibits
            thereto if they cannot read or understand English. No such translation may alter, modify or otherwise
            change the terms of this Agreement as set forth in English in any manner or way whatsoever.


            Section 16.17. Gender Clause.
            Common nouns and pronouns will be deemed to refer to the masculine, feminine, neuter, singular
            and plural, as the identity of the person or persons, firm or corporation may in the context require.

            DATED:

            GENERAL PARTNER:                                    INITIAL LIMITED PARTNER:
            ANC 51O VERMONT GP SERVICES, LLC                    ANC BIO VERMONT GP SERVICES, LLC

            BY:                                                 BY'
            William Stenger, Managing Member                    William Stenger, Managing Member
            and Duly Authorized Agent                           and Duly Authorized Agent



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                                                   Exhibit A



                                                       Initial Interest          Canitat Contribution
        Name                 Address


        General Partner
        ANC BIO VERMONT GP                                           1.00%
        SERVICES, LLC
        Limited Partner
                                                                    99.00%
        ANC WO VERMONT GP
        SERVICES, LLC




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                                            Client investment Process

         Initial Deposit and Commence Due Diligence Period
            • To commence the process and begin the due diligence period, a prospective Investor is required
                 to make a $10,000 deposit to the Q Burke Mountain Lodge & Conference Center L'Escrow
                 account at People's United Bank in Vermont.
            • Within the up to 30-day review period following the initial deposit your client(or representative) is
                 offered a complimentary stay at Jay Peak Resort to meet with the Resort CEO and review the
                 project.

         Review Project Documentation and Questionnaire to Q Burke
           • Once deposit is received, you are provided with the Offering Memorandum, Business Plan end
               Limited Partnership Agreement. Investor Questionnaires are also included for the investor to
               complete and return to Q Burke.
           • If you choose not to proceed within the up to 30 day review period, the deposit is fully •efunnable.

        Return Investor Questionnaire to Q Burke
           • Return completed Investor Questionnaire to determine Investor eligibility.
           • Return completed subscription documents to Q Burke for acceptance and inclusion in your
           • 1-526 petition.
          • Provide us details of your immigration attorney, or one can be recommended.

        Complete Investment and Return Subscription Documents
          • Balance of investment funds to be paid within 45 days or sooner, at which point subject io
              acceptance of investor Subscription Documents, the investment funds are released into the
              project.
          • Investor 1-526 petition cannot be submittedto USCIS without full investment funds invested.

        Regional Center Documentation Issued
           • Once full balance has been received and subscription documents signed, the Regional Center
              documentation is released to the acting attomey to include in clients Investor petition.

        Attorney to Prepare 1-526 Petition
           • Acting attorney will prepare your petition, Q Burke may, if required, review and provide
              assistance with documentation to validate Investor's source of funds.
           • Approximate time to complete petition is 3 weeks.

        Submit 1-526 Petition to USCIS
          • The petition is sent to USCIS and the attorney is to provide Q Burke with the USCIS receipt
              number for USCIS auditing purposes. Attorney is also to inform Q Burke of subsequent USCIS
             decision on petition.
          • Average petition approved in 150 days from time of submission but may take up to 180 days or
              more.

        1-526 Adjudicated and Forward for Immigrant Visa Application
           • The petition is approved by USCIS. Your attorney is to provide Q Burke with approval notice
           • Approved petition is now sent forward for either adjustment of status or consular processing.
           • Form 1-+185 or DS-260 is submitted, approval from this point can take 1 to 6 months or more.

        Jay Peak Resort and its EB-5 staff provide administrative support for the 0 Burke Mountain
        Lodge & Conference Center LP project. Please direct questions or concerns to the following
        address 830 Jay Peak Rd,Jay, VT 05859 or by email; Bill Stenger bstenger(E~iaypeakresort.corn,
        wren Bennett kbennett(aiiavpeakresort.com or Lizzy Button (buttonalavpeakresort.com




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              Proceso de Inversion del Clients - Programa de Visa E8-5 AnC Bio de Jay Peak en
                                                   Vermont


          Deposito Inicial y Plazo pars el Comienzo de to Diligencia de lnvestigacion
            • Para iniciar con el proceso y comenzar con el plazo de Ia diligencia de investigacion, se le
               soticitara al inversionista un deposito de $10,000 delares americanos en la cuenta del
               fideicomiso AnG Bio Vermont Jay Peak en el banco Peoples United Bank en Vermont,
            • Hay un periodo de analisis con una duracien de haste 30 dias despues del deposito inicial del
               cliente(o su representante) y se le ofrecera una estancia gratuita en el Jay Peak Resort pars
               reunirse con el director general y reviser el proyecto.

          Documentacl&n para la Revision del Proyecto y Cuestlonario del Inversionlsta para Jay Peak
            • Una vez que se recibe el deposito inversionista, se le proporcionara un Memorandum de Oferta,
                un Plan de Negocios y un Acuerdo de la Sociedad Limitada. Tambien se incluiran los
                Cuestionarios del Inversionista para que los Ilene y regrese a Jay Peak.
            • Si el cliente decide no proceder con la diligencia dentro de los 30 dins que dura el plazo de
               revision, el deposito es completamente reembolsable.

         Cuestionario del Inversionista que se debera regresar a Jay Peak
            • El inversionista regresara el Cuestionario del Inversionista con su Ilenado completo para
               determiner la elegibilidad del inversionista.
            • El inversionista regresara los documentos de suscripcibn compietos para aceptacibn incluyendo
               su peticion 1-526 a Jay Peak.
            • El inversionista proporcionara los detalles acerca do su abogado de inmigracion, o en su
               defecto, se le puede recomendar uno.

         Realizacidn de la Inversion y Retorno de los Documentos de Suscripcidn
            • El saldo de los fondos de inversion se pagara dentro de tos 45 dias, o antes, considerando que
               en todo momento se encontrara sujeto a la aceptacibn de los Documentos de Suscripcibn, el
               pago del saido de los fondos de inversion liberaran el proyecto.
            • La petici6n 1-526 del inversionista no se podra entregar al USCIS si no este Iiquidado en su
               totalidad el sakio de los fondos de inversion.

         Expedicion al Centro de Documentacidn Regional
            • Una vez que se cubre el saido y se firman los documentos de suscripci6n, se expediteran los
               documentos al Centro Regional y posteriormente se hark ilegar abogado representante del
               cliente potencial pars incluir la peticion de inversion del mismo,

        El Abogado Prepare la Peticidn 1-526
           • El abogado representante del cliente potencial preparara la peticr6n, en caso de que se requiera.
              Jay Peak puede reviser y proporcionar asistencia con le docurnentacidn pars 'alder el origer de
              los fondos del Inversionista.
           • E1 tiempo aproximado pare completer la solicitud es de 3semanas.

        Envier la Peticlen 1-526 at IJSICS
           • La peticibn se envia al USCIS y el abogado representante del cliente potencial proporciora a
               Jay Peak el numero de recibo USCIS pars propositos de auditoria de USCIS. El abogado
              tambien informara a Jay Peak Ia resotuclbn posterior sobre la peticibn de USCIS.
           • El promedio de aprobacion a la peticion es de 150 dias a partir de Ia presentation pero podria:
              tardar haste 180 dias o mss.
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         PeopletUnited
                                 bank
         February 22,2013

        Wire instructions for wires originating from United States Banks (Continental
        United States):

        Bank Name:                 People's United Bank
        Address:                   2 Burlington Square
        Address:                   Burlington, Vermont
        ABA/Routing Number #:      221172186
        Account Number #:          0019100316
        Reference:                 Institutional Trust Department
        For Further Credit:        Jay Peak Escrow with Investor Name


        International wire instructions effective February 22,2013:

       Bank Name:                 Peoples United Bank
       Address:                   850 Main Street
       Address:                   Bridgeport, Connecticut
       Swift code:                PESBUS31
       Routing #:                 2211-7218-6
       Account #:                 0019100316
       FBO:                       Jay Peak (Project Name)
       FFC:                       Investor's Name



       Note: Wire amounts to be credited must be net of wire transaction
                                                                           fees.
             Originator of wire must provide all wire fees to originating bank.
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          From: !Jay Button Ibutton@jaypeakresort com
        Subject: RE: Bernard Ledezma
           Date: January 29, 2014 at 8:43 AM
             To: Mary Teruya mary@maryvisa com


        Mary,
        Here they are

        Lizzy Button
        Administrative Assistant
        JAYtPEAK
        802-327-2328

        IMPORTANT DISCLOSURE: The investing Member acknowledges and agrees that(1) the Manager,
        Regional Center and Developer have not given,and have no authority to give,any investment andlor
        legal advice with respect to the purchase of a security; and (ii) a prospective subscriber has not requested
        or otherwise sought any such investmentllegal advice from the Manager, Regional Center
        and/or Developer; provided, however,that investment/legal advice may have been given by an
        independent third-party agent which is marketing the security and unaffiliated with the
        Manager, Regional Center and/or Developer.
        See More from Mary Teruya




                    Peopiet
                                                   Sank


                     VIA E-MAIL: kh.nn: t ,r.l,i}t)cal, Norr.6111); Ihuttonfa javiakreson.com

                     January 21, 2014

                     Bill Stenger - Jay Peak
                     Karen Benner Jay Peak
                     Lizzy Button Jay Peak

                     RE: Bernard Ledezma

                     Dear Hill. Karen and Lizzy.

                    This letter is confirmation for receipt of funds in regards to the Jay Peak Escrow   Biomedical
                    Research Pate. LP as follows:

                                    Date: January 21. 2014                 amount $500.000.00




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        People United
                                  Bank
        Febrero 22,2013

        lnstrucciones para transferencias desde bancos en Estados Unidos (Contitental
        United States):

        Nombre del Banco:          Direecion del People's
        United Bank:               2 Burlington Square
        Address:                   Burlington, Vermont
        ABA/Ruta Bancaria #:       221172186
        Numero de Cuenta #:        0019100316
        Referencia:                Institutional Trust Department
        Para Credito Adicional:    Agente de Jay Peak con el Nombre del Inversionista


        Instrucciones para el envio internacional de efectivo

                                   Febrero 22,2013 Nombre del

        Banco:                     Peoples United Bank
        Direction:                 850 Main Street
        Address:                   Bridgeport, Connecticut
        Cedigo Swift:              PESBUS31
        Ruta bancaria #:           2211-7218-6
        Cuenta #:                  0019100316
        Beneficiario:              Jay Peak
        (Nombre del Proyecto) para nuevos creditos;
        Nombre del Inversionista



        Nota: Las cantidades a acreditarse deben ser netas de las comisiones de
        transaction.
               El generador del envio debe proporcionar todas las comisiones por la
               transaction bancarias.




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                                                  Cu) Ae Jura/ciYini)




        People&Untied
                               Bank
        February 22,2013

        Wire instructions for wires originating from United States Banks(Continental
        United States):

        Bank Name:                People's United Bank
        Address:                  2 Burlington Square
        Address:                  Burlington, Vermont
        ABA/Routing Number #:     221172186
        Account Number #:         0019100316
        Reference:                Institutional Trust Department
        For Further Credit:       Jay Peak Escrow with Investor Name


        International wire instructions effective February 22,2013:

         Bank Name:                Peoples United Bank
         Address:                  850 Main Street
         Address:                  Bridgeport, Connecticut
         Swift code:               PESBUS31
         Routing #:                2211-7218-6
         Account #:                0019100316
         FBO:                      Jay Peak(Project Name)
         FFC:                      Investor's Name



         Note: Wire amounts to be credited must be net of wire transaction fees.
               Originator of wire must provide all wire fees to originating bank.




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               anC810 VT at




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                                                         Section I

                                            The Offering



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       Section 1. Jay Peak Biomedical Research Park L.P.




                                                            SECTION 1

       JAY PEAK BIOMEDICAL RESEARCH PARK LP.
       (a Vermont limited partnership)
       Newport, Vermont

       A Private Offering of Limited Partnership Interests

       All of the Limited Partnership Interests (also called "Interests" herein) are being offered by Jay Peak
       Biomedical Research Park L.P., the New Commercial Enterprise ("NCE")and the issuer(sometimes referred
       to herein as the NCE, "Issuer", Partnership" or "Limited Partnership"). There is no public market for these
       interests. See Risk Factors.

       NO PARTIES EXCEPT THE PARTNERSHIP ARE RESPONSIBLE FOR THE CONTENTS OF THIS
       OFFERING MEMORANDUM (REFERRED TO HEREIN AS THIS "MEMORANDUM" OR "OFFERING
       MEMORANDUM"), AND NO OTHER PARTY EXCEPT SALES AGENTS AUTHORIZED BY THE
       PARTNERSHIP WILL BE INVOLVED IN THE OFFERING OF INTERESTS UNDER THE MEMORANDUM
       OR THE ACCEPTANCE OF SUBSCRIPTIONS FROM INVESTING LIMITED PARTNERS.



                                                           THE OFFERING


       US$110,000,000. The minimum investment for each Limited Partnership Interest is $500,000(the
       "Offering").

       Jay Peak Biomedical Research Park L,P., by and through its General Partner, AnC Bio Vermont GP Services
       LLC (the "General Partner"), will use the invested funds raised in this Offering to purchase land In Newport,
       Vermont, USA, and undertake certain real estate development on the land including the construction and
       equipping of a world class certified GMP (Good Manufacturing Practice) and GLP(Good Laboratory Practice)
       building and clean room facility, and additionally undertake certain business activities in the new facility
       pursuant to a Joint Venture Agreement by and between the NCE and AnC Bio USA LLC or other similarly
       named subsidiary (the "Joint Venturer") of AnC Bio VT LLC ("AnC Bio VT"), which will include: (1) the
       research, development, manufacture and distribution of artificial organs, cell based therapy medicine and
        medical devices (collectively the "AnC Bio Products"), and other affiliated business operations in the new
       facility, and (2) the operation and staffing of clean rooms in the new building to be used by third parties
       (collectively, the "Project"). The Joint Venture Agreement will acknowledge, among other things, that the
       Joint Venturer and the Limited Partnership will establish and own a third entity to be named AnC Bio LLC (or
       similar name) set up to run the business operations in the new facility (the "Joint Venture Entity"). An
       organizational chart detailing this structure can be found in the business plan set forth in section 2 of the
       Offering Memorandum ("Business Plan").

       The Project seeks funds amounting to a maximum capital raise of $110.0 million of development and
       operating costs to be financed pursuant to this Offering Memorandum (see Summary of Offering; Project


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        Section 1. Jay Peak Biomedical Research Park L.P.



        Summary).

        Through the funds raised in this Offering, the NCE known as Jay Peak Biomedical Research Park L.P. will
        stimulate economic development and create many jobs at the Project site in Newport, Vermont, within the
        State of Vermont Regional Center, within the northeastern United States and within the, rest of the United
        States.

        All Limited Partnership Interests are payable in full upon subscription. The minimum capital contribution to
        invest into the Partnership shall be $500,000 (subject to the General Partner's discretion for investors who
        are not seeking qualification as an "alien entrepreneur", as defined below). Each investor must also pay a
        nonrefundable administration fee of $50,000 payable to Joint VenturerAnC Bio Vito partially reimburse it for
        costs and expenses incurred by AnC Bio VT in connection with development of the Project, business
        planning and to produce and distribute this Offering, for a total subscription amount of $550,000. There is no
        minimum capital contribution requirement, except for foreign investors seeking qualification as an "alien
        entrepreneur" under the EB-5 Program under the Act (as those terms are defined below), where the
        minimum capital contribution amount is currently $500,000 as set by law because the investment is situated
        in a Targeted Employment Area (TEA). The General Partner in its sole discretion may waive the minimum
        subscription amount and/or raise the minimum amount in the future. The Offering will continue until it has
        raised $110,000,000, unless terminated sooner by the General Partner in its sole discretion, but in no event
        will the Offering be open past December 1, 2013. This Offering supersedes in its entirety all prior Offerings
        made by the Issuer, if any.

       While this investment offering has been structured so that investors may meet the requirements under 8
       U.S.C.§ 1153 (b)(5)(a) - (d); INA § 203 (b)(5)(a) - (d) of the Immigration & Nationality Act (the "Act") and
       qualify under this program (the "Program" or "EB-5 Program") to become eligible for admission to the United
       States of America as lawful permanent residents and confer this benefit upon their spouses and unmarried,
       minor children, the investment offering is also open to investors not seeking immigration benefits.

       In making an investment decision investors must rely on their own examination of the Issuer and the terms of
       the Offering, including the merits and risks involved. You should depend solely on the written information
       contained in this private placement Memorandum. These securities have not been recommended or
       approved by any federal or state securities commission or regulatory authority. Furthermore, those
       authorities have not passed upon the accuracy or adequacy of this document. Any representation to the
       contrary is a criminal offense.

       The US Securities and Exchange Commission (the "Commission" or "SEC") does not pass upon the merits of
       any securities offered or the terms of the Offering, nor does it pass upon the accuracy or completeness of
       any offering circular or selling literature. These securities are offered under and rely upon one or more
       exemptions from registration; however, the Commission has not made an independent determination that
       these securities are exempt from registration.

       Investment in small businesses involves a high degree of risk. An investment in Interests of the Limited
       Partnership involves substantial risks including but not limited to reliance and continuity of management, third
       party services, general market forces and risks, profitability of the operations run by the Joint Venture Entity
       and complex tax issues. Investors should not invest any funds in this Offering unless they can afford to lose
       their entire investment. See the "Risk Factors" section of the Offering Memorandum for the risk factors that
       management believes present the most substantial (but not necessarily all) the risks to an investor in this
       Offering. See also the projections and financial data contained in the Business Plan contained in the
       Memorandum. There is currently no public market for the Interests and transferability of the Interests will be


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       Section 1 Jay Peak Biomedical Research Park L.P


       limited.

       This Offering is made only to "accredited investors", as defined in rule 501(a) of Regulation D, and who are
       sophisticated in financial and business matters, unless the investor is not resident in the United States at the
       time he or she is given a copy of the Offering nor at the time of sale of a limited partnership interest to the
       investor, whereupon Regulation S of the 1933 Securities Act may apply. Each intending investor should
       obtain the advice of their own professional advisors including legal, financial, tax, investment and other
       advisors including immigration if applicable before deciding to invest.

                                                          Proceeds To Limited Partnership for
                                   Price To investors          Investment in the Project

       Minimum Investment           $     500,000.00                $    110,000,000
                                                               Proceeds to AnC Bio VT LLC

       Administration Fee           $      50,000.00                 $    11,000,000

       All invested funds are stated and payable in US dollars.


       Notes:
       1. See "Risk Factors." Possible acquisition of Interests by affiliates and others.
       2. Though not part of the investor's investment, under the terms of the Memorandum each investor is
       required to pay Offering issuance expenses, herein referred to as administrative fees, to AnC Bio VT in the
       amount of $50,000, to partially reimburse it for all the costs incurred by it in connection with its conceptual
       design, creation and development of the Project, legal, accounting, administration and all other costs relating
       to the Project, producing, issuing and distributing the Memorandum, and communicating with interested
       parties and their professional advisors.
       3. Though not part of the investor's investment into the Project, each investor may also be required to pay a
       tee to the State of Vermont Regional Center, estimated at this time to be $1,500, but said amount may
       change at the discretion of the State of Vermont, which fee will be used by the State of Vermont to help
       defray its costs in administering the Vermont Regional Center. Each prospective investor should consult with
       his or her own immigration counsel with respect to this issue.

       The date of this Memorandum is November 30,2012.




       This Memorandum # ... has been provided to:




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       Section 1. Jay Peak Biomedical Research Park L P.




                                                  IMPORTANT INFORMATION

                                                                                               information and exhibits
       Review all information — A potential investor should carefully review all the
       contained in this Memorandum including the Limited Partnership         Agreement,   the  Business Plan, including
                                                   of the  Project   attached hereto, which   is  incorporated herein by
       the financial and operating projections
                       the Subscription   Agreement   in making   an  investment decision.  Investors must rey on such
       reference, and
                                                                                                     risks involved. Each
       investor's own examination of the terms of the Offering, including the merits and
                               invited  to ask questions  of, and  upon  request may  obtain additional   information from
       prospective investor is
                                                                                     business,   the terms  and conditions
       the General Partner concerning the Limited Partnership, its contemplated                           possesses   such
                                             relevant  matters   to  the extent the  General   Partner
       of such Offering and any other
       information or can acquire  it without unreasonable   effort or expense.

                                                                                                 the Limited Partnership
       Sources of information — The information contained herein has been obtained from
                                                                         or implied,  is made    as to the accuracy or
       and AnC Bio VT. No representation or warranty, expressed
       completeness of such information and    nothing  contained  in this Memorandum      is or shall be retied on as a
       promise or  representation as  to the  future.  This  Memorandum      is provided  subject    to amendment and
                                                       sole discretion, and the  transaction  contemplated   herein may
       supplementation by the General Partner in its
                        withdrawn  at  any time,   with  notice  to  prospective   investors   who    have received this
       be modified or
                                                                                                     -subscribe pursuant
       Memorandum and to investors who have already subscribed (who must subsequently re
                                         The   obligations  of the  parties to  this transaction   will be set forth and
       to the amended Memorandum)_
       governed by  the documents referred to in this Memorandum.

                                                                                                     by the Partnership
       Authorized statements — This Offering Memorandum contains all of the representations
                                                                        or broader statements    than  those contained
       concerning this Offering, and no person shall make different
                                              rely upon any information not expressly set forth in this Memorandum.
       herein. Investors are cautioned not to

                                                                                      construe the contents of this
       Memorandum not legal advice — Prospective investors should not
       Memorandum or any prior     or  subsequent  communications     from  the  Partnership as investment, financial,
                                                                 his or her  own  representatives (including his or her
       legal or tax advice. Each investor must rely solely upon
                                       other personal  advisors) as  to legal, tax, immigration, business  and related
       legal counsel, accountant and
                                                                            PROSPECTIVE      INVESTORS      BY THEIR
       matters concerning a prospective investment in the Partnership.
                                             ACKNOWLEDGE        THAT    THEY    HAVE   NOT  RECEIVED     ANY  ADVICE
       INVESTMENT INTO THE PROJECT
                                    LIMITED   PARTNERSHIP        OR    INTO    THE   PROJECT     FROM     THE   JOINT
       ON INVESTING IN THE                                                                                        ANY
                                                                              PARTNER,      ANC    BIO  VT   OR
       VENTURER, THE LIMITED PARTNERSHIP, THE GENERAL
                                                THEIR    RESPECTIVE      OFFICERS,      OWNERS,     EMPLOYEES       OR
       AFFILIATED ENTITIES OR ANY OF
                  (COLLECTIVELY,     THE   INTERESTED      PARTIES"),     NOR    HAS   ANY  CONSIDERATION BEEN
       AGENTS
                                                                                               ADVICE SPECIFIC TO
       PAID BY SAID INVESTORS TO ANY OF THE INTERESTED PARTIES FOR ANY
       INVESTING IN THE LIMITED       PARTNERSHIP      OR  INTO  THE   PROJECT.

                                                                                                information of persons and
        Private Memorandum — This Memorandum has been prepared solely for the
        entities interested in the private  placement   of the interests  offered  hereby  and   may not be reproduced or
        used for any other purpose. Any reproduction or distribution of this     Memorandum,      in whole or in part, without
                                             Partnership   is prohibited.  By   accepting  this  Memorandum,      prospective
        the prior written consent of the
                                   will not disclose its contents  to anyone   other than  to their professional advisers, or
        investors agree that they
                                                                                                                    agree not
        reproduce it, in whole or in part, which advisors by their acceptance of the Memorandum similarly
                                                               prior written consent  of the Partnership.
        to disclose its consents or reproduce it, without the




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       Section'''. Jay Peak Biomedical Research Park L.P.




       Determination of Offering price — The price of the minimum Interest was determined by the Partnership to
       assist investors who wish to meet the requirements under the Act.

       Best Efforts Offering -- All interests are offered by the Partnership on a "best efforts" non-minimum. basis.
       There is no assurance that all or any of the desired capital will be raised through the Offering. The Offering
       has no minimum amount and the Partnership will utilize proceeds as they are received. See Completion of
       Project.

       Liquidity and capital resources — The Partnership's liquidity needs to date, if any, have been satisfied by
       support from related parties. Management believes that the maximum proceeds of this Offering will generate
       sufficient capital to conduct the business of the Partnership.

       Miscellaneous — The description in this Memorandum of any agreement, document, statute, rule, regulation,
       or proposed legislation is not advice and is not designed to be complete and is, therefore, qualified in its
       entirety by reference to the respective agreement, document, statute, rule, regulation or proposed legislation.

       FORWARD-LOOKING STATEMENTS AND PROJECTIONS — THIS OFFERING MEMORANDUM
       CONTAINS FORWARD-LOOKING STATEMENTS AND PROJECTIONS THAT MAY ADDRESS, AMONG
       OTHER THINGS, PROJECTED DATES OR HIRES, DEVELOPMENT OF PRODUCTS, USE OF
       PROCEEDS,PROJECTED REVENUE AND CAPITAL EXPENDITURES, OPERATING COSTS, LIQUIDITY,
       DEVELOPMENT OF ADDITIONAL REVENUE SOURCES, DEVELOPMENT AND MAINTENANCE OF
       PROFITABLE MARKETING AND MANAGEMENT AND MAINTENANCE ALLIANCES. THESE
       STATEMENTS MAY BE FOUND IN THE SECTIONS OF THIS MEMORANDUM ENTITLED "SUMMARY
       OF OFFERING," "RISK FACTORS,' "USE OF PROCEEDS," "BUSINESS PLAN" AND IN THIS
       MEMORANDUM GENERALLY. ACTUAL RESULTS COULD DIFFER MATERIALLY FROM THOSE
       ANTICIPATED IN THESE FORWARD-LOOKING STATEMENTS AND PROJECTIONS AS A RESULT OF
       VARIOUS FACTORS, INCLUDING ALL THE RISKS DISCUSSED IN "RISK FACTORS" AND
       ELSEWHERE IN THIS MEMORANDUM.

       Speculative offering and risk — The Interests offered hereby should be considered only by persons who can
       afford to sustain a Toss of their entire investment. Investors will be required to represent that they are familiar
       with and understand the terms of this Offering, and that they or their purchaser representatives have such
       knowledge and experience in financial and business matters that they are capable of evacuating the merits
       and risks of this investment. Investors should be aware that their investment in the Limited Partnership may
       be illiquid indefinitely.

       Restrictions on transfers— No Interests may be resold or otherwise disposed of by an investor unless, in the
       opinion of counsel to the Partnership, registration under the applicable federal or state securities laws is not
       required or compliance is made with such registration requirements. Restrictions will also arise from the
       requirements of and compliance with immigration laws and regulations and the Limited Partnership
       Agreement. For example, no Interests may be resold or otherwise disposed of by an investor unless, in the
       opinion of immigration counsel to the Partnership, such sale or disposition will not jeopardize the Project's
       compliance with applicable immigration law or subject other investors to possible loss of immigration benefits.

       Limits on disclosure -- The Offering materials are submitted in connection with the private offering of the
       Interests and do not constitute an offer or solicitation by anyone in any jurisdiction in which such an offer or
       solicitation is not authorized or is only authorized following registration or other legal requirements which



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        Section 1. Jay Peak Biomedical Research Park L.P



        have not been met. Any reproduction or distribution of the Offering materials in whole or in part, or the
        divulgence of any of their contents, without the prior written consent of the Partnership is prohibited. Any
        person acting contrary to the foregoing restrictions may place himself and the Partnership in violation of
        federal or state securities laws.

        Voidability of sales — The Interests offered herein will be sold to and acquired by a purchaser in a transaction
        exempt from registration under federal and certain states securities laws and regulations, and may not be
        offered for sale or resold except in a transaction exempt from said securities laws and regulations, or
        pursuant to an effective registration statement hereunder. Sales made pursuant to exemptions from federal
        and state securities laws are voidable by each subscriber upon notice to the General Partner given within
        three days following the later of receipt by the subscriber of this Memorandum or the receipt and acceptance
        by the General Partner of the subscriber's executed subscription Agreement. The Limited Partnership will
        offer such rescission right to each subscriber, irrespective of the subscriber's state or country of residency,
        and notwithstanding the lack of such requirements under any federal or state securities laws that may apply
        to each subscriber.

        Offering being made pursuant to certain states securities law registration exceptions — Any and all notices
        under this section should be sent by certified mail, return receipt requested, to the Limited Partnership in care
        of William Stenger,4850 VT Route 242, Jay, Vermont 05859-9621.

        Restrictive information:
        Interests will be offered without registration under the Securities Act or state securities acts, as summarized
        below, and more specifically detailed hereunder:

       Within the United States, in reliance upon Rule 506 of Regulation "D" promulgated by the SEC, only to
       persons who are "accredited investors", within the meaning of Rule 501 promulgated by the SEC; and,

       Outside the United States, in reliance upon regulation "S" promulgated by the SEC only to persons who are
       not "U.S. persons" within the meaning of such regulations, or in reliance on Regulation "D", only to persons
       who are "accredited investors".

       For the purposes of this Memorandum,"U.S. person" means any natural person resident in the United States.

       The inclusion of information for each state in this Memorandum is not intended to imply that the Interests
       covered by this Memorandum are to be offered for sale in every state, but is merely a precaution in the event
       this Memorandum may be transmitted into any state other than by the issuer.

       For residents in all states:

       The securities offered hereby have neither been registered under the Securities Act of 1933, as amended
       (the "1933 Securities Act"), nor pursuant to the securities laws of any state, and are therefore being offered
       and will be sold to and acquired by purchasers in transactions which the Partnership believes to be exempt
       from the registration requirements of the 1933 Securities Act pursuant, to §§3(b) and 4(2) or other applicable
       section(s) thereof, and of the securities laws of the states in which the interests may be offered for sale
       (pursuant to the exemptions identified below). Once purchased by a subscriber, these securities may not be
       re-offered for sale or re-sold other than by an effective registration statement or in a transaction exempt from
       registration under the applicable law. The securities have neither been approved or disapproved by the
       United States Securities and Exchange Commission or any state securities regulatory authority, nor has the


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                                               Park L.P.
       Section 1. Jay Peak Biomedical Research

                                                                                             or the accuracy or
                                                upon or endorsed the merits of this Offering
       commission or any such authority passed
                                         representation to the contrary is unlawful.
       adequacy of this Memorandum. Any

       For Vermont residents only:
                                                                                 Memorandum will only be sold to and
                                        Interests offered and described in this
       The sale of Limited Partnership                 from registration of
                                                                                                           rtm
       acquired by investors in a transaction exempt           other  applicable
                                                                            ble   secti(s} of the  nt D a    Uent rm
                                                                                                                  Of
                                              5202(13)()
       Financial Regulation under section                                                  Interests have  not  been
                                                           such, the Limited Partnership
       Securities Act (2002) (the "Vermont Act"). As representation to the contrary is unlawful.
                                          Vermont   Act. Any
       registered as securities under the

                                                     States of America only:
       For persons resident outside the United
                                                                                                    the Securities and
                                                   accordance with Regulation "S' promulgated by
        The interests are also being offered in Securities Act of 1933. This Offering Memorandum does not
        Exchange Commission pursuant to the               States of America or any jurisdiction in which
                                                                                                         such offer or
        constitute an offer or solicitation in the United                  person or individual who  does not possess
                                                            or to any U.S.
        solicitation is not permitted under applicable law
                                             Memorandum.
        the qualifications described in this
                                                GENERALLY:
        FOR ALL NON-U.S. INVESTORS
                                                                                     THE PURCHASE OF
                                        PERSONS WISHING TO SUBSCRIBE FOR
        IT IS THE RESPONSIBILITY OF ANYINFORM THEMSELVES OF AND TO OBSERVE ALL APPLICABLE
        INTERESTS OFFERED HEREBY TO         RELEVANT JURISDICTIONS. PROSPECTIVE
                                                                                            INVESTORS
        LAWS AND REGULATIONS OF ANY                                                               CES
                                            THE LEGAL REQUIREMTS
                                                              D
        SHOULD INFORM THEMSELVES AS TO                                         ND
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                    COUNTRIES OF THEIR CITIZENSHIP, RESIDENCE, OMCILA                               ED
        WITHIN THE                                                RESTICONPAL THE
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               Y, PECT  TO THE      ISITION, HOLDING OR                                  THATMAY
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        WITH                                   OR OTHERDNON-U.S.
        HEREB AND ANY FOREIGN UEXCHANGE
        RELEVANT THERETO.


                                                                                                        to buy an Interest
                                                       except as set forth above. Any person wishing foregoing. This
         Interests will not be offered to any person                                   accordance with the
                                                        she is an eligible investor in
         will be required to demonstrate that he or sell to, or a solicitation of an offer to buy from, any person in any
         Memorandum does not       constitute an offer to
                                                             would be unlawful.
         junsdiction to whom such an offer or solicitation


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                                            INVESTOR SUITABILITY STANDARDS

        The purchase of Interests in this Offering involves a high degree of risk and is not a suitable investment for
        all potential investors. See "Risk Factors." Accordingly, the Partnership will offer and sell Interests only to
        investors who are "accredited investors" as that term is defined in Regulation D as promulgated under the
        1933 Securities Act, unless the investor is not resident in the United States at the time of the Offering nor at
        the time of sale of a limited partnership interest to the investor, whereupon Regulation S of the 1933
        Securities Act shall apply. Any person wishing to buy an Interest will be required to demonstrate that he or
        she is an eligible investor in accordance with the foregoing. The Partnership has the unconditional right to
        reject any subscription.

        This Memorandum does not constitute an offer to sell to, or a solicitation of an offer to buy from, any person
        in any jurisdiction to whom such an offer or solicitation would be unlawful. In addition to restrictions on
        transfer imposed by the Partnership in the Limited Partnership Agreement, an investor seeking to transfer his
        Interests subsequent to his initial investment will be subject to the provisions of the federal and state
        securities laws and the transfer restrictions which may be imposed pursuant to said laws.

       The offer and sale of interests are exempt from the registration and prospectus delivery requirements of the
       1933 Securities Act and applicable state securities laws pursuant to exemptions therein. Investment in the
       Interests is suitable only for those who have adequate means of providing for their current needs and
       personal contingencies and have no need for liquidity in an investment of this type. Prior to the purchase of
       the Interests, each prospective purchaser will be required to represent that he meets each of the following
       requirements: (a) he has the requisite knowledge or has relied upon the advice of his own professional
       advisor(s) with regard to the tax and other considerations involved in making such an investment and (b) he
       is acquiring the Interests for investment and not with a view to resale or distribution thereof.

       Prior to a purchase of Interests, each prospective purchaser will be required to represent that he is an
       "accredited investor" as defined in Regulation D, unless the investor is not resident in the United States at the
       time of the Offering nor at the time of sale of a Limited Partnership Interest to the investor, whereupon
       Regulation S of the 1933 Securities Act may apply. Among other categories, an "accredited investor" is an
       investor who, at the time of purchase of the interests, meets one of the following requirements:

       (i)     any natural person whose individual net worth, or joint net worth with that person's spouse,at the time
       of the purchase exceeds $1,000,000, excluding home, home fumishings and automobiles;

       (ii)   any natural person who had an individual income in excess of $200,000 each of the two most recent
       years or joint income with that person's spouse in excess of $300,000 in each of the two most recent years
       and who reasonably expects to reach the same income level in the current year; or

       (iii)   any entity in which all of the equity owners are accredited investors.

       If, in the opinion of the Limited Partnership, a prospective purchaser lacks the knowledge and experience in
       financial and business matters so that he is not capable of evaluating the merits and risks involved in the
       purchase and ownership of the Limited Partnership Interest, the Limited Partnership may require the
       prospective purchaser to use the services of a purchaser representative to serve the investor in evaluating
       the merits and risks of the prospective investment. If such a purchaser representative is required and used,
       the Limited Partnership will provide the prospective investor the appropriate forms for both the prospective



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        investor and purchaser representative to sign and retum to the Limited Partnership.

       Prior to purchase of a Limited Partnership Interest, an investor questionnaire (Exhibit B) and a subscription
       Agreement (Exhibit A), including a Consent to the Limited Partnership Agreement, must be signed and
       delivered by a prospective purchaser to the Partnership.

       if the Partnership is incorrect in its assumption as to the circumstances of a particular prospective investor,
       then the delivery of this Memorandum to such prospective investor shall not be deemed to be an offer and
       this Memorandum shall be retumed to the Partnership immediately.

       The suitability standards defined above represent suitability standards for prospective investors. Each
       prospective investor should determine whether an investment in the Partnership is appropriate in view of his
       or her own particular circumstances.




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                                                SUMMARY OF THE OFFERING

       INTRODUCTION

                                                                    regarding the Offering and may not contain all the
       This summary highlights and outlines certain information              its entirety by the information appearing in
       information that is important to you. The summary is qualified in                  including the exhibits and the
                                                                in this  Memorandum,
       the Limited Partnership Agreement, and elsewhere    Partnership     attached   hereto  and incorporated herein by
       Business Plan and financial data of the    Limited
                                                               detailed information with   respect  to each of the matters
       reference(the "Financial Data"), which contains more                summary.     Prospective  investors should read
       summarized herein as well as other matters not covered by      this
                                                          entirety, along   with the  Limited Partnership  Agreement, the
       the Memorandum and the Financial Data in     their
       Subscription Agreement and accompanying documentS and exhibits.

       SECURITIES BEING OFFERED

                                                                  limited partnership interest. All Limited Partnership
       Investors are being offered the opportunity to purchase a
                                                                             There is no minimum sale requirement. in
       Interests are payable in full upon subscription (the "Offering").        excepting far foreign investors seeking
                                                                Agreement,
       accord with the provisions of the Limited Partnership            amount, currently $500,000, is set by law, the
       qualification as an "alien entrepreneur", where the minimum
                                                                    minimum subscription amount, and may raise the
       General Partner may in its sole discretion both waive the
       minimum amount in the future. The Offering will   continue   until it has raised $110,000,000 unless terminated
                                                                     no event wilt the Offering be open past December
       sooner by the General Partner in its sole discretion, but in
                                                                       may increase if the law or regulations of the EB-
       1, 2013. The minimum amount required of foreign investors
                                                        amended.
       5 Program controlling the minimum amount are

        PURCHASE TERMS

                                                                        to purchase an interest shall be five hundred
        The minimum capital contribution to the Limited Partnershipto as a "Capital Contribution"). Each prospective
        thousand and no/100 dollars($500,000      US)(herein  referred
                                                                        Joint Venturer in consideration for AnC Bio VT
        investor must also pay an administration fee of $50,000 to the
                                                                     structure and develop the Project, for business
        covering all the costs and expenses incurred to create,
                                                                               to communicate with interested parties
        planning, to prepare and distribute this Offering Memorandum, and investor of $550,000. The subscription
                                                                   prospective
        and their professional advisors, for a total cost to each
                   payable   in cash  and in full upon subscription  and payment must accompany delivery of the
        price is
                                                                               to reject any subscription in whole or in
        Subscription Agreement. The Limited Partnership reserves the right
        part, in its sole discretion.

        EXEMPTION FROM REGISTRATION

                                                                 registration requirements under section 4(2) of the
        The Limited Partnership is claiming exemption from                    promulgated thereunder, and for persons
        Securities Act of 1933, as amended, and Rule 506 of Regulation D
                                                        promulgated    by the  SEC only to persons who are not "U.S.
        outside the United States under Regulation S                        registration statement will be filed with the
        persons" within the meaning of the regulations. Accordingly, no
                                                                        pursuant to this Memorandum. In addition, this
        SEC in connection with this Offering and sale of the Interests
                                                              securities laws of any state or any other jurisdiction.
        Offering is being made without registration under the
       Prosks,                                                  examination ofofcerspndt the      records nd other
                        Li are invited ho make an
                  investors                                                                   members
                                                                                             ,m       or diirrectors of
                                                      uestion the appropriate
       documents of the Limited Partnership, and mayy q


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       the General Partner to the extent that such investors deem it necessary in their sole discretion to analyze the
       risks involved with this investment. Prospective investors should not rely on the Limited Partnership, or any of
       their officers, directors, employees or agents, with respect to the judgments relating to their investment in the
       Limited Partnership. Prospective investors should retain their own professional advisors to review and
       evaluate the economic, tax and other consequences of an investment in the Limited Partnership. The Limited
       Partnership will make available, upon reasonable notice, but shall not incur any unreasonable expenses, to
       provide any other documents or information available to the Limited Partnership concerning the affairs of the
       Limited Partnership which a prospective investor requests, subject to receipt of reasonable assurances that
       such matters will be maintained in confidence between the investor and its professional advisors.

       THE PROJECT SPONSOR

        The Project sponsor is AnC Bio VT LLC, a limited liability company organized in the State of Vermont with its
        principal place of business in Newport, Vermont. The sole members of AnC'Bio VT LLC are Ariel Quiros,
        William Stenger and Ary Quiros.

       THE LIMITED PARTNERSHIP/NCE

        Jay Peak Biomedical Research Park L.P. is a newly formed Vermont limited partnership with its principal
        place of business in Newport, Vermont. Its General Partner, AnC Bio GP Services LLC, is a newly formed
        Vermont limited liability company with its principal place of business in Jay, Vermont. The Limited
        Partnership will be granted certain distribution rights as to the distribution of AnC Bio Products, which rights
        will be contributed by it to the joint venture.

        THE GENERAL PARTNER

        The General Partner will be responsible for marketing the Offering to prospective investors who may be
        interested in becoming limited partners, for the day to day decisions on behalf of the Limited Partnership and,
        either by itself or through its designee(s), members, manager or affiliates, for managing the development and
        operation of the Project. The sole members of the General Partner are William Stenger and Ariel Quiros.

        THE JOINT VENTURER

       A wholly owned subsidiary of AnC Bio VT, proposed to be known as AnC Bio USA LLC and to be set up in
       the State of Vermont, will enter into the Joint Venture Agreement with the NCE to set forth the agreements by
       and between both entities with respect to managing the business operations at the new facility in Newport,
       Vermont. The Joint Venturer will contribute the intellectual property and technology needed to produce the
       AnC Bio Products to the joint venture. The Joint Venture Agreement will, among other things, acknowledge
       the creation by the NCE and the Joint Venturer of the Joint Venture Entity owned by them, proposed to be
       known as AnC Bio LLC.

       THE JOINT VENTURE ENTITY

       AnC Bio LLC, or similarly named entity, will be formed and owned by the NCE/Limited Partnership and the
       Joint Venturer as a Vermont limited liability company with its principal place of business in Newport, Vermont.
       It will manage all the business operations at the new facility on behalf of the Joint Venturer and the
       NCE/Limited Partnership, including hiring staff to operate and run the research, development, manufacturing
       and distribution divisions to produce and distribute the AnC Bio Products, as well as to operate and staff the



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       clean rooms available for use by third parties.



       PROJECT SUMMARY

       The Project will include:(1) construction of a world class certified GMP (Good Manufacturing Practice) and
       GLP (Good Laboratory Practice) building and facility in Newport, Vermont, (2) supply of all necessary
       equipment and technicians in the facility,(3) research, development, manufacture and distribution of the AnC
       Bio Products under intellectual property and distribution agreements from and with AnC Bio Inc., South
       Korea (the "Existing AnC Entity") and AnC Bio VT, and (4)operation of clean room spaces in the building by
       third parties, including without limitation the Existing AnC Entity, so that those third parties may conduct
       research into certain affiliated industries. These third parties will include businesses, universities and
       colleges looking to expand such research but have in the past been hampered by a lack of adequate,
       geographically close clean room facilities. A more detailed summary is included in the Business Plan.

       The projected overall cost of the Project is $118 million, which development and initial operating costs will be
       financed pursuant to this Offering Memorandum as well as from equity contributed by AnC Bio VT or its
       designee(see Business Plan - Section 2).

       Most importantly, the Project will stimulate economic development and create many new jobs, primarily
       within the State of Vermont Regional Center and the northeastern United States of America(See the Exhibit
       to the Offering titled "Economic and Job Creation Impacts of the Prospective AnC Bio VT Facility in the
       Vermont Regional Center" prepared by Economic Development Research Group, Inc., and dated November,
       2012, referred to herein as the "EDR Report"), a critical component of the Project to meet the Act's
       requirements for job creation with respect to foreign investors' investment into the Limited Partnership. See
       also Immigration Discussion below.

       PROXIMITY TO AND BUSINESS RELATIONSHIP WITH JAY PEAK RESORT

       The Project is located within 20 miles of the Jay Peak Resort in Jay, Vermont, which has used funds invested
       by foreign investors under the EB-5 Program to greatly expand the services and amenities the Jay Peak
       Resort offers its guests. The Jay Peak EB-5 projects are widely considered to be some of the most
       successful development projects in the United States using EB-5 funds. The owners of the Jay Peak Resort
       are also owners of AnC Bio VT and they will play an integral part in developing and operating the Project.
       For a more detailed summary of the many successful Jay Peak projects, see the exhibit titled "Jay Peak EB-
       5 Projects" in the Exhibits to the Offering.




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                                                      USE OF PROCEEDS

       The proceeds from the sale of the Limited Partnership Interests will be used to purchase the land on which
       the new facility will be built (see draft Purchase and Sale Agreement in the Offering Memorandum), to
       construct and equip the clean room manufacturing and research facility and attract and hire qualified
       individuals to work at the facility in Orleans County, Vermont, all of which will create thousands of jobs
       primarily within the Vermont Regional Center and within the northeastern United States. See the Financial
       Data for an expanded analysis of how the proceeds will be used in acquiring control of the land underneath
       the new building to be constructed, to construct and equip the building and to operate the facility. The Joint
       Venture Agreement will control the operations by the Joint Venture Entity at the facility site, on behalf of the
       NCE and the Joint Venturer.


                                           MISCELLANEOUS CONSIDERATIONS


       OFFERING MEMORANDUM ONLY AVAILABLE IN US ENGLISH LANGUAGE

       In the event the prospective purchaser cannot understand or read the English language, and/or is unable to
       fully comprehend all documents and exhibits related to this Offering, it is the prospective purchaser's sole
       responsibility at the purchaser's sole cost to obtain all assistance required with interpretation and translation
       of this Offering Memorandum and exhibits thereto. No such translation may alter, modify or otherwise
       change the terms of this Offering Memorandum as set forth in English in any manner or way whatsoever.


       TAX MATTERS

       PURSUANT TO INTERNAL REVENUE SERVICE CIRCULAR NO. 230, BE ADVISED THAT ANY
       FEDERAL TAX ADVICE IN THIS OFFERING MEMORANDUM, INCLUDING ANY ATTACHMENTS 011
       ENCLOSURES, WAS NOT INTENDED OR WRITTEN TO BE USED, AND IT CANNOT BE USED BY ANY
       INDIVIDUAL OR ENTITY TAXPAYER, FOR THE PURPOSE OF AVOIDING ANY INTERNAL REVENUE
       CODE (THE "CODE") PENALTIES THAT MAY BE IMPOSED ON SUCH PERSON OR ENTITY. SUCH
       ADVICE WAS WRITTEN TO SUPPORT THE PROMOTION OR MARKETING OF THE TRANSACTION(S)
       OR MATTER(S) ADDRESSED BY THE WRITTEN ADVICE. EACH PERSON OR ENTITY SHOULD SEEK
       ADVICE BASED ON ITS PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.

       PRIOR TO INVESTMENT, A PROSPECTIVE INVESTOR THAT IS NOT A U.S. PERSON SHOULD
       CONSULT WITH HIS OR HER NON-U.S. AND U.S. TAX ADVISORS WITH REGARD TO THE TAX
       CONSEQUENCES OF BECOMING A LAWFUL PERMANENT RESIDENT OF THE UNITED STATES,
       AND, FURTHER, OF INVESTING IN, OWNING AND DISPOSING OF THE INTERESTS, AND ALL
       OTHER TAX CONSEQUENCES IN CONNECTION WITH AN INVESTMENT IN THE PARTNERSHIP.

       THE FOLLOWING DISCUSSION 15 NOT TAX ADVICE. PROSPECTIVE INVESTORS ARE STRONGLY
       URGED TO CONSULT THEIR OWN TAX ADVISORS WITH RESPECT TO THE TAX CONSEQUENCES
       OF AN INVESTMENT IN THE PARTNERSHIP.

             No federal income tax ruling will be requested from the IRS with respect to any of the income tax
       consequences or federal estate tax consequences related to the Partnership's activities or an investors
       ownership of a Interest. Therefore, a material risk exists that, upon audit, certain items of deduction may be


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        disallowed in whole or in part or required to be capitalized by the Partnership. It is presently intended that
        the Partnership's tax filings will be prepared based upon interpretations of tax law deemed to be most
        favorable to the majority of investors. However, it will be the responsibility of each investor to prepare and
        file all appropriate tax returns that he or she may be required to file as a result of his or her participation in
        the Partnership. EACH PROSPECTIVE INVESTOR IS STRONGLY URGED TO CONSULT WITH HIS OR
        HER OWN TAX ADVISOR AND COUNSEL WITH RESPECT TO ALL TAX ASPECTS OF THE
        ACQUISITION AND OWNERSHIP OF AN INTEREST IN THE PARTNERSHIP.

        United States Tax Status

                The Partnership will be classified for U.S. federal income tax purposes as a partnership rather than as
        an association taxable as a corporation under currently applicable tax laws. This classification, however, is
        not binding on the IRS or the courts, and no ruling has been, or will be, requested from the IRS. No
        assurance can be given that the IRS will concur with such classification or the tax consequences set forth
        below. This summary also does not discuss all of the tax consequences that may be relevant to a particular
        investor or to certain investors subject to special treatment under the federal income tax laws, including
        financial institutions, insurance companies, tax-exempt investors or non-U.S. Limited Partners. Moreover,
        this summary does not address the U.S. federal estate and gift tax or altemative minimum tax consequences
        of the acquisition, ownership, disposition or withdrawal of an investment in the Partnership.

        Certain Considerations for U.S Investors

               The following discussion summarizes certain significant U.S. federal income tax consequences to an
       investor who: (a)owns, directly or indirectly through a partnership or other flow-through entity, an interest as
       a U.S. taxpayer; (b) is, with respect to the United States, a citizen or resident individual, a domestic
       corporation, an estate, the income of which is subject to U.S. federal income taxation regardless of its
       source, or a trust for which a court in the United States is able to exercise primary supervision over its
       administration and one or more United States persons have the authority to control all substantial decisions,
       as such terms are defined for U.S. federal income tax purposes; and (c) is not tax-exempt. An investor
       meeting the foregoing criteria is referred to herein as a "U.S. Investor."

        Taxation of Partnership Income, Gain and Loss

                 The Partnership will not pay U.S. federal income taxes, but each Limited Partner will be required to
       report his or her allocable share (whether or not distributed) of the income, gains, losses, deductions and
       credits of the Partnership on such Limited Partner's income tax return. It is possible that the investors could
       incur income tax liabilities without receiving from the Partnership sufficient cash distributions to defray such
       tax liabilities. Each investor is required to take into account in computing his or her federal income tax
       liability, and to report separately on his or her own federal income tax return, his or her distributive share of
       the Partnership's income, gain, loss, deductibility and credit for any taxable year of the Partnership ending
       within or with the taxable year of such investor.

               Pursuant to the limited Partnership Agreement, items of the Partnership's taxable income, gain, loss,
       deduction and credit are allocated so as to take into account the varying interests of the investors over the
       term of the Partnership. The Limited Partnership Agreement will contain provisions intended to comply
       substantially with IRS regulations describing partnership allocations that will be treated as having "substantial
       economic effect," and hence be respected, for tax purposes. However, those regulations are extremely
       complex, and there can be no assurance that the allocations of income, deduction, loss and gain for tax
       purposes made pursuant to the Limited Partnership Agreement will be respected by the IRS if reviewed. It is
       possible that the IRS could challenge the Partnership's allocations as not being in compliance with applicable




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       Treasury regulations. Any resulting reallocation of tax items may have adverse tax and financial
       consequences to a Limited Partner_

              The Partnership's tax year will be the calendar year, or such other year as required by the Code. Tax
       information will be distributed to each investor as soon as reasonably practicable after the end of the year.

       Investment Interest and Passive Activity Limitations

               There are limits on the deduction of "investment interest," (i.e., "interest for indebtedness properly
       allocable to property held for investment"). In general, investment interest will be deductible only to the
       extent of the taxpayer's "net investment income." For this purpose "net investment income" will generally
       include net income from the Partnership and other income from property held for investment (other than
       income treated as passive business income). However, long-term capital gain is excluded from the definition
       of net investment income unless the taxpayer makes a special election to treat such gain as ordinary income
       rather than long-term capital gain_ Interest which is not deductible in the year incurred because of the
       investment interest limitation may be carried forward and deducted in a future year in which the taxpayer has
       sufficient investment income. The Partnership will report separately to each investor his or her distributive
       share of the investrnent interest expense of the Partnership, and each investor must determine separately
       the extent to which such expense is deductible on the investor's tax return.

               Non-corporate investors(and certain closely held, personal service and S corporations) are subject to
       limitations on using losses from passive business activities to offset active business income, compensation
       income, and portfolio income (e.g., interest, dividends, capital gains from portfolio investment, royalties, etc.).
       The Partnership's distributive share of income or losses generally may be treated as passive activity income
       or losses. Accordingly, an investor will be subject to the passive activity loss limitations on the use of any
       allowable Partnership losses and allocable Partnership expenses.

       Deductibility of Partnership Investment Expenditures and Certain Other Expenditures

               Investment expenses of an individual, trust or estate are deductible only to the extent they exceed 2%
       of the taxpayer's adjusted gross income for the particular taxable year. In addition, the Code further restricts
       the ability of individuals with an adjusted gross income in excess of a specified amount to deduct such
       investment expenses. Moreover, such investment expenses are miscellaneous itemized deductions which
       are not deductible by a noncorporate taxpayer in calculating such taxpayer's alternative minimum tax liability.

                These limitations on deductibility may apply to a Limited Partner's share of the trade or business
       expenses of the Partnership. The Partnership may make an allocation of its expenses among its various
       activities. There can be no assurance that any of its expenses will be considered trade or business
       expenses nor can there be any assurance that the IRS will agree with any allocation made by the
       Partnership.

               A Limited Partner will not be allowed to deduct syndication expenses attributable to the acquisition of
       Interests that are paid by such Limited Partner or the Partnership. Any such amounts will be included in the
       Limited Partner's adjusted tax basis for his or her Interests.

              The consequences of these limitations will vary depending upon the particular tax situation of each
       taxpayer. Accordingly, Limited Partners should consult their own tax advisors with respect to the application
       of these limitations and on the deductibility of their share of items of loss and expense of the Partnership.




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       Application of Basis and "At Risk"Limitations on Deductions
                                                                                                                investor's
                The amount of any loss of the Partnership that an investor is entitled to deduct on such
                             limited to such  investor's adjusted  tax basis in his or her Interests as of the end of the
       income tax return is
                                                                                                                         for.
       Partnership's taxable year in which such Toss is incurred. Generally, an investor's adjusted tax basis
                                               the amount    paid for such Interests,  increased  by the sum   of (i)  such
       such investor's Interests is equal to
                                                                                                                  (ii) such
       investor's share of the Partnership's liabilities, as determined for federal income tax purposes, and
                                                               realized  income    and  gains,  and  decreased   (but    not
       investor's distributive share of the Partnership's
                                     (a)  distributions (including  decreases   in such  investor's share  of Partnership
       below zero) by the sum of
                                                                                                            share of the
       liabilities) made by the Partnership to such investor and (b) such investor's distributive
       Partnership's losses and expenses.
                                                                                                   taxpayers and closely
              An investor that is subject to the "at risk" limitations (generally, non-corporate
                                not deduct    tosses  of the Partnership   to the  extent that they  exceed the amount
       held corporations) may
       such investor has "at risk" with respect to such investor's      Interests  at the end  of the  year. The amount
                                           generally   be the  same    as  such   Limited Partner's   adjusted     basis as
       that an investor has "at risk" will
                           except    that  it  will generally not  include  any amount    attributable  to liabilities of the
       described above,
                                                                        property)   or  any  amount     borrowed      by  the
       Partnership (other than certain loans secured by real
       investor on a non- recourse basis.
                                                                                                     forward in
             Losses denied under the basis or "at risk" limitations are suspended and may be carried
       subsequent taxable years, subject to these and other applicable limitations.

       Certain U.S. Tax Considerations for Foreign Investors
                                                                                                           Investor in the
              The U.S. federal income tax treatment of a non-resident alien investing as an
       Partnership (a "non-U.S. Investor") is complex and will vary depending        on  the circumstances   and activities
       of such investor and the Partnership. Each non-U.S.        Investor is urged   to consult  with his or her own tax
                              U.S. federal, state, local and foreign income,  estate  and  other  tax consequences    of an
       advisor regarding the
                                                                              that a  non-U.S.   Investor is not subject to
       investment in the Partnership. The following discussion assumes
                                        result of the  investor's presence  or activities in the United States   other than
       U.S. federal income taxes as a
       as an investor in the Partnership.

        Withholding
                                                                                                                of thirty
              A non-U.S. investor will generally be subject to U.S. federal withholding taxes at the rate
                                                                                           or her  share  of Partnership
       percent(30%)(or such lower rate provided by an applicable tax treaty) on his
                                                                                                         meaning of the
       income from dividends interest(other than interest that constitutes portfolio interest within the
       Code) and certain other income.
                                                                                                                    non-
                The Partnership may be deemed to be engaged in a U.S. trade or business. In such event, a
                                                                                                                such a
       U.S. Investor's share of Partnership income and gains will be deemed "effectively connected" with
                                                                                                          be subject to
       U.S. trade or business of the Partnership (including operating income from Partnership) and will
                       graduated U.S. federal income  tax rates. A non-U.S. Investor generally will be required to file a
       tax at normal
                                                                                        effectively connected  income.
       U.S. federal income tax return with respect to the non-U.S. Investor's share of
                                                                                                            be required
       If the Partnership is deemed to be engaged in a U.S. trade or business,then the Partnership will
                                 income  tax with respect to the non-U.S. Investor's share of Partnership  income    that
       to withhold U.S. federal
       is effectively connected income.

       Backup Withholding




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                                                                                                                portions
              Backup withholding of U.S. tax, currently at a rate of 28%, may apply to distributions or
                                               Partners   who  fail to  provide  the Partnership with certain identifying
       thereof by the Partnership to Limited
                                                                                                                     with
       information, such as a Limited Partner's taxpayer identification number. A U.S. Investor may comply
                                                         Partnership   with a duly executed  IRS Form  W-9,  Request  for
       these identification procedures by providing the
                                 Number   and   Certification.   Non-U.S.     Investors may   comply  by  providing   the
       Taxpayer Identification
       Partnership with a duly executed IRS Form W-8BEN or other appropriate IRS Forrn W-8.

       Estate Tax

               Additionally, each non-U.S. Investor is subject to U.S. estate tax on his or her interest in the
                                                                                                          under the Internal
       Partnership. 1f at the time of death, the non-U.S. investor remains a non-U.S. resident
       Revenue Code, a non-U.S. Investor      may  pass, free  of U.S. estate  tax, the first $60,000   of U.S. situs assets.
       The value   in excess of this $60,000  exemption  will be subject  to federal estate   tax at a 35%   rate, which rate
                                                         related  to this matter  is not  renewed.     Treaties  and various
       may change after 2012 if the current tax law
                                 or eliminate the estate tax, but no  assurance  can  be  made    that a treaty or exemption
       exemptions may reduce
       will apply.
                                                                                                                     based
               The United States charges income and estate tax on all U.S. citizens and permanent residents
                                               various exemptions  eliminate  some   but not  all of  the  risk  of double
       on worldwide income. Treaties and
                                                                                                              states raise
       taxation. Each state in the United States has its own separate income tax system. All but four
                                                                             tax effects of becoming     a  U.S.  resident
       revenue through state income tax. Investors should consider the
                                           (i.e., non-U.S. persons) that  become   permanent    residents   of  the United
       before investing. Foreign persons
                        are  subject to U.S. federal income tax on their worldwide  income   in the  same    manner as a
       States generally
                                                                                                          person should
       U.S. citizen. Prior to making an investment in the Partnership, an investor that is not a U.S.
       consult with his or   her  non-U.S.  tax  advisors with regard  to  the consequences      of  becoming     a lawful
       permanent resident of the United States.
                                                                                                                     investor
               This Memorandum does not address all of the U.S. federal income tax consequences to the
                                                            address  any  of the state  or local tax  consequences    of such
       of an investment in the Partnership, and does not
                                          all of the United States  or foreign tax  consequences      of such  an investment
       an investment to any investor, or
                                                                                                                consult his or
       to any Limited Partner that is not a United States person or entity. Each investor is advised to
                                                     income  tax consequences     of an investment    in the Partnership  and
       her own tax counsel as to the U.S. federal
                        state, local and foreign   taxes. Special  considerations     may  apply   to investors  who  are  not
       as to applicable
                                                                                 consult  his or  her  own  tax advisors  with
       United States persons or entities and such investors are advised to
       regard to the United States, state, local and foreign tax consequences of an investment in the Partnership.

               It is anticipated that upon the acceptance of an investor's 1-526 Petition and the issuance of a
                                                                                                         be subject
       temporary resident visa, such investor will automatically become a United States taxpayer and not
                                                                    such investor's tax status would change  in the
       to the tax treatment afforded non-resident persons unless
       future.

       State and Local Taxes
                                                                                                                      the
              Investors should consider the potential state and local tax consequences of an investment in
                                                  its own state or locality of residence,   an investor may  be subject to
       Partnership. In addition to being taxed in
                  filing obligations and income,  franchise and  other  taxes   in jurisdictions in which the PartnerShip
       tax return
                                                                                                                       an
       operates. Investors should consult their tax advisers regarding the state and local tax consequences of
       investment in the Partnership.




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        Disposition of the Interests

               There are limitations on the transfer, assignment or disposition of the Interests. Generally, a U.S.
       Investor will recognize capital gain or loss on the sale, redemption, exchange or other taxable disposition of
       an interest in the Partnership, excluding amounts attributable to interest(which will be recognized as ordinary
       interest income) to the extent the U.S. Investor has not previously included the accrued interest income: The
       deductibility of capital losses may be subject to limitation. The consequences of the limitations will vary
       depending on the tax situation of each taxpayer. Accordingly, each Limited Partner should consult their own
       tax advisors with respect to these limitations.

               Any gain from the sale or disposition of the Interests by a non-U.S. Investor will generally be treated
       as gain or loss effectively connected with a trade or business in the United States and would be subject to
       federal net income tax. Accordingly, each non-U.S. Investor should consult their own tax advisors prior to
       the sale or disposition of an Interest in the Partnership.

       Possible IRS Challenges; Tax Audits.

                Investors should be aware that the IRS may challenge the Partnership's treatment of items of income,
       gain loss, deduction and credit, or its characterization of the Partnership's transactions, and that any such
       challenge, if successful, could result in the imposition of additional taxes, penalties and interest charges. The
       General Partner decides how to report the items on the Partnership's tax returns. In the event the income tax
       returns of the Partnership are audited by the IRS, the tax treatment of the Partnership's income and
       deductions generally is determined at the partnership level in a single proceeding rather than by individual
       audits of the Limited Partners. If the IRS audits the Partnership's tax returns, however, an audit of the
       Limited Partner's own tax returns may result. The General Partner, designated as the "Tax Matters Partner,'
       has considerable authority to make decisions affecting the tax treatment and procedural rights of all Limited
       Partners. In addition, the Tax Matters Partner has the authority to bind certain Limited Partners to settlement
       agreements and the right on behalf of all investors to extend the statute of limitations relating to the investors'
       tax liabilities with respect to Partnership items. The legal and accounting costs incurred in connection with
       any audit of the Partnership's tax returns will be paid off by the Partnership, but each Limited Partner will
       bear the cost of audits of his or her own return.

       Possible Legislative or Other Action Affecting Tax Aspects

               The foregoing discussion is only a summary and is based upon existing U.S. federal income tax law.
       Investors should recognize that the U.S. federal income tax treatment of an investment in Interests may be
       modified at any time by legislative, judicial or administrative action. Any such changes may have retroactive
       effect with respect to existing transactions and investments and may modify the statements made above.
       The rules dealing with U.S. federal income taxation are constantly under review by persons involved in the
       legislative process and by the IRS and the Treasury Department, resulting in revisions of Treasury
       Department regulations and revised interpretations of established concepts as well as statutory changes.
       Revisions in U.S. federal tax laws and interpretations thereof could adversely affect the tax aspects of an
       investment in the Partnership. There can be no assurance that legislation will not be enacted that has an
       unfavorable effect on an investor's investment in the Partnership.

       EACH INVESTOR NEEDS TO BE AWARE THAT CHANGES TO U.S. FEDERAL AND STATE TAX LAWS
       AND RATES ARE SCHEDULED BEGINNING JANUARY 1, 2013 THAT MAY EFFECT THE ABOVE
       ASSUMPTIONS. EACH INVESTOR NEEDS TO CONSULT WITH HIS OR HER OWN TAX ADVISOR AND
       COUNSEL WITH RESPECT TO THE IMPACT AND TAX CONSEQUENCES SUCH CHANGES WILL
       HAVE ON EACH INVESTOR'S ACQUISITION AND OWNERSHIP OF A UNIT.




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       TRANSFER RESTRICTIONS

       The Offering of the Limited Partnership Interests has not been registered with the Securities and Exchange
       Commission pursuant to the Securities Act of 1933 or any applicable state securities laws. the Offering is
       restricted to a limited number of individuals who are either U.S. citizens, current U.S. lawful permanent
       residents, or foreign investors resident and living in the United States in valid immigration status, thereby
       causing Regulation D of the Act to apply in connection with a purchase, or foreign investors without valid
       immigration status who must represent to the Limited Partnership that they are not resident in the United
       States at the time of the offer, will not be resident in the United States at the time of the sale, and are not
       acquiring the Limited Partnership Interest for the benefit of a United States person, as that term is defined in
       Regulation S. The investor understands that he or she may not offer to sell, or sell, a Limited Partnership
       Interest unless it is registered under the Securities Act of 1933 and any applicable state securities regulations
       or an exemption is available from the registration requirements, and that the purchasing investor's wealth or
       income qualify him or her as a suitable purchaser.

       To preserve the exemptions from registration under federal and state securities laws, pursuant to which
       exemptions purchase of the Limited Partnership Interests are being offered, subsequent sales of the Limited
       Partnership Interests are restricted to buyers who qualify as "accredited investors," as described in rule 501
       of the Securities And Exchange Commission or whose purchase otherwise will not require registration of the
       Limited Partnership Interests. There are additional matters conceming transfer restrictions under the terms of
       the Limited Partnership Agreement, and all purchasers should review Article 10 of the said Agreement for
       specific restrictions. Certificates evidencing the Limited Partnership Interests will bear a legend describing
       the transfer restrictions.


       EXIT STRATEGIES

                It is projected that after at least five (5) years of operations an exit strategy will be considered by the
       General Partner in its sole discretion, whereby individual Limited Partners' Interests may be repurchased
       over time as conditions warrant. In no event, however, will any funds invested into the Offering and Project, if
       at all, be used to repurchase Limited Partners' Interests prior to the time that all 1-829 petitions filed under the
       EB-5 program for all qualified investors who have invested into the Partnership have been adjudicated, with
       any appeals having been decided. The income from operation of the Project is projected to generate
       sufficient cash flow to enable the Limited Partnership to eventually repurchase Limited Partners' Interests,
       but other options will be explored as well, including without limitation the subdivision of clean rooms into
       separate condominium units for sale by the Limited Partnership or the sale of the business operations.

             Without limiting the foregoing, no interests of EB-5 Investors will be repurchased or otherwise
       acquired by the Limited Partnership unless such acquisition of investor limited partnership interests
       complies with the requirements of United States immigration EB-5 laws and regulations.

             Each Limited Partner is hereby deemed to acknowledge and agree by their signed Consent to
       the Limited Partnership Agreement and investment into the Partnership that nothing outlined or
       discussed in the Offering constitutes a promise or guaranty of the redemption of his interest or the
       repayment of said Limited Partner's Investment.




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                Limited Partners may sustain a capital gain or loss regardless when, how and If any exit
        strategy is pursued by the General Partner. Nothing in the Offering shall be construed as an offer to
        the investor or an agreement with the investor, made now or to be made in the future, to provide the
        return of investor capital, in whole or in part, to the investor or the investor's nominee now or at any
        time in the future.


                             RISK FACTORS(ALSO SEE IMMIGRATION RISK FACTORS)

        The Limited Partnership Interests described in this Offering Memorandum involve a degree of risk. Among
        the risk factors that a prospective purchaser should carefully consider are the following (this list is not
        exhaustive):

        Purchase of the Limited Partnership Interests is limited to those who have attained the age of at least 18
        years and all of whom must purchase for investment and not with a view to resale. A declaration,
        representation and covenant to this effect are required to be made in the Subscription Agreement.

        The Limited Partnership Interests will not be registered under the Securities Act of 1933 or under any state
        laws and, in offering the Limited Partnership Interests, the Limited Partnership will rely on one or more
        exemptions from registration.

       There will be restrictions on the ability of a purchaser to sell his Limited Partnership Interest. No resale can
       occur within one year from the date of the first offer. Any resale must be made pursuant to Regulation S or
       Regulation D as is applicable or after registration of the Limited Partnership Interests pursuant to the
       Securities Act of 1933 and any applicable state laws or pursuant to an exemption from the registration
       requirements. Certificates evidencing Limited Partnership Interests will carry a legend to the effect that
       transfers of the Limited Partnership Interests are prohibited unless in compliance with the foregoing. The
       Limited Partnership will refuse to register a transfer not made in accordance with Regulation D or Regulation
       S and any applicable state laws, unless the transfer is made after registration under the Securities Act of
       1933 and any applicable state laws or is otherwise exemptfrom registration. These restrictions may render it
       difficult or impossible to locate a prospective purchaser if and when an owner wishes to sell his Limited
       Partnership Interest.

       There is no public market for the sale and purchase of the Limited Partnership Interests. These interests are
       not readily transferable. There are restrictions on the sale of the Limited Partnership Interests. There may
       be no market for resale of these Limited Partnership Interests. There can be no assurances that a purchaser
       can be found if and when an owner wishes to sell his interest. A purchaser may never be able to liquidate
       his investment in the Limited Partnership.

       The Limited Partnership is a limited partnership created pursuant to Vermont law. The rights of limited
       partners in a limited partnership differ materially from the rights of partners in a general partnership or
       shareholders in corporations.

       The Partnership's investment in the Project will be subject to the risks related to, and forming a part of, the
       ownership. These include but are not limited to uncertainty of cash flow to meet fixed obligations, adverse
       changes in general, national or local economic conditions, changes in governmental rules and or fiscal
       policies, adverse economic conditions, adverse changes in interest rates and taxes, reduction in the cost of
       operating competing businesses and products, relative appeal of competing businesses and products,



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                                                                                                                  within
                                                                Products, and other factors referenced elsewhere
       changes in legislation, reduced demand for AnC Bio                         Limited  Partnership and the  General
                                                      beyond the control of the
       the risk factors, many if not all of which are
       Partner.
                                                                                                          to the owners
                                                          will have certain powers and rights not granted
       The General Partner of the Limited Partnership
       of the Limited Partnership Interests.
                                                                                                                  market
                                                       distributions to the Limited Partners is dependent on Venture
       Whether the Limited Partnership can make                                            expenses,  the Joint
                                                            operating costs, Partnership
        conditions, demand for the AnC Bio Products,             the General Partner's determination whether or
                                                                                                                 to what
                          numerous   other factors which  affect
        Agreement, and
                                                         Partners.
        extent distributions should be made to Limited
                                                                                                                 the Limited
                                                      provide the management for the Project on behalf of it may be
        The General Partner or its designee will                  elects to cease   being  the General   Partner,
        Partnership_ If AnC Bio Vermont GP Services LLC
        difficult to find a replacement
                                                                                                           to, terrorism and
                                                           may not be insurable such as, but not limited
        Insurance: certain risks related to the ProjectPartnership    could suffer loss of capital and profits.
        acts of god. tf an uninsurable loss occurs the
                                                                                                                      Limited
                                                                    Joint Venture Entity, General Partner and
        Dependence on key personnel: the Joint Venturer,                   Stenger   and   Ariel Quiros.  The   loss  of said
                                                               of William
         Partnership will rely on the active participation         effect on the Limited Partnership.
        individuals' services   could create a significant adverse

                                                                                                               of the date of
                                                         future results based on information available as
         The financial forecasts contain estimates of                                        However,   no  representation  is
                                                         Partner believes are reasonable.
         this Offering Memorandum that the General                                 income   or loss from the Project
                                                      of the amount of any future
         or can be made as to future operations or
                                                                                                                      entering
                                                               Newport. Vermont, USA. There may be delays in
        The Project involves real estate development in permits, in construction timetables due to adverse weather
        into satisfactory real estate arrangements, getting control of the General Partner. Any delays may affect the
        conditions or otherwise, either within or beyond the                                               of return.
                                                          may increase costs and reduce projected rate
        ability of the Project to generate cash flow or
                                                                                                                    generally,
                                                                the State of Vermont, of the United States
        Future value of the Project: the economy of the success of producing and marketing products from
                                                       changes,
        demographic changes, interest rates, tax                                                             and many other
             Project,  the success   in securing  third  parties to operate clean rooms at the facility,Project assets will
        the                                              Project assets.  There is no assurance   that the
        factors wilt determine the future value of the
         hold or increase  in value.
                                                                                                                    and other
                                                        financial projections, sources of funds, time frames
         While the General Partner believes the                                                  concerning    certain  factors
                                                                upon reasonable assumptions
         information within the business plan are based     Partnership and the   Project, purchasers  should   recognize  that
         affecting the probable future operations of the                                              AnC   Bio  Products  and
                                                       about gross revenues from the sale of the
         the financial forecasts make assumptions                                          Although  the Limited   Partnership
                                                              to substantial fluctuation.
         operation of the clean rooms which are subject               prospective purchasers should be aware that there
                                                                                                                             is
                                             to  be unreasonable,
         does not believe such projections                                                                 projections  are not
                                                            be achieved or maintained. If such sales
         no assurance that such sales projections will    favorable  than those projected. No assurance can be
                                                                                                                     made that
         achieved, the operating results may be less                    wamed   against  placing excessive   reliance  on such
                                                      purchasers are
         these forecasts will prove accurate, and                Partnership.
         information when deciding whether to invest in the


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                                                                    of a sale of   his Limited Partnership Interest.
       An investor may suffer adverse tax consequences in the event

                                                                          an operating history.
       The Limited Partnership is a startup business that does not have

                                                                Limited Partnership obtaining sufficient capital to
       The Limited Partnership's business is dependent upon the
       invest into the Project.

                                                                          financing and uses it as described in the
       Even if the Limited Partnership obtains its $110,000,000.00 equity
                                                                 assurance  that any operations will result in the
       Financial Data and Business Plan, there can be no
       anticipated revenues or net income to the  Limited Partnership.

                                                                           market: investors who purchase securities
       Restricted securities, long term nature of investment and no public
                                                            investment for an indefinite period because the securities
       in this Offering must bear the economic risk of the
                                                                       state laws, and therefore cannot be sold in the
       have not been registered under the 1933 Securities Act or any
                                        subsequently   registered under the 1933 Securities Act and any applicable
       public market unless they are
       state laws or an exemption from such registration is available.

                                                                  statements.
       The Limited Partnership has not prepared audited financial

                                                             represent the interests of the Limited Partners. Each
       No independent counsel has been retained to
       prospective purchaser should consult with his own    counsel   as to the terms of the Partnership Agreement and
                                                                        Business Plan and exhibits thereto.
       exhibits thereto, and their financial and tax advisers as to the

                                                                          VT and will contribute intellectual property
       The Joint Venturer will be a wholly owned subsidiary of AnC Bio
                                                                Existing Asian AnC Entity or AnC Bio VT. The Joint
       and technology licensed to it or contracted for from the
       Venturer is a startup business that has no operating    history and will be dependent on AnC Bio VT for its
       capital.

                                                                        ownership and business ties to the Existing
        AnC Bio VT is an existing business in the State of Vermont with
                                                             management   of the Existing Asian AnC Entity for more
        Asian AnC Entity and who have been involved in the
        than 12 years.

                                                                                 many years, but has no presence in
        The Existing Asian AnC Entity has been in existence in South Korea for
                                                                     intellectual property and technology from the
        the United States. The Project is dependent on obtaining
                                                                    and  manufacture the AnC Bio Products that will
        Existing Asian AnC Entity or AnC Bio VT in order to develop
        be distributed worldwide by the Joint Venture Entity.

                                                                       distribution rights from the Existing Asian AnC
        The Project is also dependent on the NCE obtaining certain
                                                                              rights to the joint venture.
        Entity or AnC Bio VT in order for NCE to contribute such distribution

                                                                        and the Joint Venturer, It will be a startup
        The Joint Venture Entity will be wholly owned by the NCE
                                                                             and the Joint Venturer for its capital.
        business with no operating history that will be dependent on the NCE

                                                           referenced in the Offering Memorandum have not been
        Certain of the business and operational agreements
                                                                        being negotiated, executed and performed
        executed yet and the Project is dependent on these agreements
                                                            the Purchase  and Sale Agreement, the Joint Venture
        under. These agreements include without limitation


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        Agreement and agreements relating to distribution rights, intellectual property and technology transfers,


       TAX RISKS:

       PURSUANT TO INTERNAL REVENUE SERVICE CIRCULAR NO. 230, BE ADVISED THAT ANY
       FEDERAL TAX ADVICE IN THIS COMMUNICATION, INCLUDING ANY ATTACHMENTS OR
       ENCLOSURES, WAS NOT INTENDED OR WRITTEN TO BE USED, AND IT CANNOT BE USED BY ANY
       PERSON OR ENTITY TAXPAYER, FOR THE PURPOSE OF AVOIDING ANY INTERNAL REVENUE
       CODE PENALTIES THAT MAY BE IMPOSED ON SUCH PERSON OR ENTITY. SUCH ADVICE WAS
       WRITTEN TO SUPPORT THE PROMOTION OR MARKETING OF THE TRANSACTION(S) OR
       MATTER(S) ADDRESSED BY THE WRITTEN ADVICE. EACH PROSPECTIVE INVESTOR SHOULD
       SEEK ADVICE BASED ON ITS PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX
       ADVISOR.

       PROSPECTIVE INVESTORS SHOULD CONSULT THEIR OWN TAX ADVISORS WITH RESPECT TO
       THE TAX CONSEQUENCES(INCLUDING U.S. FEDERAL, STATE AND LOCAL TAX CONSEQUENCES
       AND NON-U.S. TAX CONSEQUENCES) OF AN INVESTMENT IN THE PARTNERSHIP. UNLESS
       WAIVED BY THE MANAGER IN ITS SOLE DISCRETION, INTERESTS IN THE PARTNERSHIP ARE
       ONLY BEING SOLD TO ACCREDITED INVESTORS WHO HAVE REPRESENTED THAT THEY ARE
       RELYING, IF AT ALL, SOLELY UPON THE ADVICE OF THEIR OWN ADVISORS WITH RESPECT TO
       LEGAL, IMMIGRATION, TAX, BUSINESS, FINANCIAL AND OTHER ASPECTS OF AN INVESTMENT IN
       THE PARTNERSHIP.

                There are various U.S. federal and state income tax risks associated with an investment in the
       Interests. Some, but not all, of the various risks associated with the federal income tax aspects of the
       Offering of which prospective Investors should be aware are set forth below. The effect of certain tax
       consequences on an investor will depend, in part, on other items in the investor's tax return. No attempt is
       made herein to discuss or evaluate the state or local tax effects on any investor. Each investor is urged to
       consult the investor's own tax advisor concerning the effects of federal, state and local income tax laws on an
       investment in the Interests and on the investor's individual tax situation. Neither the General Partner nor its
       affiliates nor counsel for AnC Bio, the Joint Venturer, the Joint Venture Entity or the Partnership has provided
       any tax (or other legal) advice to any holder of Interests or prospective Investors. The following discussion is
       not tax advice. This summary does not discuss the impact of various proposals to amend the Intemai
       Revenue Code, which could change certain of the tax consequences of an investment in the Partnership.

               1.     There are Risks Related to the Status of the Partnership for Federal and State Income Tax
      Purposes. The Partnership has been organized as a limited partnership under the laws of the State of
       Vermont. The Partnership will not apply for a ruling from the Internal Revenue Service (the'IRS") that it will
      be treated as a partnership for federal income tax purposes, but intends to file its tax returns as a partnership
      for federal and state income tax purposes. Investors should recognize that many of the advantages and
      economic benefits of an investment in the Interests depend upon the classification of the Partnership as a
      partnership (rather than as an association taxable as a corporation) for federal income tax purposes. A
      change in this classification would require the Partnership to pay a corporate level tax on its income which
      would reduce cash available to fund distributions to investors, prevent the flow-through of tax benefits, if any,
      for use on investors' personal tax returns, and could require that distributions be treated as dividends, which
      together could materially reduce the yield from an investment in the Partnership. In addition, such a change
      in the Partnership's tax status during the life of the Partnership could be treated by the IRS as a taxable
      event, in which event the investors could have tax liability without receiving a cash distribution from the
      Partnership to enable them to pay such tax liability. The discussion herein assumes that the Partnership will
      at all times be treated as a partnership for federal tax purposes. The continued treatment of the Partnership


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                                                            regulations, which are subject to change, although there is
       as a partnership is dependent on present law and
                                                          contemplated that would otherwise affect the Partnership's
       no current legislation in existence or presently                   tax purposes.
       classification as a partnership for U.S. federal and state income

                                                                                 Income Tax Liability In Excess of Cash
               2.      Investors may have Possible Federal and State
                                                                 investor's  allocable  share of the Partnership's taxable
       Distributions, Each investor will be taxed on the
                                                           distributes cash to investors. Investors should be aware that
       income, regardless of whether the Partnership
                                                                      distributions in an amount necessary to pay income
       although the Partnership will use its best efforts to make
                                                              rate  on  the Partnership's taxable income, the federal and
       tax at the highest effective individual income tax
                                                                     of the Partnership's taxable income may exceed
       state income tax on an investor's allocable share
                                                                             the Partnership's cash distributions is subject
       distributions to such investor. An investor's allocable share of distribution exceeds an investor's tax basis
                                                             amount of such
       to federal income taxation only to the extent the
                               time of the  distribution. Additionally,  distributions that exceed the amount for which an
       in its Interests at the
                                                               activity could  cause a recapture of previous losses, if any.
       investor is considered "at-risk" with respect to the
                                                              sufficient basis or amounts "at-risk" to prevent allocated
       There is a risk that an investor may not have
                                                                         Partnership expenses allocable to certain Limited
       amounts from being taxable. The deductibility of various
                                                                        income tax purposes. It is possible that losses of
       Partners may be subject to various limits for U.S. federal
                                                            Partnership could exceed income in a given year. Any such
       the Partnership or of a particular activity of the
                                                          subject Limited Partners to limits on deductions for losses.
       losses may be passive losses, which may
                                                                    subject to limitations. Limited Partners should consult
        Additionally, the deductibility of capital losses are also
                                                                       the deductibility of their allocable share of items of
        their own tax advisers regarding potential limitations on               will be required to report on his or her own
                                                             Limited   Partner
       losses and expenses of the Partnership. Each
                                                                     Partnership's income, gains, losses, deductions and
        U.S. federal income tax return his or her share of the
                                                                whether   or not cash or other property is distributed to that
        credits for the taxable year of the Limited Partner,
        Limited Partner.

                                                                                            The Partnership will file an
               3.      information Reporting to Limited Partners by the Partnership.
                                                                 information on Schedule K-1 to each Limited Partner
        information return on IRS Form 1065 and will provide
                                                                 Delivery of this information by the Partnership will be
        following the close of the Partnership's taxable year.
                                                                 necessary tax information from an entity in which the
        subject to delay in the event of the late receipt of any
                                                                      in any taxable year, Limited Partners will need to
        Partnership holds an interest. It is therefore possible that,
        apply for extensions of time to file their tax returns.

                                                                           the General Partner. Any audit of items of
                4.     Tax Auditing Procedures will be under Control of
                                                                 administered at the Partnership level. The decisions
        income, gain, loss or credits of the Partnership will be
                                                               matters will be made in good faith consistent with the
        made by the General Partner with respect to such
                                                                     and to the investors, but may have an adverse
        General Partner's fiduciary duties to both the Partnership
        affect upon the tax liabilities of the investors.
                                                                                        Adversely Affect Investors.
               5.     Changes in Federal and State Income Tax Laws and Policies may          administrative policies
                                                            state income tax laws  and  IRS
        There can be no assurance that U.S. federal and             Memorandum   will not be  changed in a manner
        respecting the income tax consequences described in    this
        which adversely affects the interests of investors.

                                         ABSOLUTELY NECESSARY THAT EACH AND EVERY
        IN VIEW OF THE FOREGOING, IT IS                   OWN ATTORNEYS,            TANTS
                                SULT WITH THE                               ANDOR'S
        PROSPECTIVE                                              ACCOUNTING         OTHER
                                              TO THETLEGAL, TAX,
        AND OTHER PROFESSIONALNADVISRS AS
        CONSEQUENCES OF AN INVESTMENT IN THE INTERESTS.



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   U.S. IMMIGRATION OVERVIEW FOR EB-5, ALIEN ENTREPRENEUR INVESTORS

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The immigration information provided in this Offering Memorandum is not intended to be, should not be

considered as and is not legal advice to the foreign investor. Each foreign investor must consult

independent immigration counsel regarding U.S. immigration law implications, strategies, admonitions,

benefits, if any, and all other immigration-related issues regarding the investor and the investor's qualifying
family members.

Eta-5 OVERVIEW

The EB-5, employment-based visa preference, is intended to encourage the flow of capital into the U-S.

economy and to promote employment of U.S. workers. To accomplish these goals and so that foreign

investors may obtain immigration benefits for having made an investment, the Program mandates the
minimum capital that foreign investors must contribute and it mandates that 10 full-time employment

positions be created on account of each investment. In addition to the return that investors hope to achieve

on their investment, foreign investors and their qualifying family members are offered the prospect of lawful

permanent residence in the United States, provided they satisfy the requirements of the EB-5 Program.

The Project has been structured In an effort to assist investors to meet the requirements of the EB-5

Program under the act and qualify via investment in this Project to become eligible for admission to the
United States of America as lawful permanent residents with the investor's qualifying family members,

although there is no assurance that this result will be obtained.

The Project expects to qualify under separate provisions in the law that permit (1) a reduced investment, relying

upon the presence of the principal place of business of the E13-5 enterprise within a Targeted Employment

Area (TEA); and, (2) reliance, in whole or in part, upon indirect creation of employment positions, a
privilege granted to EB-5 projects that are within and affiliated with an approved Regional Center, in this

instance, the Vermont Regional Center authorized by the act under a Pilot Program. (see Immigration Risk

Factors) Qualification of the Project structure and compliance with the law is determined by the USCIS,

as part of its review of investor immigration petitions.

The discussion of immigration matters below reflects the Limited Partnership's current understanding of E13-5,
alien entrepreneur law, regulations and E8-5 Program guidance from USCIS concerning its practices as of

the date of this Offering Memorandum. The E13-5 alien entrepreneur law, regulations'and USCIS practices,

indeed the entire EB-5 Program may be altered in the future by amendments to the taw, regulations and

practice guidelines from USCIS with no advance notice to EB-5 projects or investors. In the event of such
changes, the investor and the Project will be required to comply with such future alterations. (See, Risk

Factors, General and No Regulations Regarding Removal Of Conditions).
FOR EB-5 INVESTORS

Foreign investors are specifically directed to review certain important matters listed hereunder and in the

immigration risk factors.
Legal counsel: the investor will require the services of independent legal counsel for U.S. immigration

taw due diligence, advice, preparation and filing of petitions and all other U.S. immigration matters. If the

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investor chooses to hire the same law firm that advised AnC Bio VT on this Offering for his or her immigration

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services, the investor acknowledges by his or her subscription to this Offering that said law firm will not and

cannot advise the investor on any business matters or due diligence relating to the investor's decision to

invest into the Partnership, but only will advise the investor on immigration issues germane to the investor's

investment into the Partnership. The investor is responsible for payment of all legal fees and costs,
including USCIS application fees, incurred in connection with the receipt of such legal services.

Filing the immigrant petitions: the Limited Partnership, the General Partner and AnC Bio VT shall use their

reasonable best efforts to assist the foreign investors' legal counsel with the filing of investors' 1-526 and 1-

829 petitions, and verifying required direct and indirect employment, until removal of such investors'

conditional permanent residency.
In the event an investor's 1-526 petition is denied at any time, the investor's rights are limited solely to the

return of the investor's $500,000 capital contribution from the Partnership within ninety (90) days of written

request therefore to the General Partner. In such case the administration fee will be kept by AnC Bio VT to

partially compensate it for its costs incurred to date to develop the Project and prepare and distribute the

Offering Memorandum.

Upon subscribing to this Offering and becoming a Limited Partner it is the sole responsibility of the foreign
investor to file the 1-526 petition expeditiously and within one hundred twenty (120) days of subscribing, and

thereafter to file expeditiously applications for lawful permanent residence and the 1-829, petition by

entrepreneur to remove conditions. It is the further, sole obligation of the Limited Partner to notify the General

Partner at least 90 (ninety) days prior to the due date of filing their 1-829 petition to afford the General Partner

adequate time to provide documentation in support of the petition. The General Partner shall not be liable in
any manner, cost, or for any other liability for the failure of a Limited Partner to provide timely the filing due

date of the 1-829 petition filing. If, in the sole opinion of the General Partner, the investor's delayed filing or

failure to file any immigration-related petition or application will result or has resulted in the inability of the

Project to conduct its business in a timely fashion, the General Partner may terminate the investor's Limited

Partnership Interest and participation in the Project. There is no refund of the capital contribution of $500,000
or the administration fee of $50,000 for failure of the foreign investor to file or file timely the 1-526 petition.

Administrative and other costs borne by the investor cannot be paid from the sum invested by the EB-5

investor. In this Project, $50,000.00 administrative fees are payable by each investor to AnC Bio VT, in

addition to the required $500,000 minimum investment into the Project.
If the Regional Center Pilot Program lapses, for each investor whose 1-526 case is filed with USCIS prior to

that date and not yet adjudicated, their $500,000 capital contribution shall remain invested in the Partnership
provided:

 1. The Regional Center Pilot Program is reauthorized retroactively or is pending

   reauthorization within a twelve month period following its lapse, and the investor's 1-526
   petition is in due course adjudicated;

   or

 2. Legislation is enacted or pending providing substantially similar immigration benefits to
   investors as under the lapsed Regional Center Pilot Program and EB-5 Program within a

   twelve month period following the Regional Center Pilot Program's lapse, and the
   investor's 1-526 petition is in due course adjudicated.

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If neither of the events described under 1, and 2 occur, the investor at his option may either remain invested

in the Project, or request in writing a refund of the capital contribution of $500,000. Upon receipt of a request

of refund to the General Partner, the capital contribution will be refunded by the Limited Partnership within a

period of 90 days from receipt of such request and the investor's interest in the Limited Partnership shall
automatically be terminated and the investor shall no longer have any of the rights and benefits of ownership

of an interest or any right to participate in any manner whatsoever in the affairs of the Partnership. The

investor's rights are limited solely to the return of their capital contribution of $500,000.

AMOUNT OF INVESTMENT: A TARGETED EMPLOYMENT AREA

The E8-5 Program requires a minimum investment of $1,000,000 USD to be invested by an investor.
However, for the Project, this sum may be reduced to $500,000 USO because the investment is situated in a

targeted employment area (TEA). TEA's must meet one of two criteria, the first, conceming population, and

the second, concerning high rates of unemployment in towns whose population equals or exceeds 20,000.

The first criterion, concerning population, is the relevant criteria for this Project, as it states that if an

investment is made in a town or city whose population is less than 20,000, and the town or city is not within a

metropolitan statistical area (MSA) as designated by the U.S. Office Of Management And Budget, the
investment is deemed to have been made in a TEA. The Project believes it complies with this criteria

because it relies on the fact that it is situated in Newport, Vermont, a city whose population was 5,005

according to the 2000 census and whose population is estimated by the U.S. census bureau to have

decreased to 4,589 as of 2010, (see Economic Development Research Group analysis incorporated into

Business Plan) based upon the most recently reported data from this agency believed to be published.
The second criterion is not relevant to the Project because the city of Newport's population does not equal or

exceed 20,000 and the city of Newport is not situated in a metropolitan statistical area.

COUNTING EMPLOYMENT POSITIONS CREATED

To qualify as an E13-5 investor, each investor must demonstrate that 10 full-time, year-around employment

positions will be created on account of the investment.
These employment positions must be for U.S. citizens, lawful permanent residents and other immigrants

lawfully authorized to be employed in the United States. Non-immigrant (temporary) workers are not included

in the count. Also excluded are the investor, the investor's spouse and the investor's children.

A full-time employment position (including one position shared by more than one employee) means one that
requires at least 35 hours each week to fulfill.

An employment position is deemed created when the worker is remunerated on the payroll of the new
enterprise. Independent contractors are excluded from the direct employment position creation count.

An exception to the requirement of payment or other remuneration coming directly from the new enterprise is

made if the enterprise is located within and affiliated with a Regional Center created under a Pilot
Program first enacted in 1993. The entire State of Vermont is such a Regional Center. An investor in an

enterprise, such as this Project, established in Vermont, is permitted to demonstrate that some, possibly all,

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of the employment positions created on account of the investment in the enterprise will be indirect

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employment positions, i.e., not on the payroll of the new commercial enterprise. It is incumbent upon the

investor to show how many employment positions are expected to be created indirectly by reliance upon

reasonable methodologies such as multiplier tables, feasibility studies, analyses of foreign and domestic

markets for the goods or services to be exported, and other economically or statistically valid forecasting
devices which indicate the likelihood that the business will result in increased employment. USCIS review of

methodologies and underlying data used to determine indirect employment creation is becoming increasingly

detailed, leading to an increase in the number of Requests for Evidence (RFE) issued by USCIS; and, the

agency is increasingly demanding highly detailed business plans and market analyses regarding job-creation

assertions by E&5 project developers.
All such full time equivalent employment positions expected to be created will be applied only to foreign

investors who seek to utilize this investment for immigration purposes under the Program, not to any

investors in the Project who are not relying on the Program.

THE STATE OF VERMONT- A REGIONAL_ CENTER

The U.S. Congress created a pilot program, rescheduled to sunset on September 30, 2015, that provides for

the authorization of regional centers by the U.S. Department of Justice, Immigration and Naturalization
Service (n/k/a USCIS). Enterprises located within and affiliated with a Regional Center are not required to

employ ten (10) workers for each E&5 qualifying investment. It suffices if the investor demonstrates that

at least ten (10) qualifying employment positions will be created directly or indirectly on account of the

investment.

In June 1997, the State of Vermont, Agency of Commerce and Community Development (ACCD), was
granted a designation as an approved Regional Center under this pilot program. An investment in a

commercial enterprise situated within and affiliated with the Regional Center, the State of Vermont, that

fosters economic expansion through increased exports, greater regional productivity, employment

creation or additional domestic capital investment, qualifies for the broader view of employment creation.

The Project has conducted an economic impact assessment to determine the number of employment
positions expected to be created as a result of two hundred twenty (220) foreign investors each

contributing $500,000 US to the Program. This analysis was conducted using the so-card _IMPLAN

methodology.

The current analysis focused on this Project, specifically, as a source of employment creation, so that it is
more specific than the analysis that supported the original Regional Center designation for the greater

State of Vermont. This analysis demonstrates that the combined project development and business
activities carried on by the Limited Partnership is expected to create greater than 3,000 indirect jobs, primarily

within the Vermont Regional Center and Northeastern United States, over the development phase and first few

years of the operations phase in the Project. These projected employment positions are in excess of the 2,200
employment positions required under EB-5 law and regulations if all 220 Limited Partnership Interests

are sold to foreign investors using the E&5 Program. See the comment on expiration of Regional Center

Pilot Program at page 35. (see Risk Factors)
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THE 1-526 PETITION PROCESS

                                                       166
For investors seeking lawful permanent residence, the first step in the process is to file an 1-526 Petition for

Alien Entrepreneur, together with accompanying evidence in support of the Program's requirements. USCIS

adjudicates 1-526 petitions by reviewing these criteria, among others:

New commercial enterprise: there must be evidence that shows in most instances that the enterprise is
new and authorized to transact business.

Investment capital: the petition must be supported by evidence that the petitioner has invested the

minimum required capital. USCIS expects these funds to be "at risk", connoting an irrevocable commitment

to the enterprise. The funds must be used by the enterprise exclusively to create employment. Funds used

to pay administrative costs or other obligations undertaken to promote the investment, to create reserve
accounts or for any purpose that does not lead to the creation of employment by the enterprise are not

deemed "at risk". Any commitment by the EB-5 enterprise to the investor that is deemed to transform the

relationship from an investment to a debt arrangement (for example, a promise to pay a fixed rate of return or

to repay some or all of the investment on a date certain or to repay some or all of the investment

irrespective of the financial performance of the Project) will disqualify the invested funds from being

deemed 'at risk". Funds that are not deemed "at risk' will not be counted towards the minimum sum
required to be invested, possibly resulting in the denial of the 1-526 petition and the disqualification of the

Project to support all ES-5 investor petitions.

Source of capital: evidence must support the investor's legal acquisition of capital. In support of the 1-526

petition, an investor should expect to provide detailed records demonstrating the personal and business

financial transactions through which the investor acquired the invested funds, and managed those funds
during the entire period of ownership by the investor and demonstrating the transactions by which the funds

were transferred by the investor into the EB-5 project. Where countries require by taw the filing of annual

individual and business tax returns the investor should also expect to provide at least the last five (5) years

tax returns in certain instances. When, for example, the investor acquires investment funds as a gift, or in the

case of the investor taking loans from individuals or some entities to acquire the investment funds, the donor or
the lender, as the case may be, will be expected to provide financial records of comparable detail establishing

that the funds were lawfully acquired. Funds earned or obtained in the United States while the investor

was in unlawful immigration status are not deemed by USCIS to be lawfully acquired. if USCIS is not

satisfied that the invested funds were acquired by the investor lawfully, such funds will not be counted
towards the mandatory investment sum, potentially causing the 1-526 petition to fail. Investment In an EB-5

project is not appropriate for those who are unable or unwilling to provide all financial records that USCIS
may require to demonstrate that invested funds have been lawfully acquired by the investor,

Mananeriat role: the investor is expected to participate in the management of the new commercial enterprise

by assisting in the formulation of the enterprise's business policy, by participating in one or more of the
activities permitted in section 3423(b) of the Vermont Revised Uniform Limited Partnership Act ("VRULPA"),

and as otherwise set forth in the Limited Partnership Agreement. The Limited Partnership Agreement

provides that this management role consists, in part, of the right to replace the General Partner under certain
circumstances. Limited partner investors in an EB-5 enterprise must have all the rights and duties usually

accorded to limited partners by the Uniform Limited Partnership Act (ULPA), as adopted in Vermont as
VRULPA. The Limited Partnership Agreement presented by the Project, in its view, provides such rights and

duties to the limited partners. The investor is advised to seek competent counsel to review the Limited

Partnership Agreement compliance with both VRULPA and immigration law requirements. (see Risk Factors,
Active Participation In Limited Partnership Business).

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THE 1-526 PETITION APPROVAL

                                                        166
The 1-526 Petition by Alien Entrepreneur will be approved only if USCIS is satisfied that the all statutory

criteria have been met. The determination of whether these criteria have been established is within the

discretion of USCIS. It is also within the power, if not the discretionary authority, of USCIS to seek

information about other aspects of the investment and the relationship of the investor to the enterprise.
The E&5 Alien Entrepreneur law, regulations and EB-5 Program have been altered in the past, and may be

altered in the future, by amendments to the law, regulations and practice guidelines from USCIS and by the

announcement by USCIS of new policy, rules and procedures in RFEs, Notices of Intent to Deny (NOID) and

Denials of petitions. In the event of such future changes, the investor will be required to comply with such

future alterations, which are frequently applied retroactively by USCIS, making compliance by the Project or
the investors difficult or impossible. If such future changes occur and they after the current 1-526 petition

procedures, the investor will be expected to comply with any such alterations. See Risk Factors, Risks

Attendant To EB-5 Status).

In the event that USCIS denies the 1-526 petition, the investor may not proceed with the next step in the

immigration process, consular processing or adjustment of status. Instead, the investor must decide

whether to appeal the denial of the 1-526 petition, revise and re-file the 1-526 petition or abandon the
prospect of obtaining Lawful Permanent Resident Status through investment in the Project

CONSULAR PROCESSING OR ADJUSTMENT OF STATUS

Approval of the 1-526 petition means that the alien and the alien's spouse and children under the age of 21

years may apply for admission as Conditional Lawful Permanent Residents (CLPR). Approval of the 1-526

petition does not mean that the investor has been granted admission to the United States as a lawful
permanent resident, Approval of an 1-526 means that the investment documented by the 1-526 petition

has, as of the date of the approval of the petition, qualified the investor as an alien entrepreneur. USCIS'

propensity to review and revoke its prior approvals, attendant to the review of the investor's 1-629, Petition to

Remove Conditions or because USCIS discerns a new objection to a project while reviewing another

investor's 1-526 or 1-829 petition, may disqualify the project or the investor from use of the EB-5 program
despite reliance on the prior approval. (See Risk Factors)

The CLPR application for admission is a separate and subsequent process that concerns issues common

to all aliens who wish to live in the United States permanently. Admission as a CLPR may be sought using

one of two methods: consular processing or adjustment of status.
CONSULAR PROCESSING

Consular processing is designed for aliens living outside of the United States, or for those who prefer to
process at a consulate for strategic reasons or as a matter of convenience or are ineligible to adjust status.

Typically, the consular post, which is designated at the time the 1-526 petition is filed, is in the country of

last residence, i.e., the last principal actual dwelling place.
In their sole discretion, consulates issue visas, a travel document, usually affixed to a passport, which

authorizes the holder to seek admission to the United States at a port of entry. The visa is issued for an

immigration status that a consul believes the visa applicant is qualified to hold. In an E6-5 case, the visa may
be sought from a consulate only after the investor's 1-526 petition is approved. An EB-5 investor and the

investor's spouse and qualifying children are usually granted immigrant visas. Use of these visas to enter
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the U.S. results in a grant of Conditional Lawful Permanent Residence (see discussion on Removal Of

Conditions).                                           166
Before issuing an immigrant visa, the consular post must determine if each alien is admissible to the U.S.

Approval of the 1-526 petition does not by itself establish admissibility. An alien is admissible who proves

that no grounds of inadmissibility exist and the alien has proper travel documents (see the discussion on
Immigration Risk Factors, below, for a non-exhaustive list of the grounds of inadmissibility). Waivers are

available for certain of the many grounds of inadmissibility, but the grant of a waiver is in the discretion

of the government and aliens seeking waivers experience lengthy delays in adjudication of waiver

applications. Investors should consult with immigration counsel before investing to determine if any grounds

of inadmissibility may affect the eligibility of the investor or the investor's spouse or otherwise qualifying
children for admission to the United States and if a waiver is available for such grounds of inadmissibility.

If the consular post finds that the investor is admissible, it will issue an immigrant visa to the investor_ The

consular post will also determine if the spouse and the qualifying children of the investor are admissible. A

determination of admissibility must be made as to each visa applicant. There is no guarantee that all

members of the investor's family will be granted an immigrant visa. If the investor is denied an immigrant

visa, applications by the spouse and children of the investor for such a visa will also be denied.
Consular processing subjects both the visa applicant and the 1-526 petition to the scrutiny of a second

government agency whose decisions are not appealable. if the consular officer, based upon information not

available to USCIS in its adjudications process, suspects fraud or misrepresentation in the 1-526 petition

process or if the consul doubts the eligibility for Lawful Permanent Resident Status, the consul may return

the case to USCIS for re-adjudication of the 1-526 petition.
Consular processing begins when USCIS transmits the approved alien's 1-526 petition to the National

Visa Center (NVC). In time, the applicants will be instructed to obtain fingerprints and medical

examinations and to report to a consular interview. Immigrant visas usually are issued shortly after the

interview unless the consul detects problems in the visa application, the underlying 1-526 petition or

during the interview process. The investor is advised to seek competent counsel for guidance on the
processing experience and potential delays in the consular office handling investors' applications,

NUMERICAL QUOTAS

Currently, the Eta-5 Preference accords a total of 10,000 EB-5, Preference visa statuses allocated

annually, of which 3,000 are available to alien investors and the spouses and qualifying children of
investors who are making an investment in a Targeted Employment Area (TEA). The Project is currently

situated within a TEA. EB-5 status is available on a first-come, first-served basis. Recently, USCIS has
announced that it considers the 3,000 statuses for TEA cases as a guaranteed allocation, not a quota, so that

all TEA cases are eligible to seek a visa, up to the annual quota of 10,000 visas.

Historically, the allocation of visas for the EB-5 Fifth Preference, including TEA's, has not been
oversubscribed. Investors should note and consider the significantly increasing demand for visas in the Fifth

Preference which has prompted the U.S. Department of State, in its December 2012 Visa Bulletin, to issue

an advisory concerning the possible unavailability of EB-5 Fifth Preference visas for nationals of the
People's Republic of China in the second half of Fiscal Year 2012 (See Risk Factors).

VISA ISSUANCE
Decisions by consuls are to be made in accordance with regulatory guidance on this process. Consuls

have broad authority and discretion under such regulatory procedures and their decisions are

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unreviewable. The investor should seek advice of competent legal counsel regarding visa issuance

guidelines.                                             166
U.S. consuls advise that visa applicants should not change any living, employment, schooling or

other lifestyle arrangements in their country of residence before they are issued an immigrant visa based

upon an approved 1-526 petition.
ADMISSION TO U.S. AFTER VISA ISSUED

A visa authorizes the holier to seek admission to the United States at a port of entry. However, admission is

subject to U.S. Customs and Border Protection (USCBP) inspection discussed below. After issuance,

immigrant visas generally remain valid for six (6) months. During the validity period, the holder of the visa

must use it to apply for admission to the United States at a designated port of entry. The port of entry is
frequently in an international airport. When the alien arrives at the port of entry, he or she will present the

immigrant visa and accompanying consular documents to a USCBP officer who has the authority to admit

the investor or to deny the investor's admission to the United States as a CLPR. This process is known as

inspection (See Risk Factors).

ADMISSION AFTER INVESTING, FILING THE 1.526 OR DURING CONSULAR PROCESSING

Admission to the United States as a visitor or in most other non-immigrant statuses is predicated upon
the intent to depart the country at the end of the period of admission.

Investors should consult with competent counsel to evaluate the risks associated with seeking temporary (non-

immigrant) admission to the United States subsequent to making the investment or filing an 1-526 petition or

an applicant for an immigrant visa. Despite hest efforts, an inspector may deny admission under these

circumstances. Such a denial may also result in formal exclusion from the U.S. which might preclude
admission with an immigrant visa for a period of years (See Risk Factors).

ADJUSTMENT OF STATUS

The Adjustment of Status (AOS) procedure is designed to permit aliens who have been admitted to the

United States as non-immigrants or who have been paroled into the country to apply for admission as

permanent residents without leaving the country. These non-immigrants must establish that they are
admissible permanently, meeting the same standards as aliens who use consular processing to obtain a

permanent resident visa.

Aliens seeking AOS must also comply with requirements peculiar to the AOS process. Aliens who do not

meet these additional requirements will be required to use consular processing to obtain an immigrant visa,
which will necessitate a departure from the United States_ Aliens admitted in certain non-immigrant

statuses may encounter more difficulties (and may not be successful) adjusting status than aliens admitted
in other non-immigrant statuses. Investors should consult with immigration counsel regarding these issues

before the 1-526 petition is filed.

During AOS processing, the applicant will be required to submit a medical examination and will receive
instructions from USCIS regarding biometric data collection and an interview. The interview may be

waived in the discretion of USCIS. There is no formal process to request the waiver of an interview. If the

investor is interviewed, the spouse and children of the investor will be required to attend the interview.
The USCIS California Service Center currently has jurisdiction of the AOS process for investors in the

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Project. The interview is conducted at a USCIS office near the investor's residence. USCIS uses the interview

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to update information about AOS applicants that may have changed subsequent to the filing of the AOS

application and to explore any issue that USCIS believes is relevant to deciding the AOS case. Typically,

but not always, CLPR is conferred on approved AOS applicants at the conclusion of the interview.

AOS is granted in the discretion of USCIS. An alien whose ACS application has been denied may request that
the case be re-considered by the same office that denied AOS. If the request to re-open or re-consider the

case is denied, or, if, after such a review, the alien fails to convince this office to reverse its original decision,

the alien is without further recourse. AOS applicants should not make any permanent connections to the

United States or change any permanent living, employment, schooling or other lifestyle arrangements in their

country of residence before they are issued AOS based upon an approved 1-526 petition.
TRAVEL DURING ADJUSTMENT OF STATUS PROCESSING

Advance permission to depart the U.S. is issued routinely if the alien articulates a bona fide need to travel.

An alien investor who leaves the United States without advance permission while an AOS application is

pending is deemed to have abandoned that application unless the applicant has been admitted in and

continues to hold valid H or L non-immigrant status pending adjudication of the AOS application. Alien

investors admitted to the United States in any non-immigrant status who have obtained advance parole
during the AOS process should consult with immigration counsel before traveling.

If an alien is deemed to have abandoned an AOS application, the applicant must seek consular processing

to obtain an immigrant visa permitting an application for admission to the U.S. during the period between

the applicant's deemed abandonment of an AOS application and the time the applicant receives an

immigrant visa from a U.S. consulate, typically about one year, the applicant is required to remain outside
the U.S.

EMPLOYMENT DURING THE ADJUSTMENT OF STATUS PROCESSING

Applicants for AOS who wish to work in the United States must obtain employment authorization unless they

have been admitted to the U.S. in a non-immigrant status that confers employment authorization and does not

end before AOS is granted. Self-employment requires employment authorization. Employment in the U.S.
without authorization is a violation of immigration status and may jeopardize the right to adjust status.

REMOVAL OF CONDITIONS

Approval of an AOS application or the grant of an immigrant visa followed by entry into the U.S. means that

the investor and the spouse and qualified children of the investor have been granted Conditional Lawful
Permanent Residence (CLPR) for two years. The "conditions' must be removed so that the aliens may reside

In the U.S. indefinitely. Failure to remove the conditions results in the termination of CLPR status and will
result in the commencement of removal proceedings.

Removal of conditions is sought by the filing of an 1-829 petition in the 90 day period immediately

preceding the second anniversary of the grant of CLPR status. In support of the petition, the alien investor
must demonstrate full investment in the enterprise, sustainment of the investment continuously since becoming

a CLPR and compliance with the requirement that ten (10) employment positions have been created as a

result of the investment. it is the sole responsibility of the foreign investor to file and the sole risk of the
investor who fails to file the 1-829 petition in the ninety (90) day period immediately preceding the second

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anniversary of the grant of CLPR status at the investor's sole expense. Failure to file the 1-829 petition will

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result in the investor and the investor's accompanying family being place in removal (deportation) proceedings.

There is no refund of the capital contribution or administration fee for delay or failure on the part of the

investor for any reasons whatsoever to file their 1-829 petition.

The California Service Center currently has jurisdiction to decide a Petition to Remove Conditions. It is
authorized to approve a petition, seek additional written information before deciding the petition, refer the

petition to a local office where information will be elicited in an interview, or, it may deny the petition. If the

petition is referred for an interview, the local office of USCIS will decide the petition after the interview.

During the pendency of the petition, aliens admitted in CLPR status remain in valid status even if the

petition is not decided before the expiry of the two year period of admission. Improper denials of and
delays in obtaining documents evidencing extended CLPR status and advance parole are sometimes

experienced. CLPR is extended in one year increments or until the Petition to Remove Conditions is

adjudicated.

USCIS regulations control the process of removal of conditions. These regulations may change in the future.

The investor 411 be expected to comply with and proceed with removal of conditions under the regulations in

effect at the time the investor seeks removal of conditions.
There cannot be any assurance that USCIS will not change the requirements for removal of conditions

after investors are granted CLPR status through investment in the Project. There cannot be any

assurance that an investor will able to demonstrate to the satisfaction of USCIS that the Project is

operating within its business plan, that it has created the requisite employment positions at the time

required by USCIS or that any other requirements for the removal of conditions have been met. USCIS'
propensity to review and revoke its prior approvals may disqualify the Project or the investor from use of the

E&5 program despite reliance on the prior approval. (See Risk Factors, Removal Of Conditions).

          IMMIGRATION RISK FACTORS

A prospective investor should consult with legal counsel familiar with United States immigration laws and

practice before investing in this Project. Purchase of a Limited Partnership interest in an EB-5 project
does not guarantee lawful permanent residence in the United States.

The Limited Partnership interests described in this Offering Memorandum involve a significant degree of risk.

Among the immigration risk factors that a prospective investor should consider carefully are those identified

in this Offering, however the discussion is not exhaustive:
GENERAL

USCIS may modify its EB-5 Program practices by providing updated guidance to its examiners. Sometimes,
but not consistently, USCIS publishes instructions for the use of E&5 investors and their counsel. EB-5

investors and their counsel often first become aware of EB-5 practices and policies through the adjudication

process for investor 1-526 or 1-829 petitions. If such modifications occur, investors may be required to provide
new information or modified business plans or other modifications to an E&5 project during the adjudication

process to comply with USCIS requirements that were unknown to investors and their counsel at the time an

1-526, immigrant petition by alien entrepreneur or an 1-829, petition by entrepreneur to remove conditions was
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filed. Amendments to the law and regulations of the E13-5 Program and changes in USCIS interpretations of

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statute and regulations or the imposition of new policy and procedures by USCIS without formal rule-making

may also occur from time-to-time, which may have the effect of requiring E13-5 projects and E13-5 investors to

provide new information or modify their previous E&5 planning to satisfy new EB-5 Program requirements.

There can be no assurance that such modifications will not be required in this Project on account of new
policies, practices, interpretations, laws or regulations not effective or not known at this time, New

requirements may be applied retroactively, making compliance by investors or the Project impossible. There

can be no assurance that this Project will be able to modify its business plan or make other adaptations to

comply with yet unknown EB-5 requirements. The investor should retain competent legal counsel for

continuing advice on these matters.
While efforts have been made to structure this Offering to assist investors to meet E&5, employment-based

visa preference requirements under the Act and qualify as "alien entrepreneurs", a preliminary step to

becoming eligible for admission to the United States of America with their spouse and unmarried

minor children as lawful permanent residents, no representations can be made and no guarantees can be

given that investment in this Project will assure an investor's petition as an "alien entrepreneur" will be

granted by USCIS or, if it is, that investors with their spouse and such children will obtain conditional or
unconditional lawful permanent resident status.

APPROVAL OF INVESTMENTS IN THE PROJECT

There is no procedure in the Act or its enabling regulations to pre-qualify an investment for the E&5, alien

entrepreneur program. Individual investor applications on form 1-526 must be filed with USCIS by the

investor to determine the suitability of the investment offered herein for immigration purposes under 8
U.S.C.§ 1153 (b)(5)(a) - (d); INA § 203 (b)(5)(a) - d). USCIS may deny such an application.

USCIS has announced a tentative plan to permit developers to obtain a review of an E&5 project, but only if

USCIS is poised to deny an amendment to a regional center charter sought to permit the project to operate

within the regional center, This review must be undertaken through applications to create or modify Regional

Center authorizations where an E13-5 project is functioning under author¢ation from a Regional tenter. There is no
assurance that USCIS will implement this tentative plan. Notwithstanding the approval of a new or modified Regional

Center application based upon a specific, exemplar EB-5 project, USCIS reserves the right to question and deny

individual investor 1-526 petitions resulting from investment in the exemplar project if USCIS detects any

variations between the facts adjudicated in the exemplar case and the facts presented in the investor's petition.
Pre-qualification of E13-5 projects, apart from Regional Center applications, continues to be unavailable

notwithstanding this USCIS announcement.
PROCESSING TIMES

USCIS and USDOS processing times for the 1-526 and the adjustment of status or consular processing

cases are not predictable, notwithstanding published processing times by these agencies. Delays in
processing do occur and are growing longer in many instances despite the announcement by USCIS of its

expanded resources for adjudicating E13-5 petitions and applications. USCIS and USDOS advise investors not

to make changes in any living, employment, schooling or other lifestyle arrangements before receiving
CLPR through the E13-5 Program.

GOVERNMENT FILING FEES
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Government filing fees may change. Such changes may increase the immigration filing costs to an investor

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who has made an investment in the Project and who is waiting to file an 1-526 or a consular processing or

AOS case (and collateral applications for employment authorization and advanced permission to travel).

LIMITATIONS ON RETURN OF FUNDS iF 1-526 PETITION IS DENIED

Upon subscribing to this Offering and becoming a Limited Partner, it is the sole responsibility and risk of
the foreign investors to file their 1-526 petitions. There is no refund for delay or failure to file the 1-526 petition.

if the Regional Center Pilot Program lapses, for each investor whose 1-526 is filed with USCIS but not

adjudicated on or before the date of lapse, their $500,000 capital contribution shall remain invested in the

Partnership until

 1. The Regional Center Pilot Program is reauthorized retroactively or is pending reauthorization
   within a twelve month period following sunset, and the investor's 1-526 petition is in

   due course adjudicated;

   or,

 2. Legislation is enacted or pending providing substantially similar immigration benefits to

   investors under the former EB-5 Regional Center Program within a twelve month period

   following sunset.
If none of the events described in 1 or 2 occur, or are not pending as stated, at the investor's election, the

investor may (1) remain invested in the Project; or, (2) make a written request to the General Partner for a

refund of the capital contribution of $500,000. Within ninety (90) days of the General Partner's receipt of a

request for a refund, the capital contribution will be refunded by the Limited Partnership to the investor.

The investor's rights are in this event limited solely to the return of the capital contribution of $500,000.
In the event an investor's 1-526 petition receives notice of denial by USCIS, for reasons other than

fraud or misrepresentation, the investor's rights are limited solely to the return of the investor's $500,000

capital contribution within ninety (90) days of written request therefore to the General Partner.

TARGETED EMPLOYMENT AREAS AND THE MINIMUM INVESTMENT AMOUNT

As a general rule, the EB-5 program calls for a minimum investment of $1,000,000 USD. This sum may be
reduced currently to $500,000 USD if the Project that receives the investment is situated in a Targeted

Employment Area (TEA). TEA's must meet one of two criteria, the first, concerning population, and the

second, concerning the rate of unemployment.

If an investment is made in a town or city whose population is less than 20,000, and the town or city is not
Within a Metropolitan Statistical Area (MSA) as designated by the U.S. Office of Management and Budget,

the investment is deemed to have been made in a TEA. The eligibility of an EB-5 project to accept
$500,000 USD investments is questioned if the project was situated in a TEA at the time the investment

was made but is not in a TEA at the time the 1-526 petition is filed. In the case of a TEA based upon the

project's location in a rural area, this difference might occur, for example, because during this interim period
new population data is published or because a new MSA is described to include the location of the project,

albeit within a rural area.

In the event of a change between the date of the investment and the date of the filing of the 1-526, USCIS
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has said that it will consider the project to be within a TEA at the time of the investment if the invested

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funds were available to the project to undertake employment creation before the 1-526 was filed. In this

Project, USCIS should apply this standard in as much as the invested funds are irrevocably

committed to the project before the 1-526 is filed. There can be no assurance that USCIS will apply

this rule appropriately.
USCIS has also said it will not permit every investor in a pooled investment project to invest only $500,000

merely because one or more investors were previously permitted to do so based upon the prior presence of

a project in a TEA.

If the location of the Project is judged to no longer be within a TEA, investors filing 1-526 petitions thereafter

will be required to invest $1,DOO,Ooo. No assurance can be provided that, for example, no new population
data will be published rendering the location of a project outside a rural area or that new MSA boundaries

depicting the location of the Project in the MSA will not be published.

Investors should consult with competent immigration counsel concerning TEA issues and investment

counsel concerning the effects of investments of differing amounts on immigration and investment

matters of significance to the investor.

ATTAINING LAWFUL PERMANENT RESIDENCE
Despite the approval of an investor's form 1-526, there cannot be any guarantee that the investor or the

investor's spouse or any of the investor's minor, unmarried children will be granted lawful permanent

residence. The grant of such immigration status is dependent upon the personal background of each

applicant. Any one of several government agencies may determine in its discretion, usually without the

possibility of appeal, that an applicant for lawful permanent residence is excludable from the United States.
GROUNDS FOR EXCLUSION

Applicants for lawful permanent residence must demonstrate, affirmatively, that they are admissible to

the United States.

There are many grounds of inadmissibility that the government may cite as the basis to deny admission for

lawful permanent residence.
1. Various statutes, including, for example, sections 212, 237 & 241 of the Immigration and

  Nationality Act, The Antiterrorism & Effective Death Penalty Act of 1996 (AEDPA) and the Illegal

  Immigration Reform & immigrant Responsibility Act of 1996 (IIRAiRA) set forth grounds of

  Inadmissibility, which may prevent an otherwise eligible applicant from receiving an immigrant
  visa, entering the United States or adjusting to lawful permanent residence.

2. Examples of aliens precluded from entering the United States include:
     (A) persons who are determined to have a communicable disease of public health

        significance;

     (B) persons who are found to have, or have had, a physical or mental disorder, and
        behavior associated with the disorder which poses, or may pose, a threat to the

        property, safety, or welfare of the alien or of others, or have had a physical or mental

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   disorder and a history of behavior associated with the disorder, which behavior has

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   posed a threat to the property, safety, or welfare of the immigrant alien or others, and

   which behavior is likely to recur or to lead to other harmful behavior;

  (C) persons who have been convicted of a crime involving moral turpitude (other than a

   purely political offense), or persons who admit having committed the essential elements
   of such a crime;

  (D) persons who have been convicted of any law or regulation relating to a controlled

   substance, admitted to having committed or admits committing acts which constitute

   the essential elements of same;

  (E) persons who are convicted of multiple crimes (other than purely political offenses)
   regardless of whether the conviction was in a single trial or whether the offenses arose

   from a single scheme of misconduct and regardless of whether such offenses involved

   moral turpitude;

  (F) persons who are known, or for whom there is reason to believe, are, or have been,

   traffickers in controlled substances,

  (G)persons engaged in prostitution or commercialized vice;
  (H) persons who have committed in the United States certain serious criminal offenses,

   regardless of whether such offense was not prosecuted as a result of diplomatic

   immunity;

  (1) persons excludable on grounds related to national security, related grounds, or

   terrorist activities;
  (J) persons determined to be excludable by the secretary of state of the United States on

   grounds related to foreign policy;

  (K) persons who are or have been a member of a totalitarian party, or persons who have

   participated in Nazi persecutions or genocide;

  (L) persons who are likely to become a public charge at any time after entry;
  (M) persons who were previously deported or excluded and deported from the United States;

  (N) persons who by fraud or willfully misrepresenting a material fact, seek to procure (or

   have procured) a visa, other documentation or entry into the United States or other

   benefit under the immigration act;
  (0) persons who have at any time assisted or aided any other alien to enter or try to enter

   the United States in violation of law;
  (P) certain aliens who have departed the United States to avoid or evade U.S. Military

   service or training;

  (Q) persons who are practicing polygamists; and
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   (R) persons who were unlawfully present in the United States for continuous or cumulative

    periods in excess of 180 days.                     166
NO RETURN OF FUNDS IF VISA OR ADJUSTMENT OF STATUS IS DENIED

Following approval of an investor's 1-526 petition, the investor and the spouse and qualifying children of the

investor must apply for an immigrant visa or adjustment to permanent resident status. As :part of this
process, they undergo medical, police, security and immigration history checks to determine whether any of

them are inadmissible to the United States for any of the reasons mentioned above or for any other reason.

The visa or adjustment of status may be denied notwithstanding the eligibility for or approval of the 1-

526 petition. If, following subscription and payment of the investment funds and payment of the

administration fee the investor or the spouse or any children of the investor are denied a visa for Conditional
Lawful Permanent Residence or denied adjustment of status to Conditional Lawful Permanent

Residence such action will not entitle the investor to the return of any funds paid to the Limited Partnership

pursuant to this offering unless and until a substitute partner is found as set forth in section 40.01 of the

Limited Partnership Agreement, and, in any event, there shall be no refund of the administration fees.

CONDITIONAL LAWFUL PERMANENT RESIDENCE

Lawful permanent residence status granted initially to an investor and the spouse and qualifying children of the
investor is "conditional." Each investor and the spouse and qualifying children of the investor must seek

removal of conditions before the second anniversary of lawful permanent admission to the United States. There

cannot be any assurance that the USCIS will consent to the removal of conditions as to the investor or as

to the spouse or qualifying children of the investor, each of whom must make a separate application to

remove conditions (albeit a single form is used to identify all applicants). If the investor fails to have
conditions removed, the investor and the spouse and children of the investor will be required to leave the

United States and will be placed in removal proceedings. Even if the investor succeeds in having conditions

removed, the spouse and each qualifying child of the investor, separately, must have conditions removed.

Failure to have conditions removed as to any of these members of the investor's family will require some

members to depart from the United States and such family members will be placed in removal proceedings.
NO REGULATIONS REGARDING REMOVAL OF CONDITIONS GENERALLY

USCIS regulations governing lawful permanent residence for investors do not state specifically the criteria

which USCIS must apply to determine eligibility for the removal of conditions to lawful permanent resident

status. Courts have determined some standards and USCIS have issued memoranda on some issues. The
investor should seek competent immigration counsel to determine all of the issues that may arise in the 1-829

process on account of the absence of regulations controlling the process or resulting from ambiguities in
existing law and regulations.

BUSINESS CHANGES AND BUSINESS FAILURES

The 1-526 petition must be supported by evidence that the EB-5 project has received all investor capital, will
dedicate the funds to furtherance of the EB-5 project and, thereby, will create all requisite employment.

When an investor seeks removal of conditions, the 1-829 petition must be supported by evidence that these

requirements have been met, or, if they have not been met, there must be compelling explanations for delays
or changes in the EB-5 project. If the Project is delayed in its implementation, if invested funds are expended

differently or more slowly than anticipated or if employment is behind schedule, USCIS will expect
documentation of changed circumstances to explain the delay and evidence that the Project is following its

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essential business plan.

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It will be incumbent upon the investor to establish that despite such changes. the requirements of the EB-5

Program have been met: the required capital has been paid to the Project, the investment has been

sustained and the :required jobs have been created. There cannot be any assurance that USCIS will

consider a change in the business plan to be immaterial, will be persuaded by the investor's explanation of
the reason for the change, or will conclude that the investor's EB-5 Project is following its 1-526 business

plan and that the ES-5 requirements for all projects are being or will be met by the Project. Failure to

persuade USCIS on each of these issues will result in the denial of an investor's 1-829 petition. In this event,

the investor and the investor's qualifying family members will be placed in removal proceedings and may be

required to depart the United States.
There cannot be any assurance that all anticipated investors will have subscribed and have paid in all

required capital on the anticipated schedule, that the Project will be developed as scheduled or that

invested funds will be expended as scheduled or in a manner anticipated in the business plan. It is

possible, and no assurance may be provided to the contrary, that the Project will not hire workers on the

predicted schedule. Should one or more of these circumstances occur, no assurance may be given that

USCIS will accept the explanation for the occurrence. If USCIS rejects the explanation, the I-829 petition will
be denied and the investor and the investor's qualifying family members will be placed in removal

proceedings which may require them to depart the United States.

USCIS expects that an EB-5 business will be continuously maintained through the period of conditional

lawful residence to the time the 1-829 Petition to Remove Conditions is filed and, possibly, until the 1-829 is

adjudicated. USCIS will examine the matter of whether the investment has been lost prior to or may be lost
soon after conditions are removed. USCIS will also focus on whether an EB-5 project is likely to cease its

operations shortly after conditions are removed, thereby shedding employment it has created.

If an EB-5 project fails (e.g., foreign investments are lost or are expected to be lost, or if jobs are not

created in sufficient numbers or once created are lost or are expected to be lost) during the period of

an investor's conditional residence or is deemed likely to fail shortly after conditions are removed, USCIS
will not remove conditions.

Investors are not credited for having made investments in good faith or for having created all the

required employment during a part of the period of conditional residence.

JOB CREATION AND TENANT OCCUPANCY
USCIS currently requires verifiable sources of reliable data that support the connection between the

investment in an EB-5 project and the resulting creation of employment. If USCIS perceives that employment
will be created by tenants occupying an EB-5-renovated or constructed building, it requires detailed,

verifiable evidence to establish that there is "excess demand" for the specific types of space sought by

tenants who are expected to occupy the structure according to the project's business plan. USCIS seeks
verifiable proof that there is a lack of unique or specialized space which "constrains" the commencement or

expansion of the prospective tenant's business. Absent such evidence, USCIS maintains that there is an

insufficient "nexus" between the use of the E13-5 investment funds and the tenant's job creation to credit E13-5
investors with these jobs. If an investor is unable to provide such evidence and overcome USCIS' objections,

the investor's petitions will fail for lack of establishment of requisite employment creation.There may be some
business relationships between the investors' New Commercial Enterprise (NCE) and another business

entity that do not involve a landlord-tenant relationship, and, therefore, should not result in USCIS'

disqualification of jobs for the benefit of investors in a NCE involved in such a relationship. One such
business relationship may be a joint venture collaboration, between the NCE and another business entity to

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conduct a separate business enterprise by combining property, money, skill and knowledge. The NCE in this

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EB-5 project is engaging in a joint venture with the Joint Venturer. USCIS has not opined whether jobs

created from the joint business activity of the NCE and another business entity, a joint venture, may be

credited to E13-5 investors in the NCE. If USCIS rejects the right of the NCE to count such employment, the

investor's petitions will fail for lack of establishment of requisite employment creation.
Material Change In The EB-5 Project

In the event of a material change to the business plan in the Project between the time the 1-526 petition is

filed and the time the investor applies for removal of conditions, the investor may be required by USCIS to

file a new 1-526 petition incorporating changes in the Project. In some cases, this will necessitate a new

two-year period of conditional permanent residence after which the investor will be expected to file a new 1-
829 petition to remove conditions. if a new 1-526 is filed, the children of the investor who become twenty-one

(21) years old or who married before the new 1-526 is filed will be deemed to have "aged out" and will not

be eligible to immigrate based upon the parent-child relationship with the investor. If the spouse of the

investor is divorced from the investor before the new 1-526 is filed, the spouse will also be ineligible to

immigrate based on the former marriage.

No assurances may be given that this EB-5 Project will not fail during the period of conditional permanent
residence or at some time thereafter. No assurance may be provided that USCIS will forgive such failure or

anticipated failure by granting an investor's 1-829 petition. If the petition is denied, the investor and the

investor's qualified family members will be placed in removal proceedings and may be required to depart

the United States.

REVIEW OF 1-526 COMPLIANCE DURING THE 1-829 PROCESS
USCIS, at its election, uses the 1-829 process to review the investor's compliance with previously

resolved 1-526 petition requirements. Such a review will be undertaken if the examiner believes that the prior

favorable determination was "legally deficient" or if material facts have changed during the period of conditional

residence. If USCIS believes the investor is not EB-5 eligible, the burden is on the investor to establish eligibility

by reliance on "independent objective evidence."
The Limited Partnership will seek as much information as possible from USCIS, where good business

practices permit, in an effort to assist investors to qualify for the removal of conditions. This notwithstanding,

in the absence of regulations the Limited Partnership may make certain management decisions without

knowing them to be objectionable to USCIS, thus resulting in an RFE and, possibly, the denial of an
investor's 1-829, petition to remove conditions. If the 1-829 is denied, the investor and the investor's spouse

and qualifying children will be expected to depart the U.S. and will be placed into removal
proceedings.

Each investor should consult with competent immigration counsel and become educated about the

standards that will determine eligibility of the investor and the spouse or children of the investor to achieve
unconditional lawful permanent residence in the United States pursuant to this Program which currently is in

a state of evolution.

NUMERICAL QUOTAS
Currently, the EB-5 Preference accords a total of 10,000 E13-5, Preference visa statuses allocated

annually, of which 3,000 are available to alien investors and the spouses and qualifying children of
investors who are making an investment in a Targeted Employment Area (TEA). The Project is currently

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Section 1, Jay Peak Biomedical Research Park L.P.
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situated within a TEA. ED-5 status is available on a first-come, first-served basis. Recently, USCIS has

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announced that it considers the 3.000 statuses for TEA cases as a guaranteed allocation, not a quota, so that

all TEA cases are eligible to seek a visa, up to the annual quota of 10,000 visas.

Historically, the allocation of visas for the EB-5 Fifth Preference, including TEA's, has not been

oversubscribed_ Investors should note and consider the significantly increasing demand for visas in the Fifth
Preference which has prompted the U.S. Department of State, in its December 2012 Visa Bulletin, to issue

the following advisory concerning the possible unavailability of EB-5 Fifth Preference visas for nationals of

the People's Republic of China:

   "Emoloyment Fifth: Current"

   "The following advisory is based strictly on the current demand situation. Since demand
   patterns can (and sometimes do) change over time, this should be considered a worst

   case scenario at this point.

   It appears likely that a cut-off date will need to be established for the China Employment

   Fifth preference category at some point during second half of fiscal year 2013. Such

   action would be delayed as long as possible, since while number use may be excessive

   over a 1 to 5 month period, it could average out to an acceptable level over a longer
   (e.g., 4 to 9 month) period. This would be the first time a cut-off date has been

   established in this category, which is why readers are being provided with the maximum

   amount of advance notice regarding the possibility.

   The above projections for the Family and Employment categories are for what could

   happen during each of the next few months based on current applicant demand
   patterns. The determination of the actual monthly cut-off dates is subject to fluctuations

   in applicant demand and a number of other variables which can change at any

   time. Those categories with a "Current" projection will remain so for the foreseeable

   future, with the possible exception of the China Employment Fifth preference category

   mentioned above."
There is no reliable means to predict if delays due to unavailability of visas will occur, or, if it occurs, how

long an investor or the spouse and qualifying children of the investor will wait before visa status for them

becomes available.

Changes to current law on quotas or USCIS practices regarding the allocation of visas to the EB-5 Program
could adversely impact the investor. Investors should seek the advice of competent immigration counsel

concerning the law and USCIS practices regarding E13-5 visa availability.
EXPIRATION OF THE REGIONAL CENTER PILOT PROGRAM

The Regional Center Pilot Program is significant to each investor until the investor receives unconditional

lawful permanent residence. Each of the three immigration stages to be completed by the investor in a
Regional Center E&5 project is dependent upon the existence of the Regional Center as authorized by the

Pilot Program. Some government agencies that confer immigration benefits upon EB-5 investors have

announced that they are not authorized to confer such benefits (e,g., approve an 1-526 petition by alien
entrepreneur, approve an 1-485, application to adjust status or grant an immigrant visa to an EB-5 investor

or approve an 1-829, petition by entrepreneur to remove conditions) once the Regional Center Pilot Program
expires. The investor's qualifying relatives are subject to the same outcomes as the investor if the

Regional Center Pilot Program expires.

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The Regional Center Pilot Program was first created in 1992. Since then it has been extended, most recently

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in 2012, until September 30, 2015 This Project seeks the benefit of the Regional Center Pilot Program that

permits employment created indirectly by investments in the Project to be counted towards the minimum

number of employment positions needed to qualify a foreign investor, the investor's spouse and the

qualifying children of the investor to have conditions removed. There is no reliable means to know if the
Regional Center program will be extended or made permanent.

If the Regional Center Pilot Program lapses, investors whose projects depend upon Regional Centers

may not be able to file 1-526 .petitions or have filed petitions adjudicated and applications for lawful

permanent residence or the removal of conditions may be rejected, delayed or denied, depriving the

investor and the investor's qualifying family the right to enter, live or work in the U.S. Currently, there
is no way to know or predict the positions that the relevant government agencies will take concerning the

immigration rights of E13-5 investors in Regional Center Pilot Program projects should the Pilot Program lapse

ACTIVE PARTICIPATION IN LIMITED PARTNERSHIP BUSINESS

The EB-5 Program requires that each investor be actively involved in the business affairs of the Limited

Partnership. Failure to be actively involved may jeopardize approval of the 1-526 petition or result in the

denial of Lawful Permanent Residence status for the investor and the spouse and the qualifying children
of the investor. The Limited Partnership Agreement, in an effort to reflect the E13-5 regulations governing

what level of participation is acceptable to meet the EB-5 criteria, mandates that each Limited Partner shall

participate in the management of the business of the Partnership by making suggestions or

recommendations to the General Partner on issues of policy important to the Partnership. The Limited

Partnership Agreement also permits limited partners to participate in one or more of the activities (i) permitted
of Limited Partners under the Vermont Revised Uniform Limited Partnership Act and (ii) otherwise set forth

under the Limited Partnership Agreement. No Limited Partner shalt control the Partnership's business or

management or have any authority to act or bind the Partnership in any manner contrary to the provisions of the

Limited Partnership Agreement, The Project cannot assure investors that these provisions are or will be

satisfactory to USCIS.
RISKS ATTENDANT TO EB-5 STATUS

USCIS frequently reinterprets the meaning of qualifying E13-5 criteria. The creation of new standards to be

met, changes in the emphasis that USCIS places on EB-5 criteria, the reinterpretation of existing E13-5

criteria and the publication of new field instructions to examiners without prior notice all become binding upon
previously filed but unadjudicated 1-526 petitions and may affect whether they will be approved. These

USCIS actions also are binding on EB-5 projects that have accepted some investors whose 1-526 petitions
are being prepared for filing and may determine if such projects and the 1-526 and 1-829 petitions based upon

the projects will continue to be deemed compliant with EB-5 rules. There can be no certainty that compliance

with known criteria as of the date an 1-526 petition is filed will lead to the approval of the 1-526 or 1-829
petition.

USCIS has demonstrated an increasing propensity to review and revoke its prior approvals of petitions and

applications based upon the retroactive application of new rules or new interpretation of standards, making
compliance by investors or the Project impossible and disqualifying the project and the investor from use of

the E13-5 program despite reliance on the prior approval. Despite the USCIS position that it *11 give deference
to earlier decisions, USCIS cannot be relied upon to do so.

The EB-5 Program has many requirements that must be met to the satisfaction of USCIS. Investors should

consult with competent immigration counsel to review all EB-5 Program requirements. The failure to meet
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even one of these requirements to the satisfaction of USCIS may result in the denial of the investor's 1-526

petition or subsequent petitions.                      166
CONSULAR PROCESSING — VISA NOT GUARANTEED

In some instances, consulates place visa applicants in "administrative processing". Consuls are very

reluctant to explain the speck reasons, for this additional step taken before a visa will be issued. This
procedure may be encountered (i) in consular posts that report high levels of visa fraud, (ii) in posts in some

countries that are hyper-vigilant concerning security matters or (iii) because some information about a visa

applicant, in the opinion of a consular officer, merits further background checks. Once administrative

processing begins, consulates will not discuss the progress of a visa application. Applicants are relegated to

indeterminate waiting for a decision on a visa application. Such a decision may take years to obtain.
Decisions by consuls are discretionary and unreviewable. USCIS and DOS report efforts to communicate

more efficiently regarding their respective roles in determining the eligibility of EB-5 investors for immigrant

visas. There cannot be any assurance that improved communications will occur generally or with respect to a

particular investor or the investor's spouse or minor children. Neither may it be assured that improved

communications will result in the issuance of a visa. Factors extraneous to the EB-5 project or the

relationship of the investor to the project that a consul may, with unreviewable discretion, elect to consider
could result in the denial of a visa. Investors are advised to seek competent immigration counsel on matters

of consular processing.

ADMISSION AFTER INVESTING, FILING THE 1-526 OR DURING CONSULAR PROCESSING

Admission to the United States as a visitor or in most other non-immigrant statuses is predicated upon the

intent to depart the country at the end of the period of admission. Experienced EB-5 legal practitioners
caution that non-immigrant intent may be difficult to establish once an investor has paid funds into an EB-5

project or files an 1-526, as the sole purpose of this investment and petition is to establish that the investor

qualifies to become a lawful permanent residence. The difficulty of maintaining non-immigrant intent is made

more difficult upon commencing consular processing, which is considered by USDOS to be a clear request

for lawful permanent residence as soon as processing times permit. Investors should consult with competent
counsel to evaluate the risks associated with seeking temporary (non-immigrant) admission to the United

States subsequent to making the investment or filing an 1-526 petition or an applicant for an immigrant visa.

Despite best efforts, an inspector may deny admission under these circumstances. Such a denial may also

result in formal exclusion from the U.S. which might preclude admission with an immigrant visa for a period of
years,

ADJUSTMENT OF STATUS
Further to this topic, please see Immigration Matters, Adjustment Of Status.

Making the investment, filing the 1-526 or applying for AOS within the 60 day period before applying for AOS

may be viewed by USCIS as evidence of immigrant intent and may result in the denial of AOS. In such an
event, the investor will be required to depart the U.S. and will need to seek an immigrant visa through

consular processing. In this process, experienced immigration counsel believe that USDOS (through its

consulates) may require the investor to seek a waiver of exclusion (for which the applicant must establish
eligibility) for having misrepresented the purpose of entry upon the admission as a non-immigrant Waivers

are granted in the unreviewable discretion of the USCIS and the processing time for waiver applications is
frequently significant.

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There may be additional reasons why an alien may not adjust status, which is a benefit granted in the

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discretion of USCIS. There is no appeal from a denial of AOS; the only relief available is a request to re-open

or re-consider the AOS application. Investors should consult with immigration counsel to determine if they,

their spouse and their children are eligible for AOS or if pursuit of AOS would be prudent.

Near the conclusion of an AOS case, USCIS may schedule an interview for the AOS applicant. The interview
may be waived by USCIS, but the waiver should not be expected. Experienced immigration law practitioners

believe that USCIS uses profiling information to determine who will be interviewed and it also interviews

some AOS applicants to maintain the integrity of its screening process. There is no formal process to request

the waiver of an interview. Investors should consult with experienced immigration counsel on all matters

concerning adjustment of status.
REMOVAL OF CONDITIONS

Further to this topic, please see Immigration Matters, Removal Of Conditions.

In the history of the E13-5 Program, INS (now USCIS) modified the requirements for removal of conditions

after the time that some investors were granted CLPR. As a result of this action, some of those investors

were unable to comply with the new requirements, creating the possibility that they would be removed from

the United States. Some of these investors contested the change in rules after their investments were made.
Their position was supported in litigation that resulted in INS being ordered to reconsider their applications to

remove conditions by applying the original rules. (See Risks Attendant to EB-5 Status, above).

There is an increased interest by USCIS in examining all aspects of EB-5 project and investor petition

compliance during the removal of conditions process. Investors should seek guidance from experienced EB-

5 counsel concerning all aspects of the removal conditions process and the effect of possible USCIS actions
on the investor and the investor's spouse and qualifying children.

One possible action is the denial of an investor's 1-829 petition if USCIS determines not enough jobs are

created, preserved or qualified to support the number of EB-5 investors in the Project. This determination

would create the possibility that some or all of the EB-5 investors and their spouses and qualifying children

would be removed from the United States. If USCIS determines that less than the required number of jobs
have been created or preserved, the Offering mandates that jobs will be allocated to investors in the order of

priority for those 1-829 petitions that are approved, then to investors in the order of priority for those who have

obtained lawful permanent admission to the United States (i.e. obtained a visa or adjustment of status). It is

in each investor's best interests, therefore, to proceed expeditiously with their various petitions and
applications, but again investors should seek guidance from experienced EB-5 counsel. In the event an

investor's 1-829 petition is denied for this or any other reason, the investor will not be entitled to the return of
any funds paid to the Limited Partnership pursuant to this Offering unless and until a substitute partner is found

as set forth in and pursuant to section 10.01 of the Limited Partnership Agreement, and, in any event, there

shall be no refund of the administration fees to the investor.
FAMILY RELATIONSHIPS

1. Spouses of the investor may accompany or follow to join an investor who has been granted Conditional

 Lawful Permanent Residence provided that the investor and the spouse were married at the time of
 the investor's acquisition of CLPR. If the relationship is one in common law, the "spouse" of the

 investor may not acquire Lawful Permanent Resident Status on account of the relationship. Not all
 valid marriages will be recognized for purposes of U.S. Immigration. Investors should consult competent

 immigration counsel regarding the eligibility of their spouse for immigration benefits.

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 2. Certain children or step-children of the investor may accompany or follow to join an investor who has

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  been granted Conditional Lawful Permanent Residence provided that the investor can establish

  parentage or step-parentage at the time of the investor's first admission to the United States as a Conditional

  Lawful Permanent Resident or adjustment of status to lawful permanent residence. Failure to comply with all

  applicable requirements may result in the separation of a child from the investor or the investor's spouse
  for protracted periods, in some instances for years, while other immigration opportunities are attempted in

  an effort to reunite the family. U.S. law excludes some step-children and adopted children from eligibility

  for immigration benefits. Investors should consult competent immigration counsel regarding the eligibility

  of their children for immigration benefits.

 3. A "child" is someone under the age of 21 years who is unmarried. If a child becomes age 21 or marries
  before being admitted to the U.S_ as a lawful permanent resident or adjusting to Lawful Permanent

  Resident Status, the former child, now deemed a son or daughter, may not be eligible to accompany or

  follow to join the investor. In some circumstances, the Child Status Protection Act may assist a son or

  daughter to qualify as a child by reducing the deemed age of the son or daughter to less than 21 years.

  Failure to meet the requirements of the Chile! Status Protection Act may result in the separation of a son or

  daughter from the investor or the investor's spouse for protracted periods, in some instances for years,
  white other immigration opportunities are attempted in an effort to reunite the family.

4. Under some circumstances a child who becomes 21 years of age or marries while holding Conditional

  Lawful Permanent Resident Status, or the spouse of the investor who is divorced from the investor

  while holding Conditional Lawful Permanent Resident Status, may be eligible to remove conditions by

  being included in the investor's 1-829 petition or filing a separate 1-829 petition. Failure to meet
  qualifying conditions, which may not be within the child's or divorced spouse's control, and, about which

  the law and regulations do not provide clear guidance, will result in the child or divorced spouse being

  placed in removal proceedings and may require the child or divorced spouse to depart the United

  States.

5. Upon the death of an investor holding Conditional Lawful Permanent Resident Status, a spouse and
  qualifying children of the investor also holding such status are entitled to seek removal of conditions by

  submission of the same evidence demonstrating compliance with required criteria that USCIS requires of

  an investor seeking to remove conditions. Failure of each member of the family to establish these

  criteria will result in the denial of the application to remove conditions, placement of the family
  members in removal proceedings and their mandated departure from the United States.

It is unclear under USCIS procedures if a child who becomes a son or daughter before the death of the
investor is entitled to seek removal of conditions. USCIS regulations are silent on this matter. If USCIS does

not extend this benefit, such a son or daughter will be denied an application to remove conditions and will be

placed in removal proceedings and may be mandated to depart the United States.
            End of section 1

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  Section 2

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                                                                                                                                    J
                       Jay Peak Biomedical Research Park LP- Structure of Operations                                                                      m

                              Investment of

Proiect:                             $118 Million

                                                                                   Bio Vt LLC

The LP Owns the Real Estate,
and the Medical Research

Facility Building where Clean

                                                                                                        t

Room Laboratories are

                                                      aay i~eakBitStrte>~icaf i                                                     j

Leased Out, and is a Joint
venturer in Businesses

Operating within that facility                •       Ei' Owns Real Estate &                                                        P, iv3te

that include Medical Device                       •   LP Is a Joint Venturer witft JH ~t 0,vicil                                        —investment-to

                                     Owr~ershlpofi2evertueg~C fslzes

Manufacturing & Distribution                                                                                           a,s•st in creation
                                 •    LP Dwrli iiuslhesesirrr~ n~ ""]6fars +liras q

And Medical Contract                                                                                                   of certain

                                     Medical Device Manufa~u~ng 'l trihttiv

Management Operations.                                                                                                 infrastructure as

                                     Ooerattons
                                                                                                             needed:

                                                                                                               Road,

Job Creation:

                                                                                                            Sewer/water,
                                             Jay Peak                                    AnC Bio LLC

Required Jobs are Created.                                                                   Joint Venture Business                 utilities, IT, etc.
                                     Biomedical Research Park LP `y

by Funds Invested In the New                                                              Operated through an experienced

Commercial Enterprise for.                                                                    Biomedical Facilities
   • Equity Ownership in                                                                  Management Company

      Real Estate and Facilities                         AnC Bio USA, LLC

   • Manufacturing &
      Distribution of Medical

      Devices;
   • Leasing & Operations                                                   Return on Investment & Exit St-rale !

      of clean rooms &

                                 EB•S investors stay invested until such time as all 182 9 app- cantQL3Ve1' i~rt
      Laboratory Facilities

                                 During this time, sales from the products, services, irid devlces and,. eaitiooltt:"ea e
                                 to provide healthy returns to investors. At the end of the investment P od >

                                 Businesses may be sold by the Limited Partnership to recover investment princia ,

                                                                                           ,u ,
                                 USCIS regulations preducle any guarantee of income or re aYnieni' f                   PP               r.
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      BUSINESS PLAN AND FINANCIAL DATA               166
         November 2012

 Summary of Principal Objectives and Activities, including Financial Reports and. Supporting Schedules.

 Important Notice. See Offering Memorandum: Risk Factors.
         IMPORTANT NOTICE

FORWARD LOOKING STATEMENTS: ANY STATEMENTS THAT EXPRESS OR INVOLVE

DISCUSSIONS WITH RESPECT TO PREDICTIONS, GOALS, EXPECTATIONS, BELIEFS, PLANS,

PROJECTIONS, OBJECTIVES, ASSUMPTIONS OR FUTURE EVENTS OR PERFORMANCE ARE

NOT STATEMENTS OF HISTORICAL FACT AND MAY BE "FORWARD LOOKING STATEMENTS".
"FORWARD LOOKING STATEMENTS" ARE BASED ON EXPECTATIONS, ESTIMATES AND

PROJECTIONS AT THE TIME THE STATEMENTS ARE MADE THAT INVOLVE A NUMBER OF

RISKS AND UNCERTAINTIES WHICH COULD CAUSE ACTUAL RESULTS OR EVENTS TO

DIFFER MATERIALLY FROM THOSE PRESENTLY ANTICIPATED.

THIS BUSINESS PLAN, FINANCIAL DATA AND THE JAY PEAK BIOMEDICAL RESEARCH PARK

LP. (THE "LIMITED PARTNERSHIP") OFFERING MEMORANDUM CONTAIN FORWARD
LOOKING STATEMENTS AND PROJECTIONS FOR THE PROJECT (THE "ANC BIO PROJECT")

THAT MAY ADDRESS, AMONG OTHER THINGS, PRODUCT DEVELOPMENT, EXPANSION

STRATEGY, DEVELOPMENT OF SERVICES, USE OF PROCEEDS, PROJECTED REVENUE AND

CAPITAL EXPENDITURES, OPERATING COSTS, LIQUIDITY, JOB CREATION, ECONOMIC

MODELING, DEVELOPMENT OF ADDITIONAL REVENUE SOURCES, DEVELOPMENT AND
MAINTENANCE OF PROFITABLE MARKETING, MANAGEMENT AND MAINTENANCE

ALLIANCES, AND STATEMENTS OF EXPERIENCE AND EXPECTATIONS. NO ASSURANCE

CAN BE MADE, NOR IS ANY -ASSURANCE GIVEN IN ANY FORM IMPLIED OR OTHERWISE,

THAT THESE FORECASTS WILL PROVE ACCURATE. NEITHER THE LIMITED PARTNERSHIP

NOR ITS GENERAL PARTNER HAVE ANY OBLIGATION TO REVISE OR UPDATE ANY
FORWARD LOOKING STATEMENTS OR PROJECTIONS FOR ANY REASON_

THESE FORWARD LOOKING STATEMENTS MAY BE ALSO FOUND IN THE SECTIONS OF THE

JAY PEAK BIOMEDICAL RESEARCH PARK L.P. OFFERING MEMORANDUM ENTITLED

"SUMMARY OF OFFERING," "RISK FACTORS," "IMMIGRATION RISK FACTORS", "USE OF
PROCEEDS," AND IN THE OFFERING MEMORANDUM GENERALLY. ACTUAL RESULTS

COULD DIFFER MATERIALLY FROM THOSE ANTICIPATED IN THESE FORWARD LOOKING
STATEMENTS AND PROJECTIONS AS A RESULT OF VARIOUS FACTORS, INCLUDING ALL

THE RISKS DISCUSSED IN "RISK FACTORS" WITHIN THE OFFERING MEMORANDUM.

PROSPECTIVE INVESTORS SHOULD CONSIDER CAREFULLY ALL THESE RISKS, IN ADDITION
TO OTHER INFORMATION CONTAINED WITHIN THE OFFERING MEMORANDUM BEFORE

DECIDING WHETHER TO INVEST IN THE PARTNERSHIP.

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                   EXECUTIVE SUMMARY

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   This Business Plan supplements the Offering Memorandum and, among Its other purposes, sets

forth the EB-5 project criteria for all prospective investors in the New Commercial Enterprise (NCE), to

be known as Jay Peak Biomedical Research Park, LP. that will purchase land, construct a new clean

room facility and enter into a joint venture with AnC Bio USA, LLC (or similarly named entity, the "Joint
Venturer"). These companies will create and own the joint venture entity, AnC Bio, LLC (or similar

named entity, the "Joint Venture Entity")), which will operate the new facility within the Vermont

Regional Center:

   Job Creating Enterprise:    AnC Bio LLC (the "Joint Venture Entity").

   Specific Industry Focus:    The specific industry category the ER-5 AnC Bio Project falls under
                    is NAICS 54171 Research and Development in the Physical

                    Sciences, Engineering and Life Sciences, which is currently a

                    USCIS-approved activity for the State of Vermont Regional Center.

   Geographical Focus:         The ES-5 AnC Bio Project is located in the State of Vermont within

                    the geographic boundary of the USCIS' designated State of

                    Vermont Regional Center_
   AnC Bio VT Project Contacts: Principals — Ariel Quiros/William Stenger

                                  AnC Bio VT LLC

                                  One AnC Bio Drive

                                  Newport, VT 05855

                                  Phone: (802) 327-2223
                                  Email: bstenger§ancbiovt.com

                    Immigration Counsel — Edward J. Carroll, Esq.

                                  Carroll & Scribner, P.C.

                                  P.O. Box 932

                                  Burlington, VT 05402
                                  Phone: 802-862-2855

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                                  Carroll & Scribner, P.C.
                                  P.O. Box 932

                                  Burlington, VT 05402
                                  Phone: 802-862-2855

                                  Email: mscribner(Meslaw,us

                    Economic/Jobs Impact Modeling -
                                  Economic Development Research

                                  Group, Inc.

                                  2 Oliver Street, r Floor
                                  Boston, MA 02109

                                  Phone: 617.338.6775
   New Commercial Enterprise - Jay Peak Biomedical Research Park L.P.

                    By: AnC Bio Vermont GP Services, LLC

                    (the "General Partner"), ATTN-. William Stenger, Member
                                                  BL-0000154
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Parties to Joint Venture Agreement - (1) Jay Peak Biomedical Research Park L.P.

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        (2) AnC Bio USA LLC (a wholly owned subsidiary of

        AnC Bio VT LLC, the general developer)

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  Total Anticipated Capital Investment: An amount of up to $110 million from up to 220 immigrant

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investors through the EB-5 Immigrant Investor Visa program (though the AnC Bio Project is also open to US

investors).

  AnC Bio Project Summary. The AnC Bio Project is intended to constitute a "commercial venture" for the

purposes of the "employment creation" requirements under the EB-5 provisions of the Immigration & Nationality
Act (the 'Act") which provides that, inter alia, if an EB-5 investor invests specified amounts in the capital of a

business carrying on a "commercial venture," the immigrant investor may apply for permanent resident status in

the United States of America. The AnC Bio Project is further structured to qualify under provisions in the law that

permit a reduced investment and permit a broader analysis of jobs created than would otherwise be permitted.

The AnC Bio Project utilizes the provisions of the Act concerning the location of the principal place of business
within a Targeted Employment Area so that the minimum investment required is $500,000. To meet

employment creation requirements, the AnC Bio Project relies upon the fact that the principal place of business

of the AnC Bio Project is situated in Newport, Vermont within the Vermont Regional Center authorized by

Section 610 of the Appropriations Act of 1993.

  From its base of operations in Orleans County, Vermont, the AnC Bio Project, operated by the Joint

Venture Entity, is poised to add over 3,000 jobs over the two year period of development and first three years of
operations, well more than the number of jobs required by the EB-5 provisions of the Act and supporting and

providing EB-5 investors with an opportunity to obtain permanent residence for themselves, their spouses and

their minor children, as more particularly set forth in this Offering Memorandum.

  Investors in the NCE will be granted limited partnership interests in the New Commercial Enterprise

known as Jay Peak Biomedical Research Park L.P. (also referred to herein as the "Limited Partnership"), a
newly organized for profit commercial enterprise with its principal place of business in Newport, Orleans County,

Vermont.

  THE STATE OF VERMONT — A USCIS DESIGNATED REGIONAL CENTER

  Pursuant to Section 610 of the Appropriations Act of 1993, on June 26, 1997, the VACCD Regional

Center, was approved and designated as a regional center to participate in the Immigrant investor Pilot Program.
On June 11th 2007, the designation was reaffirmed. In a written request dated August 17, 2009, VACCD

Regional Center sought to amend its initial Regional Center designation, to expand the types of approved

economic activities and industrial clusters as follows:

  1. To add manufacturing, professional services, education, information and lending institutions to their
  current list of approved industries:

  2 To add the economic activities of design, development and production of new products; expansion or
  renovation of existing facilities: establishing and expanding post secondary schools including building,

  development and operation of the schools; design, development & publishing of software, books and

  other information publishing activities; and
  3. To provide direct equity investments in or to the industry clusters and/or to provide indirect

  investments to the industries through investment in an enterprise which in turn will lend the funds for

  specific industry related project(s).
  Based on its review and analysis of the request to amend the previous VACCD Regional Center

designation and prior amended proposals, business plan, and supplementary evidence, the U.S. Citizenship and
Immigration Services (USCIS) by way of letter dated October 6, 2009 to VACCD amended the designation of the

VACCD Regional Center to incorporate the above changes, and updated its records of the VACCD Regional

Center approval, designation, and business plan to encompass these amendments.
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 The New Commercial Enterprise, established in 2012, and the construction and economic activity, to be

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located in Orleans County, Vermont, is also located within the State of Vermont Regional Center and this Project

has been structured so that foreign investors may meet the requirements under 8 U.S.C.§ 1153 (b)(5)(A) — (D);

INA § 203 (b)(5)(A) — (D) of the Act and qualify under this program (the "EB-5 Program") to become eligible for

admission to the United States of America as lawful permanent residents.
 ANC BIO° USA LLC —THE JOINT VENTURER

 This Joint Venturer is a limited liability company organized in the State of Vermont, USA, and is a wholly

owned subsidiary of AnC 8io VT LLC, also a limited liability company organized in Vermont. This Joint Venturer

and AnC Bio VT LLC are affiliated companies of AnC Bio Inc. of South Korea ("Existing Asian AnC Entity"), a

medical and biotechnology research and manufacturing company that develops medical products such as
artificial organs and medical devices (heart-lung devices, LVAD's, dialysis machines, a-Liver devices, etc),

vaccines and other biologics and stem cell products (collectively, the "AnC Bio Products"). This Joint Venturer

will enter into a Joint Venture Agreement with the New Commercial Enterprise, the other joint venturer, to

operate the new facility through a new joint venture entity, AnC Bio LLC, in an effort to enable the Existing Asian

AnC Entity to expand its global reach within the United States and elsewhere in North America.

 ANC BIO LLC— THE JOINT VENTURE ENTITY
 Pursuant to the Joint Venture Agreement, the two joint venturers, the New Commercial Enterprise and

AnC Bio 'USA LLC, will set up a new entity, to be known as AnC. Bio LLC (the "Joint Venture Entity"), to be

organized in the State of Vermont with its principal place of business in Newport, Vermont. The Joint Venture

Entity will run the operations at the new facility, including hiring employees to work in the research, development

and production of AnC Bio Products, and to staff the clean rooms.
 ANC BIO KEY MANAGEMENT

 The AnC Bio Project operations will be based at the AnC Bio Project location in Newport, Orleans County,

Vermont. Key management personnel, and their experience, include:

1. William Stenger:

 William Stenger is President of Jay Peak Resort and a member of AnC Bio VT LLC. He is a respected
 business leader in Vermont having served three governors for 20 years on their economic advisers

 councils. He has led Jay Peak resort for 27 years since 1985. Jay Peak is now the most dynamic four

 season resort in Vermont. Mr. Stenger -also was instrumental in creating the Vermont EB- 5 Regional

 Center with Governor Howard Dean in 1997. Through his leadership in the EB-5 program Jay Peak
 projects have raised and invested in the Northeast region of Vermont over $275 million welcoming over

 550 investors from 60 countries. Thousands of jobs have been created as a result of Mir. Stenger's work
 and leadership. He is respected throughout the country as a leader in the EB-5 community. Mr. Stenger

 was instrumental in getting the recent three-year extension to the EB-5 program. He has testified before

 the US Senate and House of Representatives on behalf of the program. Mr. Stenger is now directing his
 leadership to create the AnC Bio Project, expand the Existing Asian AnC Entity's global reach to North

 America, stimulate economic development within the United States and create many jobs for Vermonters

 and throughout the Northeastern United States and other areas in the country. Mr. Stenger is a graduate
 of Syracuse University, has been married to his wife Mary Jane for 41 years, has three grown children and

 four grandchildren. He has been recognized within Vermont as Citizen of the Year in 2011 and has also
 been awarded the highest educational service award the State of Vermont gives. Mr. Stenger lives in

 Newport, Vermont where the AnC Bio Project will be located_

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 2. Ariel Quiros:   Case 1:16-cv-21301-DPG Document 46-58 Entered on FLSD Docket 04/20/2016 Page 164 of
                                                          166
 Ariel Quiros has been exercising the leadership skills that he developed at Trinity Pawling Preparatory

 School and in the U-S. Military for more than thirty years now. From managing complex strategies in

 hostile environments while serving with the U. S. Army to leading his own companies to success on six

 continents, Mr. Quiros has now certainly proven to be a true leader in the corporate environments
 worldwide with business relationships that have spanned decades.

 In 1995, with fourteen operating Trading Importing and Exporting companies and offices in Seoul, London,

 Beijing, Sydney and Hong Kong, Ariel opened U.S. offices in Miami Florida and settled in on Biscayne Bay

 with his family. An avid sailor, this was a true reward for Ariel. Today Ariel enjoys life with his wife of 36

 years, Okcha in their home on Key Biscayne, Florida. Ariel and his wife have 2 children with successful
 careers of their own and 2 grandchildren.

 Mr. Quiros devotes much of his time and effort today to the Vermont companies he owns that he's most

 passionate about. These companies include Jay Peak Resort, Burke Mountain Resort, and AnC Bio VT

 LLC, all located in the beautiful Northeast Kingdom region of Vermont.

 With the acquisition of Jay Peak Resort in 2008, and millions of dollars of resort improvements since, Mr.

 Quiros and his partner Bill Stenger have developed a strong and very successful EB-5 foreign investor
 program in Vermont. Ariel, along with Mr. Stenger and their management teams, have initiated six

 significant EB-5 projects at Jay Peak Resort in Vermont, five of which are well along to completion,

 bringing more than $275 million of U.S. dollars and thousands of new jobs to the region.

 Ariel is also one of the founders and owners of the Existing Asian AnC Entity, a biomedical research and

 development company in Asia. He works tirelessly with this company which is on the cutting edge of R &
 D, and manufacturing of biomedical devices and therapies to improve lives everywhere. Mr. Quiros now

 plans to bring the technology and the intellectual property of this successful company to Vermont to be

 used by the AnC Bio Project.

 THE PROJECT INVESTMENT AND FINANCIAL TRANSACTION

 The project is open to US investors and foreign investors. Each foreign investor is expected to seek
classification as an "Alien Entrepreneur° and, as required by current law, to invest $500,000 USD to the project.

 On a 7 acre parcel of land overlooking beautiful Lake Memphromegog in the City of Newport, Vermont.

the New Commercial Enterprise will construct and equip (the "Project") a 67,500 square foot, world class

certified GMP (Good Manufacturing Practice) and certified GLP (Good Laboratory Practice) biomedical research,
manufacturing and distribution facility . The parcel of land is already home to a modern 90,000 square foot

manufacturing facility and the campus parcel will be known as the Jay Peak Biomedical Research Park. The
Joint Venture Entity will hire many employees at the AnC Bio Project site to work in the research, development,

production and distribution operations and will staff and operate on behalf of third parties some of the clean

rooms that will be part of the facility. The General Partner of the New Commercial Enterprise believes that the
AnC Bio Project has positioned itself for substantial economic growth over the next few years even in today's

challenging economic climate.

 This new facility, with HEPA filtered, highly controlled air flow systems, and Environmental Management
Systems, will be equipped with versatile scientific equipment assembled for the purpose of supporting research

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in the fields of cellular based therapy medicine, human growth factors, vaccines, and bioengineering (including

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production of cutting edge medical devices). This caliber of research requires an extremely low density particle

environment in a closely controlled facility. The Joint Venture Entity will also staff and operate clean room

spaces in the building on behalf of third parties so that those third parties may conduct research into certain

biomedical areas of concern and industries. These third parties will include universities and colleges looking to
initiate and expand such research, but who have in the past been hampered by a lack of adequate, proximate

clean room facilities. Renowned biotech research universities such as the University of Vermont, McGill

University, University of Sherbrook and Dartmouth College, all situated within 90 miles of the AnC Bio Project,

have already been apprised of this Project (see University of Vermont (UVM) letter in Exhibits to the Offering for

an example of the expected business relationship the AnC Bio Project seeks to develop with UVM and other
universities).

  These clean rooms will provide sterile environments and high tech equipment that scientists need for

their research efforts, but can rarely afford to build on their own_ There is a shortage of these types of facilities

worldwide and this component of the new research center will help meet the needs for eastern North America

and are projected to provide substantive income for the investors. See letter from One Source Environmental

LLC in the Exhibits attesting to lack of clean room space.
  Client universities and corporations can use the clean room space and equipment for proprietary

research. The clean room facilities can also be used as an extension of current operations of contract

manufacturers for overflow and end of lifecycle products with expert support and over 200 sub-licensed Standard

Operating Procedures from the Existing Asian AnC Entity.

  The Joint Venture Entity will provide clean room facilities staffed by its own employees for start-up
companies_ This will enable startups to grow their business to the point where they are able to hire their own

operatives while the AnC Bio Project facilities continue to provide them with the infrastructure to support their

business model. None of the jobs on any third party payrolls, if any, however, will be counted in the job count

analysis relied on to support foreign investor E13-5 petitions.

  The AnC Bio Project facility will also provide clean room space to medical device manufacturing firms
needing additional clean room research facilities or companies that need independent clean room access.

Operations will be supported with dedicated warehouse, engineering and office space in the new facility allowing

companies to operate as if they were in their own facility.

  It is projected that infrastructure and preliminary construction of the facility will begin in November 2012. It
is projected that the facility will open for operation in the spring of 2014. Discussions with potential clients for use

of clean rooms are already under way. The Existing Asian AnC Entity will also contract with the Joint Venture
Entity for the manufacture of devices at the new facility and will conduct stem cell and vaccine research,

occupying a significant portion of the facility space, all in reliance upon employees on the payroll of the Joint

Venture Entity. It is projected that AnC Bio VT LLC or its designee will invest $8 million in cash into the Project,
separate from EB-5 investments, to create and upgrade infrastructure at the campus as needed.

  Approximately 30,000 square feet of this new tower facility will be dedicated to the clean rooms. Another

22,500 square feet of the building will be dedicated to support these clean rooms (including 7,500 square feet of
Environmental Management and Safety Systems to insure that the building meets the standards necessary for

bio-medical research, and an additional 15,000 square feet dedicated to office and conference room facilities for
the researchers and their companies). Finally, 15,000 square feet will be designed for medical device

manufacturing. There will be manufacturing space,. warehousing, design, and prototyping areas. The new

facility, at the option of the General Partner, will be made subject to a condominium regime comprised of two
condominiums. In this scenario, it is projected that all but the 15,000 square feet dedicated to office and

conference room space will comprise one condominium unit, to be owned by the New Commercial Enterprise. It
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is projected that the 15,000 square feet for office and conference room space will be a second commercial

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condominium unit, to be deeded to AnC Bio VT LLC in partial consideration for its infusion of cash as outlined

aboveand the negotiation of technology transfer agreements for the benefit of the Joint Venture Entity.

 Investors will invest into the New Commercial Enterprise and receive limited partnership interests in

return. The Limited Partnership into which the Investors will invest will be known as Jay Peak Biomedical
Research Park L.P., a Vermont organized limited partnership with its principal place of business in Newport,

Orleans County, Vermont.

 With this in mind, and to provide the capital required to achieve these opportunities, the New Commercial

Enterprise seeks a total amount of $110,000,000, to be raised from up to 220 investors ($500,000 each). With

the money it raises, the New Commercial Enterprise will purchase land in Newport, Vermont owned by GSI of
Dade County, Inc. (owned by Ariel Quiros, one of the owners of AnC Bio VT LLC), under a Purchase and Sale

Agreement, and provide sufficient capital to construct the clean room facility on the property, as well as. equip

and furnish said building, for the ultimate benefit of the New Commercial Enterprise and its investors. The New

Commercial Enterprise will also enter into a Joint Venture Agreement with the Joint Venturer for the purpose of

creating and owning the Joint Venture Entity to run the operations of the new facility. With the invested funds,

and pursuant to the Joint Venture Agreement, the New Commercial Enterprise forecasts that it will, primarily
within the Vermont Regional Center and the Northeastern United States, generate in excess of 3,000 EB-5

eligible indirect jobs, exceeding the 2,200 jobs required for 220 E13-5 investors under EB-5 Alien Entrepreneur

regulations (See the Exhibit to the Offering titled "Economic and Job Creation Impacts of the Prospective AnC

Bio VT Facility in the Vermont Regional Center" prepared by Economic Development Research Group, Inc., and

dated November, 2012, referred to herein as the "EDR Report").
 The General Partner of the Limited Partnership will be AnC Bio Vermont GP Services LLC, a Vermont

organized limited liability company based in Newport, Vermont. The General Partner, as set forth in the Limited

Partnership Agreement, will have the primary discretion in operating the Limited Partnership on day to day

matters, with input from the Limited Partnershrivestors on issues of policy and major decisions, as well as all of

the rights and duties accorded limited partners under the terms of the Limited Partnership Agreement and under
Vermont law. The General Partner will also negotiate business agreements, including without limitation the Joint

Venture Agreement, and will have sole discretion to decide when, if and how to redeem the Limited Partners'

interests, but in no event will any such buyout occur with funds invested into the AnC Bio Project prior to the time

all Limited Partners who are investors in the Project under the EB-5 Program have applied for removal of
conditions on their permanent residency, with any appeals of denials having been decided. Without limiting

the foregoing, there is no guaranty of repayment or mandatory redemption offered herein to any Limited
Partners, and each Limited Partner, upon investing in the Project will reaffirm theunderstanding and

acceptance of the fact that the entire investment Is at risk. The General Partner may engage others to

assist in any activity in which the Limited Partnership engages in connection with the Project.
 CAPITALIZATION

 Source and Use of Funds

 Investors are being offered the opportunity to purchase limited partnership interests in the Limited
Partnership. The Capital Contribution of each investor to purchase an interest in the Limited Partnership shall be

a minimum of $500,000 in cash paid in U.S. Dollars. The Investors shall not be obligated to make any additional
Capital Contributions to the Limited Partnership. The maximum amount of funds to be received from Investors is

USD $110,000,000.

 The primary use of these invested proceeds, in addition to the consideration to be paid by the New
Commercial Enterprise to the current land owner under the terms of a Purchase and Sale Agreement (a draft of

which is included as an exhibit to the Offering), will be to construct and equip the new facility, including, e.g., the
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